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                      UNITED STATES DISTRICT COURT

                      SOUTHERN DISTRICT OF NEW YORK

        ---------------------------------------------------X

        MELISSA KAYE,

                                 Plaintiff,

                                 INDEX NO.: 18-CV-12137

                    -against-



        HEALTH AND HOSPITALS CORPORATION, et al,

                                 Defendants.

        ---------------------------------------------------X

                                 Remote Deposition
                                 New York, New York 11716


                                 November 12, 2021
                                 10:05 a.m.


              DEPOSITION of ROSS MACDONALD, a non-party

              witness on behalf of the Defendants herein,

              taken by the Plaintiff, held at the

              above-mentioned time and place, before KIARA

              MILLER, a Notary Public of the State of New

              York.
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   2    A P P E A R A N C E S:

   3

   4                THE LAW OFFICES OF SPECIAL HAGAN
                    Attorney for Plaintiff
   5                196-04 Hollis Avenue
                    Saint Albans, New York 11412
   6                EMAIL: EMAIL
                    BY: SPECIAL HAGAN, ESQ.
   7

   8                NEW YORK CITY LAW DEPARTMENT
                    Attorney for Defendants
   9                100 Church Street
                    New York, New York 10007
 10                 EMAIL: EMAIL
                    BY: DONNA CANFIELD, ESQ.
 11

 12

 13     ALSO PRESENT:

 14     Melissa Kaye

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   2          IT IS HEREBY STIPULATED AND AGREED by and

   3          between the attorneys for the respective

   4          parties herein, and in Compliance with Rule 221

   5          of the Uniform Rules for the.

   6          Trial Courts:

   7          THAT the parties recognize the provision of

   8          Rule 3115 subdivisions (b), (c) and/or (d).

   9          All objections made at a deposition shall be

 10           noted by the officer before whom the deposition

 11           is taken and the answer shall be given and the

 12           deposition shall proceed subject to the

 13           objections and to the right of a person to

 14           apply for appropriate relief pursuant to

 15           Article 31 of the CPLR.

 16           THAT every objection raised during a deposition

 17           shall be stated succinctly and framed so as not

 18           to suggest an answer to the deponent and, at

 19           the request of the questioning attorney, shall

 20           include a clear statement as to any defect in

 21           form or other basis of error or irregularity.

 22           Except to the extent permitted by CPLR Rule

 23           3115 or by this rule, during the course of the

 24           examination persons in attendance shall not

 25           make statements or comments that interfere with
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   2          the questioning.

   3          THAT a deponent shall answer all questions at a

   4          deposition, except (i) to preserve a privilege

   5          or right of confidentiality, (ii) to enforce a

   6          limitation set forth in an order of a court, or

   7          (iii) when the question is plainly improper and

   8          would, if answered cause significant prejudice

   9          to any person.      An attorney shall not direct a

 10           deponent not to answer except as provided in

 11           CPLR Rule 3115 or this subdivision.            Any

 12           refusal to answer or direction not to answer

 13           shall be accompanied by a succinct and clear

 14           statement of the basis therefore.           If the

 15           deponent does not answer a question, the

 16           examining party shall have the right to

 17           complete the remainder of the deposition.

 18           THAT an attorney shall not interrupt the

 19           deposition for the purpose of communicating

 20           with the deponent unless all parties consent or

 21           the communication is made for the purpose of

 22           determining whether the question should not be

 23           answered on the grounds set forth in Section

 24           221.2 of these rules and in such event, the

 25           reason for the communication shall be state for
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   2          the record succinctly and clearly.

   3          THAT failure to object to any question or to

   4          move to strike any testimony at this

   5          examination shall not be a bar or waiver to

   6          make such objection or motion at the time of

   7          the trial of this action, and is hereby

   8          reserved; and

   9          THAT this examination may be signed and sworn

 10           to by the witness examined herein before any

 11           Notary Public, but failure to do so or to

 12           return the original of the examination to the

 13           attorney on whose behalf the examination is

 14           taken shall not be deemed a waiver of the

 15           rights provided by Rules 3116 and 3117 of the

 16           CPLR and shall be controlled thereby, and

 17           THAT certification and filing of the original

 18           of this examination are waived; and

 19           THAT the questioning attorney shall provide

 20           counsel for the witness examined herein with a

 21           copy of this examination at no charge.

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   1                              R. MACDONALD

   2    R O S S    M A C D O N A L D, after having first been

   3    duly sworn by a Notary Public of the State of New

   4    York, was examined and testified as follows:

   5                          COURT REPORTER:       Please state

   6                    your name for the record.

   7                          THE WITNESS:      Ross MacDonald.

   8                          COURT REPORTER:       Please state

   9                    your address for the record.

 10                           THE WITNESS:      55 Water Street,

 11                     New York, New York 10041.        That's

 12                     Correctional Health Services on the

 13                     18th Floor.

 14     EXAMINATION BY

 15     MS. HAGAN:

 16                 Q      Good morning, Dr. MacDonald.           My

 17           name is Special Hagan.        I'm here on behalf

 18           of Dr. Kaye.

 19                        You're aware of why you're being

 20           deposed today, right?

 21                           MS. CANFIELD:       Objection.

 22                 A      Yes.

 23                 Q      Did you review any documents prior

 24           to today's deposition?

 25                 A      No.
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   1                              R. MACDONALD

   2                Q      What did you do in preparation for

   3          today's deposition?

   4                            MS. CANFIELD:     Objection to

   5                    form.    You can answer.

   6                A      I had a conversation or two

   7          conversations with Ms. Canfield.

   8                Q      When did you have those

   9          conversations?

 10                 A      We had a brief conversation this

 11           morning.     And then, I don't remember the

 12           exact date of the first one, it was probably

 13           in the week prior to the originals,

 14           originally scheduled date for this

 15           deposition.

 16                 Q      At any point did you read

 17           Dr. Kaye's lawsuit?

 18                 A      No.

 19                 Q      So you've never read the complaint

 20           that she filed in federal court?

 21                 A      No.

 22                 Q      When did you learn that Dr. Kaye

 23           filed a lawsuit against HHC?

 24                 A      I think I've been aware of that

 25           for several years.       For quite some time,
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   2          yeah.

   3                Q      At any point were you told to

   4          preserve documents?

   5                A      You know, as a general practice, I

   6          preserve all documents.         So I don't know if

   7          I got a specific notification related to

   8          this litigation, but my work documents,

   9          emails, all that, I always preserve.

 10                 Q      Now, do you have a mobile phone?

 11                 A      Yes.

 12                 Q      An HHC issued mobile phone?

 13                 A      Yes.

 14                 Q      What's that number?

 15                 A      (347) 578-5607.

 16                 Q      Do you have any like, I guess any

 17           devices, I'm not sure if iPad is still a

 18           thing now, but do you have anything like

 19           that?

 20                 A      No.    I have a work-issued laptop

 21           as well.

 22                 Q      Okay.    And what's your current

 23           email address?

 24                 A      Rmacdonald@nychhc.org.

 25                 Q      And how long has this been your
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   1                               R. MACDONALD

   2          email address?

   3                 A       Since 2016.

   4                 Q       And what was your email address

   5          prior to that?

   6                 A       Rmacdonald@healthnyc.gov.

   7          Actually, it probably would have changed

   8          over in late 2015.

   9                 Q       And that would have been to the

 10           HHC address?

 11                  A       Correct.

 12                  Q       I guess I didn't get into the

 13           admonitions typically.          I just wanted to

 14           ask:       Have you taken any medications that

 15           would impair your ability to testify

 16           truthfully and honestly today?

 17                  A       No.

 18                  Q       Just to make sure that, you know,

 19           you probably already know this already, but

 20           the reporter can only take down verbal

 21           response.      So you have to say yes or no.

 22           You can't shake your head or go "uh-uh."

 23           She needs to kind of have clear, verbal

 24           responses.

 25                          Is that clear?
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   1                              R. MACDONALD

   2                 A     Yes.

   3                 Q     And have you ever been deposed

   4          before, Dr. MacDonald?

   5                 A     Yes.

   6                 Q     When?

   7                 A     A number of times in the course of

   8          my regular employment with Health and

   9          Hospitals and the Department of Health prior

  10          to that.     I also do some expert legal work,

  11          which may involve being deposed from time to

  12          time.

  13                 Q     Let's go through the depositions

  14          that you've, I guess, participated in.

  15                       When was the first time you were

  16          deposed?

  17                 A     I'm sorry.     I don't know have a

  18          list in front of me.

  19                 Q     Have you been deposed since your

  20          position in H&H?

  21                 A     Yes.

  22                 Q     And when were you deposed?

  23                 A     I was deposed most recently

  24          related to litigation related to COVID

  25          response in the New York City jails.
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   1                               R. MACDONALD

   2                 Q      What was the name of that case?

   3                 A      I don't remember the exact name.

   4                 Q      Do you remember who the plaintiff

   5          was?

   6                 A      No.

   7                 Q      Has anybody ever named you in a

   8          discrimination lawsuit?

   9                 A      I don't know -- I have been named

  10          in several lawsuits related to employment.

  11          I don't know if it would be characterized as

  12          a discrimination lawsuit.

  13                 Q      Well, the lawsuits that involved

  14          employment issues, what were those?

  15                             MS. CANFIELD:    Objection to

  16                     form.    You can answer.

  17                 A      So there was a lawsuit filed by a

  18          person employed by the Department of

  19          Corrections that named me.

  20                 Q      What was that person's name?

  21                 A      Nicole Adams Flores.

  22                 Q      And you were deposed in that

  23          matter?

  24                 A      I was not.

  25                 Q      And then what was another lawsuit?
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   2                 A     That's the only one that I'm aware

   3          of that applies to employment matters.

   4                 Q     You were never deposed regarding a

   5          lawsuit against PAGNY?

   6                 A     Yes, actually.      Coming to mind is

   7          a lawsuit against PAGNY for a physician.              I

   8          was named Dr. Bhatti, B-H-A-T-T-I.

   9                 Q     Any other lawsuits?

  10                 A     I'm named from time to time in

  11          patient-related lawsuits.          So there have

  12          been several of those over the years.

  13                 Q     What was that outcome of

  14          Dr. Bhatti's lawsuit?

  15                 A     I don't recall the outcome of that

  16          matter.

  17                 Q     I'm sorry.     Were you deposed in

  18          that lawsuit?

  19                 A     I was.

  20                 Q     And you don't remember the nature

  21          of the lawsuit?

  22                 A     That was an employment matter

  23          related to Dr. Bhatti felt like her

  24          evaluations were unfair.         She was -- it was

  25          around the time of the transition to Health
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   2          and Hospitals.       And she had had some

   3          employment performance evaluation concerns

   4          related to her time working for Corizon, if

   5          I recall correctly.

   6                       And there was -- I believe that

   7          she was not offered a position with PAGNY

   8          initially through the transition, and that

   9          she was ultimately hired in a probationary

  10          manner.     And that she had several

  11          performance evaluations related to that

  12          probation, which was the subject of the

  13          lawsuit.

  14                 Q     Now, with Dr. Bhatti, when you say

  15          performance evaluation, is that the exact

  16          name of the document?

  17                 A     I don't recall the exact name of

  18          the document that would have been discussed

  19          in those cases.       It's the concept that she

  20          had probationary performance evaluations.

  21                 Q     And what was your title when, I

  22          guess when Dr. Bhatti was working with

  23          CHS -- not CHS, with H&H?

  24                 A     Chief of medicine.

  25                 Q     Is this your current title?
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   2                 A     No.

   3                 Q     What is it now?

   4                 A     Chief medical officer.

   5                 Q     Have you also been given the title

   6          senior assistant VP?

   7                 A     Yes.

   8                 Q     When did that happen?

   9                 A     That would have been 2017.

  10                 Q     Was this a promotion?

  11                 A     Yes.

  12                 Q     So when you were chief medical

  13          officer, what was your salary?

  14                 A     What was my salary?

  15                 Q     Um-hmm.

  16                 A     I don't recall my exact salary at

  17          that time.      It would have been in the range

  18          between 250,000 and 300,000.

  19                 Q     And then, now as senior assistant

  20          VP and chief medical officer, what is that?

  21                 A     I think it's approximately

  22          300,000, maybe 301.

  23                 Q     Now, has anyone outright accused

  24          you of discriminating against them?

  25                 A     Not commonly, not that I recall.
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   2          The lawsuit that I mentioned filed by Nicole

   3          Adams Flores included claims of

   4          discrimination.       I don't know that those

   5          were specifically lodged towards me.             I

   6          don't remember the exact details of the

   7          wording of that.

   8                 Q     Has anyone ever filed an EEO

   9          complaint against you?

  10                 A     Not that I'm aware of.

  11                 Q     Has anyone filed an EEOC charge

  12          against you?

  13                 A     Not that I'm aware of.

  14                 Q     Has anyone filed a charge with the

  15          State Division of Human Rights against you?

  16                 A     Not that I'm aware of.

  17                 Q     Now, when was the last time you

  18          received EEO or diversity training?

  19                 A     Annual training that I do through

  20          H&H.

  21                 Q     How is the annual training

  22          administered?

  23                 A     Through the online website that --

  24          it's I believe called E-Learning modules.

  25                 Q     Now, as a manager, what is your
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   2          understanding of your responsibility if

   3          discrimination is brought to your attention?

   4                 A      So I would enlist assistance from

   5          our human resources department who,

   6          depending on the circumstances, would also

   7          guide me in contacting EEO professionals

   8          within Health and Hospitals.

   9                 Q      So are you saying that you would

  10          enlist or would you report the

  11          discrimination?

  12                 A      Well, I would report the

  13          discrimination, you know, as required, and I

  14          would seek guidance from human resources

  15          professionals to make sure I was doing that

  16          correctly.

  17                 Q      At any point did you report

  18          Dr. Kaye's allegations of discrimination to

  19          anyone?

  20                             MS. CANFIELD:    Objection to

  21                     form.    You can answer.

  22                 A      I didn't believe that there was

  23          any lack of awareness about any of the

  24          allegations that came to my attention

  25          related to Dr. Kaye.
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   2                 Q      But the question is, did you

   3          report the claims to the EEO office?

   4                             MS. CANFIELD:    Objection to

   5                     form.

   6                 A      No.    I didn't specifically report

   7          them to the EEO office.

   8                 Q      Why not?

   9                 A      Because I believe them to have

  10          been reported through proper channels.

  11                 Q      And what were the proper channels?

  12                 A      So by that I mean, I know that our

  13          human resources department was well aware

  14          and working on them, as soon as they came to

  15          the attention of CHS leadership.

  16                 Q      When you say the human resources

  17          department, who does that consist of?

  18                 A      I think at the time it was

  19          probably primarily Jonathan Wangel.

  20                 Q      Anyone else?

  21                 A      There were many other staff

  22          members of that department, but I'm not

  23          recalling specifically who would have been

  24          involved at that time.

  25                 Q      Who was the EEO officer during
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   2          that time?

   3                 A      I don't know.

   4                 Q      So you're not sure who the EEO

   5          officer is?

   6                             MS. CANFIELD:     Objection to

   7                     form.     You can answer.

   8                 A      No.    I am not sure.

   9                 Q      So, today, do you know who the EEO

  10          officer is at HHC?

  11                             MS. CANFIELD:     Objection to

  12                     form.     You can answer.

  13                 A      I know that the information is

  14          available on the website.          I remember that

  15          from the training.         And, again, my first

  16          point of contact to get guidance on

  17          reporting in the EEO matter would be CHS HR

  18          leadership.

  19                 Q      Now, doesn't the policy require

  20          you, the manager, to actually report any

  21          discrimination to the EEO office?

  22                             MS. CANFIELD:     Objection to

  23                     form.     Objection.    You can answer.

  24                 A      Yes.     I believe it does.     I would

  25          do that in consultation with the HR
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   2          leadership, to make sure I did it correctly.

   3                 Q       Is it your understanding that you

   4          need guidance to actually just report that

   5          an employee actually -- report

   6          discrimination to you?

   7                             MS. CANFIELD:    Objection to

   8                     form.    You can answer.

   9                 A       So I've never had one of my direct

  10          reports report discrimination to me.             And so

  11          in that situation, to make sure I did it

  12          correctly, I would seek guidance from HR

  13          leadership.

  14                 Q       Even if it wasn't your direct

  15          report, the fact that it was brought to your

  16          attention, wouldn't you be obligated to just

  17          report it to the EEO office?

  18                             MS. CANFIELD:    Objection to

  19                     form.    You can answer.

  20                 A       Again, I don't -- when there's --

  21          if an allegation was made directly to me,

  22          yes.       If I became aware of an allegation

  23          that had been made to a different supervisor

  24          and our HR department was aware, then an

  25          additional report for me, simply because of
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   2          my awareness, to my understanding, would not

   3          be required.

   4                 Q     Now, Dr. MacDonald, what's your --

   5          let's kind of go into some little

   6          preliminary stuff.

   7                       Where did you get your college

   8          degree?

   9                 A     Cornell University.

  10                 Q     What did you get your degree in?

  11                 A     Biology and English.

  12                 Q     When did you get the degree?

  13                 A     2003.

  14                 Q     Where did you go to medical

  15          school?

  16                 A     Cornell University.

  17                 Q     When did you start?

  18                 A     2004.

  19                 Q     And when did you finish your

  20          degree?

  21                 A     2008.

  22                 Q     Now, isn't medical school

  23          typically three years, rather than four?

  24                 A     No.

  25                 Q     So what happened -- so it's not.
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   2          So you were in a four-year program?

   3                 A     That's correct.

   4                 Q     And why was it four-year program

   5          versus a three-year program?

   6                 A     That's the standard in the United

   7          States.

   8                 Q     So you're saying there's a

   9          four-year standard?

  10                 A     Correct.

  11                 Q     For medical school?

  12                 A     That's correct.

  13                 Q     Did you get any fellowships?

  14                 A     No.

  15                 Q     And what did you do your residency

  16          in?

  17                 A     Internal medicine.

  18                 Q     Where did you do your residency?

  19                 A     Montefiore Hospital in the Bronx.

  20                 Q     And how long did you do your

  21          residency?

  22                 A     Three years.

  23                 Q     When did you finish your

  24          residency?

  25                 A     2011.
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   1                              R. MACDONALD

   2                 Q     Now, what was your first job once

   3          you completed your residency?

   4                 A     I was the deputy medical director

   5          for the Bureau of Correctional Health

   6          Services for New York City Department of

   7          Health and Mental Hygiene.

   8                 Q     Who was your supervisor at that

   9          time?

  10                 A     Homer Ventors (phonetic).

  11                 Q     And this is the Department of

  12          Health and Mental Hygiene?

  13                 A     Correct.

  14                 Q     Now, did you have any other

  15          employment prior to your residency being

  16          completed?

  17                 A     No.

  18                 Q     So this was your first job?

  19                 A     Yes.

  20                 Q     And you started at -- when did you

  21          start, at 2011?

  22                 A     Yes.

  23                 Q     And what did being the deputy

  24          medical director of CHS entail at that time?

  25                 A     So at that time CHS was a bureau
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   2          of the Department of Health that oversaw

   3          healthcare delivery in the jail system.

   4          Which was provided through contracted means.

   5                       So there were a couple of

   6          different contractors over the years.             And

   7          that bureau was responsible for setting

   8          policies for healthcare delivery, for

   9          oversight of the performance of the

  10          contract, for allocation of funding for

  11          different clinical priorities.           And I was

  12          the medical director for that bureau.             So

  13          primarily focused on the medical care.

  14                 Q     Now --

  15                 A     I was the deputy medical director

  16          initially for that bureau.

  17                 Q     So what contractors were involved

  18          when you were deputy medical director?

  19                 A     So there was -- at that time I

  20          believe it was called Prison Health

  21          Services.     And at some point the name of

  22          that entity changed to Corizon.           And I was

  23          the primary contractor.

  24                       There was also, one of the

  25          facilities had a direct employment
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   2          relationship with Health and Hospitals at

   3          that time.

   4                 Q     And who was that?

   5                 A     That was the Vernon C. Bain Center

   6          in the Bronx.

   7                 Q     And what did Vernon C. Bain Center

   8          do?

   9                 A     It was a correctional facility

  10          that was located in the Bronx.

  11                 Q     And who was housed there?

  12                 A     Mostly pretrial detainees as are

  13          housed in most jails in New York City.

  14                 Q     It wasn't a specific population,

  15          like male, female or a given age group or

  16          anything like that?

  17                 A     It was males only.        It was I think

  18          primarily people who had been arrested in

  19          the Bronx and in Queens, if I'm not

  20          mistaken.     And in general, it was a less --

  21          there was no mental observation unit there.

  22          And there was no -- there was less in the

  23          way of substance use treatment.           So those

  24          patients would be transferred to Rikers if

  25          they needed that level of care.
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   2                        So it was a little less acute than

   3          some of the other jails, in terms of

   4          pathology among the patient population.

   5                 Q      Now, what were your duties and

   6          responsibilities as deputy director?

   7                             MS. CANFIELD:    Objection to

   8                     form.     You can answer.

   9                 A      I was helping the medical director

  10          and assistant commissioner with setting

  11          policy for care delivery, troubleshooting

  12          work flows.        So how things are done in the

  13          clinics.      Working with the IT group to

  14          optimize the use of the electronic health

  15          record to evaluate data, both for the

  16          performance of the contract, the delivery of

  17          health care, and the particular population

  18          health considerations for our patient

  19          population.

  20                 Q      So did you develop any policies

  21          and is procedures to the jail systems in

  22          that capacity?

  23                             MS. CANFIELD:    Objection to

  24                     form.     You can answer.

  25                 A      Yes.     The policies of CHS were
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   2          well established, but I would have been

   3          involved in the policy revision and have

   4          input into that.

   5                 Q     Did you review clinical care --

   6                 A     Yes.

   7                 Q     -- provided?

   8                       You said yes, right?

   9                 A     Yes.

  10                 Q     Did you have any part in the

  11          direct patient care?

  12                 A     Yes.

  13                 Q     When you say direct patient care,

  14          what exactly do you mean by that?

  15                 A     In those years I would typically

  16          see patients one day a week at BCBC.

  17                 Q     Did you participate in quality

  18          oversight?

  19                 A     Yes.

  20                 Q     Now, when did you become medical

  21          director of the bureau?

  22                 A     That probably would have been in

  23          2012.

  24                 Q     Were you promoted at that time?

  25                 A     Yes.
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   2                 Q      And did you apply for the

   3          promotion or was it something that was

   4          internal?

   5                 A      It was internal.

   6                 Q      And who was the previous medical

   7          director?

   8                 A      Homer Ventors.

   9                 Q      What happened to Mr. Ventors or

  10          Dr. Ventors?

  11                 A      Dr. Ventors had been promoted to

  12          assistant commissioner for that bureau.

  13                 Q      How did your responsibilities

  14          change when you became the medical director?

  15                 A      They were fairly similar.        You

  16          know, I think I had a higher level of

  17          decision making for the bureau.           You know,

  18          previously Dr. Ventors had been filling that

  19          role.      So I was advising him whereas as the

  20          medical director, I was -- had more autonomy

  21          in decision making.

  22                 Q      Now, when Dr. Ventors was promoted

  23          to assistant commissioner, who became your

  24          supervisor?

  25                 A      He remained my supervisor.
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   2                 Q     Now, were you evaluated when you

   3          worked under Dr. Ventors?

   4                 A     Yes.

   5                 Q     And did you receive yearly

   6          evaluations?

   7                 A     I don't remember the exact cadence

   8          of those evaluations, but presumably.

   9                 Q     So is it fair to say that you had

  10          favorable evaluations during that time?

  11                 A     Yes.

  12                 Q     There were never any complaints

  13          about your performance?

  14                 A     No.

  15                 Q     But you did receive performance

  16          evaluations from Dr. Ventors at that time?

  17                 A     Yes.

  18                 Q     Has any staff ever filed

  19          grievances against you when you were at the

  20          Department of Health?

  21                 A     Not that I'm aware of.

  22                 Q     Has any staff filed any grievances

  23          against you since you've been at H&H?

  24                 A     Not that I'm aware of.

  25                 Q     Have you ever been the subject of
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   2          any disciplinary proceedings since you've

   3          practiced medicine?

   4                 A      No.

   5                 Q      Now, as medical director, did you

   6          have ultimate responsibility and oversight

   7          over the healthcare delivered at the prison?

   8                 A      Yes.     In large part.    I mean the

   9          medical care, again, Dr. Ventors was

  10          responsible for all of the care, including

  11          medical and mental health.          I guess I was

  12          responsible for the care delivered through

  13          those contracts, to the extent that

  14          oversight can control that, yes.

  15                 Q      Now, you touched on like prison

  16          health services in Corizon.          Now, were these

  17          contracts -- they were administered by the

  18          Department of Health, right?

  19                 A      Yes.

  20                 Q      Now, when you say "administered,"

  21          what do you mean by that?

  22                           MS. CANFIELD:      Objection to

  23                     the form.     You can answer.

  24                 A      I mean that the legal contracts

  25          were held by the Department of Health.             They
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   2          issued the request for proposals.            They

   3          evaluated the entities that would apply to

   4          fulfill those contracts.           They entered into

   5          a legal agreement.        They paid the financial

   6          balance of those contracts, and they were

   7          responsible for oversight of the performance

   8          of the contract.

   9                 Q      Now, when did Corizon's contract

  10          end?

  11                 A      In, I think December 31, 2015.

  12                 Q      And did you have any part in the

  13          transition from Corizon to CHS taking over

  14          the services at the court clinics?

  15                             MS. CANFIELD:     Objection to

  16                     form.    You can answer.

  17                 A      So you're talking about -- can you

  18          repeat that question, sorry.

  19                 Q      Did you have any part in the, I

  20          guess, the transition from, I guess, from

  21          Corizon to, I guess, the City providing

  22          direct services at that time?

  23                             MS. CANFIELD:     Objection to

  24                     form.    You can answer.

  25                 A      Yeah.    I mean, I was involved in
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   2          the planning to move to a different model of

   3          care delivery.

   4                 Q      Right.    Now, how long were you

   5          medical director?

   6                 A      From sometime in 2012 to, I think

   7          August of 2015, when I moved to Health and

   8          Hospitals.

   9                 Q      So when did your move from the

  10          Department of Health to Health and Hospitals

  11          take place?

  12                 A      August of 2015.

  13                 Q      Now, is it accurate to say that

  14          CHS became a separate division of H&H

  15          eventually?

  16                 A      Sorry.    I just have to log back

  17          into my computer.        Yes.

  18                 Q      And what did that entail?

  19                             MS. CANFIELD:    Objection to

  20                     form.

  21                 A      Well, I mean, to me it entailed a

  22          creation of a new division within Health and

  23          Hospitals to provide direct service for

  24          healthcare delivery in the New York City

  25          jails.
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   2                 Q      Now, what part did you play, if

   3          any, in the transition?

   4                             MS. CANFIELD:    Objection to

   5                     form.    You can answer if you're

   6                     able.

   7                 A      So I was involved, you know, as

   8          part of the leadership team from the

   9          Department of Health, I was involved in the

  10          planning for the transition.

  11                 Q      Who else was part of the

  12          leadership team?

  13                 A      Dr. Ventors.

  14                 Q      Who else?

  15                 A      Nancy Aragas (phonetic), our

  16          director of nursing.         Zachary Rosner

  17          (phonetic), who became the deputy medical

  18          director.      Elizabeth Ford, who was the

  19          director of psychiatry for that bureau.

  20                 Q      Who else?

  21                 A      I think within the Department of

  22          Health that's who's coming to mind.

  23                 Q      Anyone else?

  24                 A      I'm sorry.     Could you clarify that

  25          question.
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   2                 Q      Were there any other agencies

   3          involved in the transition of the leadership

   4          team?

   5                 A      Well, certainly Health and

   6          Hospitals was involved as well, and City

   7          Hall was involved.

   8                 Q      So who from City Hall was

   9          involved?

  10                 A      Patsy Yang was involved.         She was

  11          at City Hall at that time.

  12                 Q      And at that time you're saying it

  13          around -- when was this when this transition

  14          was taking place?

  15                           MS. HAGAN:     Objection to form.

  16                     You can answer.

  17                 A      So many of the staff of

  18          Correctional Health Services moved from the

  19          Department of Health to Health and Hospitals

  20          in August of 2015.        The care was taken over

  21          directly on January 1st, 2016.           And

  22          obviously there was planning that lead up to

  23          that in 2015.

  24                 Q      Now, who else from City Hall

  25          besides Dr. Yang was involved?
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   2                             MS. CANFIELD:    Objection to

   3                     form.     You can answer.

   4                 A      I'm not aware of who else would

   5          have been involved from City Hall.

   6                 Q      Anyone else from Health and

   7          Hospitals?

   8                 A      I don't know the specific players

   9          involved from Health and Hospitals.            I know

  10          Dr. Brom Raju (phonetic), who was the

  11          president at the time played a role.

  12                 Q      Can you spell his last name?

  13                 A      Raju, R-A-J-U.

  14                 Q      Anyone else?

  15                 A      I'm sure there were others, but

  16          I'm not -- no one else is coming to mind

  17          from Health and Hospitals.

  18                 Q      In your current capacity, you're

  19          chief medical officer and senior assistant

  20          vice president, right, of CHS, right?

  21                 A      Yes.

  22                 Q      Is your salary paid completely by

  23          H&H?

  24                 A      Yes.

  25                 Q      And who determines ultimately what
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   2          staff people get paid?

   3                             MS. CANFIELD:    Objection to

   4                     form.    You can answer.

   5                 A      Can you repeat the question.

   6                 Q      Who determines the salaries of the

   7          doctors, or the clinicians, as you would

   8          say?

   9                 A      So there's a finance department

  10          within CHS that plays a role for managers.

  11          For many of our staff there are collective

  12          bargaining agreements that dictate the

  13          salaries for different positions.

  14                 Q      Have you ever determined how much

  15          someone got paid yourself?

  16                 A      I don't know that I've determined

  17          how much someone got paid.          I've requested

  18          salary adjudgments for staff.

  19                 Q      Who have you requested salary

  20          adjustments for?

  21                 A      I'm not recalling specific

  22          examples.      That would often be part of my

  23          role, when somebody takes on a new position,

  24          when they take on new tasks within their

  25          position, typically.        When they're promoted,
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   2          there will be a discussion with HR and with

   3          finance regarding their compensation.

   4                 Q      Now, you've mentioned that

   5          Dr. Ford was part of the leadership team

   6          that helped the transition and that she

   7          worked at the Department of Health; is that

   8          right?

   9                           MS. HAGAN:     Objection to form.

  10                     You can answer.

  11                 A      Yes.

  12                 Q      Did you hire Dr. Ford?

  13                 A      No.

  14                 Q      Who hired Dr. Ford?

  15                 A      Dr. Ventors.

  16                 Q      And do you remember when Dr. Ford

  17          was hired?

  18                 A      No.    Not exactly.

  19                 Q      Now, when you were chief medical

  20          officer at Department of Health, who were

  21          your direct reports?

  22                 A      So just to clarify, I was not

  23          chief medical officer at Department of

  24          Health.

  25                 Q      I'm sorry.     What was your title
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   2          again, it was medical --

   3                 A      Medical director for the Bureau of

   4          Correctional Health Services.

   5                 Q      Who were your direct reports?

   6                 A      Nancy Arias, our director of

   7          nursing, Zach Rosner, deputy medical

   8          director, Daniel Petrazelli (phonetic),

   9          director of pharmacy.         Mohammed Jaffa

  10          (phonetic), I don't remember his exact title

  11          at that time.        Pedro Rivera, who was the

  12          director of infection control.

  13                 Q      This is as the medical director.

  14          And you eventually, you start at CHS in

  15          August of 2015.        Who were your direct

  16          reports at that time?

  17                             MS. CANFIELD:    Objection to

  18                     form.    You can answer.

  19                 A      I don't know that I recall all of

  20          them.      I will name a few if that's okay.

  21                 Q      Sure.

  22                 A      So Zachary Rosner became my direct

  23          report as assistant chief of medicine.

  24          Dr. Louis Cintron (phonetic) was a direct

  25          report also as assistant chief of medicine.
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   2          Tom Hayden, director of clinical pharmacy.

   3          Nancy Arias, director of nursing.            There may

   4          have been a few others, but they are not

   5          coming to mind right now.

   6                 Q      When did you hire Dr. Ford?

   7                             MS. CANFIELD:    Objection to

   8                     form.     You can answer.

   9                 A      So to clarify, I didn't hire

  10          Dr. Ford.      I became Dr. Ford's supervisor

  11          when I was promoted to chief medical

  12          officer.

  13                 Q      Okay.    When did that happen?       That

  14          happened in 2017, right?

  15                 A      Yes.

  16                 Q      Did you evaluate Dr. Ford?

  17                 A      Yes.

  18                 Q      And when did you evaluate her?

  19                 A      I'm not sure the exact dates when

  20          I evaluated her.

  21                 Q      What was the actual form called

  22          when you evaluated Dr. Ford?

  23                 A      I don't know the title of the

  24          specific form.

  25                 Q      Is there more than one evaluatory
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   2          document or instrument?

   3                 A      I think that those documents are

   4          often under revision.         So I would generally

   5          use the one that was current at the time.

   6                 Q      Have you heard of a professional

   7          practice evaluation?

   8                 A      I don't know that I've heard that

   9          term specifically.

  10                 Q      But you have heard the term of

  11          performance evaluations?

  12                 A      Yes.

  13                 Q      So it's a professional practice

  14          evaluation.        Those are the performance

  15          evaluations, right?

  16                             MS. CANFIELD:    Objection to

  17                     form.     You can answer if you're

  18                     able.

  19                 A      I'm sorry.     I missed that.

  20                 Q      Strike that.

  21                        What did you rate Dr. Ford during

  22          the time that you evaluated her?

  23                 A      I don't remember specifically the

  24          ratings that I gave her, but her performance

  25          was very good.
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   2                 Q     Did you ever have any complaints

   3          about Dr. Ford?

   4                 A     No.

   5                 Q     Had anyone brought to your

   6          attention -- had anyone complained to you

   7          about Dr. Ford?

   8                 A     I don't remember specific

   9          complaints about Dr. Ford, no.

  10                 Q     Now, who are your direct reports

  11          since CHS assumed oversight of the forensic

  12          psychiatric court clinics?

  13                 A     I'm sorry.     Could you repeat that

  14          or clarify.

  15                 Q     Who were your direct reports since

  16          CHS assumed oversight of the forensic

  17          psychiatric court clinics?

  18                 A     So I don't remember the exact time

  19          course.     My direct reports wouldn't have

  20          changed when that occurred.          That program

  21          was under Dr. Ford in the organizational

  22          structure.      It would have become under my

  23          purview when I was promoted to chief medical

  24          officer.     I actually don't recall if that

  25          happened before or after the program
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   2          actually came over.

   3                 Q     So if I were to go to your direct

   4          reports in 2015, you have Zach Rosner, Louis

   5          Cintron, Tom Hayden, Nancy Arias, and then

   6          when you became chief medical officer

   7          in 2017, all I would have to do is add Dr.

   8          Ford; would that be accurate?

   9                 A     Well, some of the people that were

  10          my direct reports would have become reports

  11          of other people at that time.           So the org

  12          chart may have changed slightly, otherwise.

  13          But, you know, my direct reports as chief

  14          medical officer initially would have been

  15          Dr. Ford, Dr. Rosner, who became the chief

  16          of medicine.      Tom Hayden, the director of

  17          pharmacy, Nancy Arias, who was at that time

  18          the chief nursing officer.

  19                       So it wouldn't have changed too

  20          much, but some of the direct reports that

  21          were previously mine as the chief of

  22          medicine would have gone to Dr. Rosner.

  23                 Q     Now, who actually determined the

  24          commission work hours at the court clinics?

  25                           MS. CANFIELD:      Objection to
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   2                     form.   You can answer.

   3                 A      Well, that's a complex question.

   4          The court clinics had a long history of

   5          oversight from Bellevue and King's County

   6          Hospital when CHS took over.           And the goals

   7          of that transition were really to

   8          standardize and try to give attention to the

   9          important work of those clinics, and

  10          standardize the management as much as

  11          possible.

  12                        So they historically and under CHS

  13          would have clinical leadership and

  14          administrative leadership.          So the work

  15          hours of the clinics were determined through

  16          some combination thereof.

  17                 Q      Let's just start with the first

  18          part.      Standardized management, right; who

  19          made the determination that management

  20          needed to be standardized?

  21                 A      So, again, CHS volunteered to take

  22          over those clinics.        Understanding the

  23          importance of the work, and understanding

  24          that they at times within their parent

  25          institutions may not have been understood.
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   2          They are kind of to the side of the clinical

   3          care that is the primary mission of most

   4          hospitals.         And we wanted to bring some of

   5          the administrative systems and sort of

   6          attention that we felt our leadership team

   7          had to those clinics, to try to improve the

   8          work that was being done, to make it more

   9          efficient, to do the best job that we could

  10          for the clients and for the courts, and also

  11          to move those cases timely.

  12                 Q      Taking back to the standardizing

  13          of the management, who specifically -- you

  14          said, first off, CHS volunteered to take

  15          over the clinics.        Who at CHS volunteered?

  16                 A      So it was a decision that we made

  17          collectively as the leadership.           I think it

  18          was Dr. Ford's initial suggestion as a

  19          project where CHS could lend some benefit to

  20          the system and to the City.

  21                 Q      And who else?

  22                             MS. CANFIELD:    Objection to

  23                     form.     You can answer.

  24                 A      So that conversation would have

  25          been primarily between myself, Dr. Ford,
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   2          Patsy Yang, our human resources and finance

   3          leadership as well.

   4                 Q      Human resources where?

   5                 A      Within CHS.

   6                 Q      Who would that be?

   7                 A      I believe at the time it was

   8          Jonathan Wangel.

   9                 Q      And this is at Department of

  10          Health?

  11                 A      No.

  12                             MS. CANFIELD:    Objection to

  13                     form.

  14                 Q      This is at H&H at this point?

  15                 A      Yes.

  16                 Q      And then finance is at H&H, right?

  17                 A      Yes.

  18                 Q      And who from finance?

  19                 A      It probably would have been Aaron

  20          Anderson.

  21                 Q      Now, the standardization of

  22          management, who made that determination that

  23          the clinics needed to be standardized?

  24                 A      Again, that was the intention of

  25          standardizing the -- consolidating the
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   2          clinics under CHS, standardizing the

   3          management of those clinics, and bringing to

   4          bear, you know, our systems, whether it's IT

   5          or administrative, to try to improve the

   6          efficiency of those clinics was a collective

   7          leadership decision with the people that I

   8          mentioned.

   9                 Q      Now, who actually -- I guess,

  10          what -- who actually made the decision to

  11          standardize specific things?           Like who's

  12          purview does that fall under?

  13                             MS. CANFIELD:    Objection to

  14                     form.    You can answer.

  15                 A      I mean, it depends on what the

  16          specific thing is.        I think the conceptional

  17          framework was what I was involved in and

  18          what the leadership team was involved in.

  19                        The actual implementation of that

  20          means evaluating leaders for each of the

  21          different clinics, evaluating administrative

  22          staff, evaluating workflows that exist, and

  23          evaluating manners in which those things

  24          could be standardize or improved.

  25                 Q      Who determined the salaries for
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   2          the court -- for the center directors?

   3                 A     I don't know.

   4                 Q     So your direct report was

   5          Dr. Ford.     So she would have been the most

   6          senior person dealing with the court

   7          clinics; am I right?

   8                 A     Yes.

   9                 Q     And your area of expertise, just

  10          make sure that I have this right, you're an

  11          internist, right?

  12                 A     Yes.    By training.

  13                 Q     By training.      And you've never --

  14          you have no expertise and knowledge about

  15          forensic psychiatric exams; is that right?

  16                 A     Not specific expertise about

  17          forensic psychiatric exams.          I do have an

  18          understanding from my career trajectory of

  19          where they fit, in terms of the criminal

  20          legal system in New York City, but I'm not

  21          an expert in the performance of those

  22          evaluations.

  23                 Q     So back to the salaries, how was

  24          it determined what the -- who determined

  25          exactly what each center director got paid?
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   2                 A     I mean, I don't -- I wasn't

   3          specifically involved in that discussion in

   4          general with a project like that, a

   5          transition like that.         People would come

   6          over at the salaries they were making for

   7          the most part.

   8                 Q     Was there a time where pay parity

   9          became an issue for Dr. Kaye and was it

  10          brought to your attention?

  11                 A     I became aware of that, yes.

  12                 Q     When you say you became aware of

  13          that, what do you remember?

  14                 A     Well, I was not particularly

  15          involved in the issue, because it was mainly

  16          handled by Dr. Yang, HR and Dr. Ford.

  17                 Q     Whose HR?

  18                 A     At the time I believe it would

  19          have been Jonathan Wangel.

  20                 Q     At any point did you have the

  21          ability to sign off on Dr. Kaye's salary?

  22                 A     No.

  23                 Q     Who would have had that authority?

  24                 A     Ultimately, Dr. Yang.

  25                 Q     And who would have had the
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   2          ultimate authority to determine whether or

   3          not Dr. Kaye was fired?

   4                             MS. CANFIELD:     Objection to

   5                     form.     You can answer.

   6                 A      That would have been Dr. Kaye's

   7          supervisor, Dr. Ford.         And that would be in

   8          consultation with HR.

   9                 Q      So that would have been

  10          Mr. Wangel?

  11                 A      Yeah.    And someone of that high of

  12          a position, Dr. Yang would be involved in

  13          that conversation as well.

  14                 Q      It would be Dr. Ford, Mr. Wangel,

  15          and Ms. Yang or Dr. Yang, right?

  16                 A      Yes.     And myself.

  17                 Q      And yourself.     And I just wanted

  18          to make sure, that Dr. Ford reported to you

  19          at all times, right?

  20                 A      Yes.

  21                 Q      So like employment decisions such

  22          as termination, promotion, et cetera, that

  23          was a collective decision between yourself,

  24          Dr. Ford, Dr. Wangel and Dr. Yang; is that

  25          right?
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   2                             MS. CANFIELD:     Objection to

   3                     form.    You can answer.

   4                 A      Yeah.    In general.     I mean, it

   5          depends on the level of the decision.             And,

   6          you know, the individual supervisor has

   7          autonomy for much of that, but if decisions

   8          are complex or fraught or weighty, then

   9          others from the leadership team would be

  10          involved in that decision making as well.

  11                 Q      Now, I just have a question.          I

  12          mean, this is general, what are the

  13          conditions like at Rikers Island right now?

  14                             MS. CANFIELD:     Objection to

  15                     form.    You can answer.

  16                 A      Well, that's a complex question.

  17          Rikers Island is a complex place.            And it is

  18          a jail facility which has a fraught history,

  19          which is well documented in the media and

  20          other places.        It has experienced recent

  21          challenges with absenteeism and lack of

  22          staffing by security staff, which has made

  23          the conditions challenging.

  24                        But, in general, if you came into

  25          our clinics on Rikers Island you would see a
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   2          fairly, ordinary operating medical clinic

   3          where people are receiving clinical care

   4          from doctors, nurses, mental health

   5          professionals.

   6                        There is a huge healthcare

   7          delivery operation that continues doing

   8          everything from nursing home level of care

   9          to hemodialysis.        So it's a challenging

  10          environment, but we are able to provide a

  11          great deal of clinical care despite that.

  12                 Q      At any point did you seek outside

  13          intervention to help with the services at

  14          the jail?

  15                             MS. CANFIELD:    Objection to

  16                     form.    You can answer.

  17                 A      In recent months I had made a

  18          public statement that I felt that that was

  19          required.

  20                 Q      Would you elaborate.

  21                 A      I wrote a letter to the city

  22          counsel suggesting that the City should seek

  23          outside assistance to deal with the

  24          situation that I just described.

  25                 Q      Did anybody tell you to write that
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   2          letter, Dr. MacDonald?

   3                 A     No.

   4                 Q     Did you face any retaliation after

   5          you wrote that letter?

   6                 A     No.

   7                 Q     Did anyone talk to you after you

   8          wrote the letter?

   9                 A     Yes.

  10                 Q     Who?

  11                 A     Certainly my supervisors were

  12          interested in the content of the letter and

  13          my concerns raised in the letter.

  14                 Q     Who is your supervisors?

  15                 A     Dr. Yang.

  16                 Q     And who else?

  17                 A     Dr. Katz.

  18                 Q     Were they upset that you wrote the

  19          letter?

  20                 A     They were -- I wouldn't call it

  21          upset.     I don't know that they agreed with

  22          that that was the right thing to do in that

  23          particular situation.         I think they

  24          understood why I did it, and we were able to

  25          discuss it in a professional manner.
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   2                 Q     So you didn't go to your immediate

   3          supervisors in this instance, you just went

   4          to city counsel specifically?

   5                 A     That would be a function of the

   6          particular politics of that moment, yes.

   7                 Q     When you mean that would be the

   8          function of the particular politics of that

   9          moment, what do you mean by that?

  10                 A     In that particular moment, that

  11          was the pathway that I felt was most

  12          effective to alleviate the concerns that my

  13          patients were experiencing at that time.

  14                 Q     Now, you're saying patients,

  15          you're the chief medical officer now, right?

  16                 A     Correct.

  17                 Q     So you consider the people housed

  18          at Rikers Island your patients, right?

  19                 A     Yes.    I do in general.       I

  20          recognize that the proceedings of the

  21          forensic clinics, which I do oversee, that

  22          those persons are in a different

  23          relationship to my staff when they are being

  24          evaluated in those clinics.

  25                 Q     But when you -- I'm sorry.
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   2                 A      But the bulk of our work as it was

   3          for Bellevue and Kings County is clinical

   4          work for patient care.         So I have to keep

   5          those two things separate in my mind.

   6                 Q      When you went to City Hall, this

   7          wasn't part of your job; is that right?

   8                             MS. CANFIELD:    Objection to

   9                     form.    You can answer.

  10                 A      I'm not sure I understand the

  11          question.

  12                 Q      Well, you're chief medical

  13          officer, is it your understanding that it

  14          was part of your job description to, I

  15          guess, to go around or go above your

  16          immediate supervisors and contact City Hall

  17          directly because of what was happening at

  18          the jail?

  19                 A      I'm not sure you're characterizing

  20          the pathways there correctly.           I didn't go

  21          to City Hall.

  22                 Q      I mean, I guess the city counsel.

  23          I'm sorry.

  24                 A      Yeah.    No.   I don't think it's

  25          part of my job description, per se.            I think
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   2          that was an extraordinary act which was part

   3          of my fiduciary responsibility to my

   4          patients and my staff.

   5                 Q     You didn't tell Dr. Yang or

   6          Dr. Katz that you were doing so beforehand,

   7          right?

   8                 A     Correct.

   9                 Q     Why not?

  10                 A     Because I didn't believe that the

  11          things that I was arguing for were under

  12          their control.

  13                 Q     And when did you write this

  14          letter; do you recall?

  15                 A     September 10th, 2021.

  16                 Q     Of this year?

  17                 A     Yeah.

  18                 Q     And have you experienced any

  19          retaliation since you've written this

  20          letter?

  21                 A     Sorry.     I have to log in again.

  22                       I don't believe so.        I've been

  23          allowed to continue in my position and do my

  24          work with my staff.

  25                 Q     No reduction in salary?
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   2                 A      No.

   3                 Q      No reduction in staff?

   4                 A      No.

   5                 Q      I'm going to show you what's

   6          marked as Exhibit 1.

   7                           MS. HAGAN:     Ms. Canfield, you

   8                     should have this letter.        I sent it

   9                     this morning.

  10                           MS. CANFIELD:      Okay.

  11                           MS. HAGAN:     And Exhibit 1

  12                     doesn't have Bate Stamps.        It's just

  13                     a letter from Dr. MacDonald.

  14                              (Whereupon, Dr. MacDonald Letter

  15                              was marked as Plaintiff's

  16                              Exhibit 1 for identification as

  17                              of this date.)

  18                 Q      It's a letter from Dr. MacDonald,

  19          dated September 10, 2021.          You'll see it.

  20          And I'll give you an opportunity to review

  21          the letter.

  22                           MS. HAGAN:     Now, have you

  23                     finished reading, Ms. Canfield?

  24                           MS. CANFIELD:      Yes.

  25                 Q      Now, just for purposes of the
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   2          record, since it's not Bates stamped, this

   3          is a letter from Dr. MacDonald, dated

   4          September 10, 2021.        It's addressed to Keith

   5          Powers, chair of the Criminal Justice

   6          Committee, the New York City Council.             I

   7          guess you sent it via email; would that be

   8          accurate, Dr. MacDonald?

   9                 A     Yes.

  10                 Q     Do you recognize the letter that

  11          we've just had, I guess had reviewed on the

  12          record?

  13                 A     Yes.    I do.

  14                 Q     And it's clear that you wrote this

  15          letter, right?

  16                 A     Correct.

  17                 Q     You have CC'd on the letter Corey

  18          Johnson, the speaker, Vanessa Gibson, chair

  19          committee on oversight investigation; is

  20          that right?

  21                 A     Yes.

  22                 Q     Now, at some point in the letter

  23          you make the statement that:

  24          "Unfortunately, in 2021 we have witnessed

  25          collapse in basic jail operations, such that
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   2          today I do not believe the City is capable

   3          of safely managing the custody of those.              It

   4          is charged with incarcerating in its jails,

   5          nor maintaining the safety of those who work

   6          there."

   7                       What prompted you to write that,

   8          Dr. MacDonald?

   9                 A     Again, it was a discrete situation

  10          that's developed over the course of 2021,

  11          related to absenteeism and challenges with

  12          staffing for correctional officers which had

  13          created dangerous conditions that I describe

  14          here.

  15                 Q     Now, in this paragraph where

  16          you're seeing me hover, right, it says,

  17          "Over ten years of leadership," you have

  18          over ten years of leadership positions in

  19          healthcare in city jails.          "I've seen

  20          tremendous progress in the conditions of

  21          confinement.      With the reduction of deaths

  22          in custody from 21 and 24 deaths in 2012 and

  23          2013 respectively to just three deaths

  24          in 2019."

  25                       Where did you get those figures
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   2          exactly, Dr. MacDonald?

   3                 A      Those are publically reported, but

   4          they are figures related to the official

   5          mortalities in custody during those years.

   6                 Q      So what about -- so wasn't there a

   7          spike in suicides in 2020?

   8                             MS. CANFIELD:    Objection to

   9                     form.     You can answer.

  10                 A      No.    I believe there was one

  11          suicide in 2020, followed by a spike in

  12          suicides in 2021.

  13                 Q      Right.     So your letter doesn't

  14          talk about what happened in 2021, but it

  15          stops in 2019 right before the pandemic; is

  16          that right?

  17                             MS. CANFIELD:    Objection to

  18                     form.     You can answer.

  19                 A      Well, I mean, I do say a little

  20          lower down that the response -- I do address

  21          the response to COVID 19 in the system.

  22                 Q      Now, since you've written this

  23          letter, have you gotten any of the outside

  24          help that you requested?

  25                 A      Yes.
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   2                 Q      How did that happen?

   3                 A      So there've been a couple pathways

   4          by which the State has assisted the City in

   5          reducing the population detained in the New

   6          York City jail system.

   7                 Q      And how is that?

   8                 A      One was through the passage of

   9          legislation that released technical parol

  10          violators.         One was through a mutual

  11          agreement to take some additional sentenced

  12          individuals to state facilities.            And one is

  13          through a transfer of people living in the

  14          women's facility to temporarily to state

  15          custody.

  16                 Q      So this is when Rose M. Singer was

  17          closed?

  18                 A      Not yet, but people are being

  19          transferred to the state custody.

  20                 Q      So the things you just described,

  21          did that involve the 191 people who were

  22          released?

  23                             MS. CANFIELD:    Objection to

  24                     form.     You can answer.

  25                 A      I believe that is the number that
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   2          was quoted for the technical parole

   3          violators.

   4                 Q      But there were additional people

   5          outside of beyond the 191?

   6                             MS. CANFIELD:    Objection to

   7                     form.     You can answer.

   8                 A      Yes.     So there were both releases

   9          and transfers of custody.

  10                 Q      And the transfers of custody are

  11          not being counted toward the 191 people who

  12          were actually released?

  13                 A      That's my understanding, yes.

  14                 Q      Were there any other measures

  15          taken since you wrote this letter?

  16                 A      The opening of an additional

  17          facility to manage new admissions, which I

  18          recommended in the letter, has occurred

  19          since then as well.

  20                 Q      Now, about the court clinics,

  21          right, how have the court clinics been

  22          operating during this time?

  23                             MS. CANFIELD:    Objection to

  24                     form.     You can answer.

  25                 A      So the court clinics were
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   2          certain -- like anything in our society,

   3          were challenged by COVID 19.           The primary

   4          pathway for the performance of the

   5          evaluation moved to remote evaluation in

   6          2020, and that continues as the primary

   7          pathway for those evaluations to occur

   8          in 2021.

   9                        The production of clients to the

  10          evaluation is a challenge because it

  11          requires Department of Correction staffing.

  12          So there's been a lot of focus on trying to

  13          get the Department of Correction to

  14          prioritize bringing people to the

  15          evaluations.

  16                 Q      You said the remote evaluations

  17          started in 2020.        Do you remember what month

  18          that was?

  19                 A      Not specifically the month, no.

  20                 Q      At any point was there -- did it

  21          ever come to your attention that there was

  22          work stoppage at the Bronx court clinic?

  23                             MS. CANFIELD:    Objection to

  24                     form.    You can answer.

  25                 A      I'm not aware of specific work
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   2          stoppage.

   3                 Q      Was there a time that the Bronx

   4          court clinic wasn't seeing any inmates?

   5                 A      Related to COVID?

   6                 Q      No.    Like when Dr. Kaye -- I'm

   7          going to give you a specific window.

   8                        From October 2019 to January 2020,

   9          were you aware that there was a time during

  10          that time period where they were not seeing

  11          anybody for 730 examinations?

  12                             MS. CANFIELD:    Objection to

  13                     form.    You can answer.

  14                 A      I don't -- I know that the Bronx

  15          court clinic had struggled with evaluations

  16          compared to the other clinics.           I don't know

  17          that I was aware of a specific work

  18          stoppage.      I think there were often cases

  19          where supervisors had to assist with

  20          evaluations.

  21                 Q      When you say "struggled," what do

  22          you mean by that, the Bronx court clinic

  23          struggled?

  24                 A      Well, the volume of evaluations

  25          was lower than any other clinics.            The
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   2          staffing was a challenge with higher rates

   3          of turnover than any other clinics.            And the

   4          conflict with Dr. Kaye contributed to some

   5          of the inefficiencies, in my estimation.

   6                 Q      Let's start with the first part,

   7          the volume was lower.         Why was the volume

   8          lower, allegedly in the Bronx court clinics?

   9                 A      I think it was probably

  10          multifactorial.        Each borough is different.

  11          I think the volume has been lower for quite

  12          some time.

  13                 Q      But didn't the Bronx, unlike the

  14          other boroughs, have parole violators as

  15          well?

  16                             MS. CANFIELD:    Objection to

  17                     form.     You can answer.

  18                 A      I don't know that there was a

  19          specific role for evaluation of parole

  20          violators.         That was only in the Bronx.      I'm

  21          not aware of that.         Could be.

  22                 Q      How did you make the determination

  23          that the volume was lower in the Bronx

  24          versus the other boroughs?

  25                 A      This is just my general sense from
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   2          my understanding of the clinics.

   3                 Q     Who told you that?

   4                 A     Dr. Ford told me that.         Dr. Jain,

   5          who I supervised subsequent to Dr. Ford.

   6                 Q     How long did you supervise

   7          Dr. Jain directly?

   8                 A     That would have been in an interim

   9          capacity after Dr. Ford's departure.

  10                 Q     Would it be fair to say that

  11          Dr. Ford left in February of 2020?

  12                 A     I don't recall the exact time, but

  13          that's sounds like it could be right, yeah.

  14                 Q     When did Dr. Jain leave?

  15                 A     I don't recall when Dr. Jain left.

  16          It was not -- I think he was involved in

  17          some of the troubleshooting around standing

  18          up remote evaluations through COVID.             So

  19          that would have been into 2020, but I don't

  20          know exactly when he left.

  21                 Q     Now, you also mentioned the

  22          staffing was a challenge in the Bronx; what

  23          do you mean by that?

  24                 A     I think that there were challenges

  25          with recruitment and retention in the Bronx
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   2          specifically.

   3                 Q     Could you elaborate?

   4                 A     I don't know the specifics of

   5          that, as far as which staff, you know, which

   6          positions were a struggle to fill or which

   7          staff had left.       But I know from supervising

   8          Dr. Ford and Dr. Jain, that that was one

   9          thing that they were working on.

  10                 Q     Why were there challenges in

  11          recruitment and retention, to your

  12          understanding, in the Bronx?

  13                 A     I don't know specifically.          I do

  14          think that the Bronx was a place where

  15          people seemed to think there was a lot of

  16          conflict, and where we struggled to get the

  17          staff on the same page about the reasons for

  18          transition to CHS.        And Dr. Kaye's

  19          resistance to the transition was a big part

  20          of that, in my opinion.

  21                 Q     Now, you said that there's lots of

  22          conflict in the Bronx, what did you mean by

  23          that?

  24                 A     Just that it was difficult to work

  25          there.     It was not -- it didn't feel like a
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   2          good team work type place, was the

   3          impression that I got from those

   4          supervisors.

   5                 Q     And you're saying the supervisors

   6          are Dr. Ford and Dr. Jain?

   7                 A     Correct.

   8                 Q     And what do you mean by "team

   9          work"?

  10                 A     Well, team work would mean, you

  11          know, buying into the vision.           Again, I'm

  12          framing this as CHS's efforts because of our

  13          belief in the importance of the work to try

  14          to give the court clinics the attention that

  15          they deserved, to try to troubleshoot the

  16          problems that they were dealing with.             To

  17          allow them to do their work as efficiently

  18          and as well as possible.         And everybody

  19          being on board with that, and seeing that as

  20          the goal, since it was, would be a measure

  21          of how well the team work is going.

  22                 Q     And you said Dr. Kaye struggled

  23          with the transition.        What do you mean by

  24          that?

  25                 A     Well, I mean by that, that she
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   2          didn't ever seem to buy into the framing

   3          that I just described.         And rather than

   4          being focused on the work, she was focused

   5          on many different details of CHS management

   6          that she found to be problematic.

   7                 Q     And what details of CHS management

   8          did you remember Dr. Kaye finding

   9          problematic?

  10                 A     Well, I think there were a litany

  11          of them.     Many of them were laid out in a

  12          letter that she wrote at some point, with a

  13          list of concerns that she had about the

  14          clinic and the management.

  15                 Q     Were any of those concerns valid?

  16                 A     In my opinion, the concerns raised

  17          in that letter were easy rebuttable.

  18                 Q     And what letter are you

  19          referencing?

  20                 A     I don't know the specific letter,

  21          but I know that there was a letter that

  22          was -- that I reviewed around the time of

  23          her departure that had been shared with, I

  24          think the district attorneys.

  25                 Q     And when you got that letter, what
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   2          was your reaction?

   3                             MS. CANFIELD:    Objection to

   4                     form.    You can answer.

   5                 A      I wasn't particularly surprised by

   6          it.    Because I had been supervising two

   7          different supervisors who had struggled with

   8          Dr. Kaye's specific resistance to many of

   9          the standardization and efficiency efforts

  10          that had been made.        And I knew of her

  11          dissatisfaction with CHS, and so it wasn't

  12          surprising to me.

  13                 Q      Now, as inmates in the -- that

  14          come through the forensic psychiatric court

  15          clinics, what's your understanding of their

  16          constitutional protections?

  17                             MS. CANFIELD:    Objection to

  18                     form.    You can answer if you're

  19                     able.

  20                 A      Of their constitutional

  21          protections with regard to anything

  22          specific?

  23                 Q      Well, you know -- I guess, let's

  24          back up.      First and foremost, what is your

  25          understanding of the 730 examination
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   2          process?     Like, what does it entail, from

   3          your understanding?

   4                 A     So there's provision in New York

   5          State law that delineates when an evaluation

   6          should be performed to assess a person's

   7          mental state and their ability to assist and

   8          understand the legal circumstance that

   9          they're in, and to work with their defense

  10          attorneys to appropriately proceed with the

  11          legal case against them.

  12                 Q     How many evaluators are necessary

  13          to give the evaluations, to your knowledge?

  14                 A     At least two.

  15                 Q     And what's your understanding of

  16          the 390 exam process?

  17                 A     The 390 exam process I'm not as

  18          familiar with.       I know it's a smaller

  19          proportion of the work, of the clinics.

  20                 Q     Now, I guess, I just want to kind

  21          of be clear and have a clear record.             What

  22          was Dr. Ford's exact title?

  23                 A     Chief of psychiatry.

  24                 Q     And what her responsibilities?

  25                 A     She oversaw the mental health
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   2          service within CHS, the FPECC clinics, of

   3          course, as we're discussing here.            She

   4          oversaw the social work department that was

   5          responsible for discharge planning for

   6          people leaving custody.

   7                 Q      Anything else?

   8                 A      You know, with that comes

   9          ownership of policies and procedures,

  10          management of the many different staff in

  11          that department.        Yeah.   That's what comes

  12          to mind.

  13                 Q      And Dr. Jain, what was his exact

  14          title?

  15                 A      I don't know his exact title, but

  16          he was the director of the FPECC clinics.

  17                 Q      Did you play a role in hiring

  18          Dr. Jain?

  19                 A      I believe I interviewed Dr. Jain

  20          when he applied for the position.

  21                 Q      Did you interview Dr. Ford at any

  22          point?

  23                             MS. CANFIELD:    Objection to

  24                     form.    You can answer.

  25                 A      No.    I didn't interview Dr. Ford.
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   2          As I mentioned, I became her supervisor when

   3          I was promoted to chief medical officer.

   4                 Q     Now, you know, this is -- I'm

   5          going back a little bit.         But how did you

   6          get your position at the Department of

   7          Health in July or June?

   8                 A     How did I get my position at the

   9          Department of Health and mental hygiene?

  10                 Q     Yes.

  11                 A     I've been interested in

  12          incarceration as a sociological phenomenon

  13          before I entered medical school.            And I have

  14          been interested in people who have criminal

  15          justice involvement and their health and

  16          well being for many years.          And I chose my

  17          residency program in part because of the

  18          tradition there of involvement in healthcare

  19          for people with criminal justice

  20          involvement.

  21                       I had been involved in starting a

  22          clinic for people who had been recently

  23          released from incarceration during my

  24          residency, and I have been rotating even

  25          into the jail system during residency.
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   2                       So I had a long standing interest

   3          in the sociological and health, public

   4          health underpinnings of the interface of

   5          health and criminal justice.

   6                 Q     Did you apply for a specific

   7          position before you started working at the

   8          Department of Health?

   9                 A     I don't recall the details of the

  10          application process.        I --

  11                 Q     Who did you interview with,

  12          Dr. MacDonald?

  13                 A     Dr. Vendors.

  14                 Q     Did you know Dr. Vendors before

  15          you started at the Department of Health?

  16                 A     I knew him through my contact with

  17          him as part of that residency work that I

  18          was doing, but not during residency.

  19                 Q     So did you interview with anyone

  20          else besides Dr. Vendors before you started

  21          working at the Department of Health?

  22                 A     I don't recall.

  23                 Q     And you don't recall if you saw a

  24          specific job listing for the deputy director

  25          position?
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   2                 A      No.    I think I became aware of it

   3          because I had been in contact with

   4          Dr. Vendors.        And that was the pathway

   5          through which I was doing some work inside

   6          the jail system even during residency.

   7                 Q      But you didn't have any prior

   8          professional experience prior to this

   9          position as the deputy director; is that

  10          right?

  11                             MS. CANFIELD:    Objection to

  12                     form.    You can answer.

  13                 A      I moved into that position after I

  14          completed my residency.

  15                 Q      Now, at any point did you write

  16          any policies when you became the chief

  17          medical officer at CHS?

  18                 A      I've been involved in policy

  19          revision, and I'm sure I've signed off on

  20          policies since that time, yes.

  21                 Q      When you say you signed off, what

  22          do you mean by that exactly?

  23                 A      So CHS policies are stored in a

  24          central location electronically, and there

  25          are signed copies of the official policies,
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   2          many of which are signed by me.           You know,

   3          it depends on the individual services, who

   4          signs which policies.

   5                 Q     I'm going to show you what's going

   6          to be marked as Plaintiff's Exhibit 2.

   7                              (Whereupon, FPECC Policy

   8                              (NYC_291-295) was marked as

   9                              Plaintiff's Exhibit 2 for

  10                              identification as of this date.)

  11                 Q     For purposes of the record,

  12          Plaintiff's Exhibit 2 bears the Bate Stamp

  13          series NYC291 through 295.

  14                       I don't think this is actually

  15          addressed to you, Dr. MacDonald, but this is

  16          the FPECC policy.        Do you recall this, the

  17          private practice for FPECC clinical staff

  18          members?

  19                 A     Yes.

  20                 Q     Now, this email actually is from

  21          Dr. Jain to Drs. Mundy, Kaye, Winkler and

  22          Owen.

  23                       You see that, right?

  24                 A     Yes.

  25                 Q     And it's dated June 28, 2018.
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   2                        You see that, right?

   3                 A      Um-hmm.

   4                 Q      I guess you're on some of the

   5          earlier correspondence, I would take it, but

   6          I don't see your name here.

   7                 A      Yeah.    My name is there.

   8                 Q      And, first and foremost, what role

   9          did you play in writing the private practice

  10          policy?

  11                           MS. CANFIELD:      Objection to

  12                     the form.    You can answer.

  13                 A      I didn't write the policy.         I

  14          believe I reviewed it.

  15                 Q      And did you have any contributions

  16          to the policy?

  17                 A      I don't remember specific

  18          contributions to the policy.

  19                 Q      Did you review any documents in

  20          your review of the policy?

  21                 A      I'm sorry.    Say that again.

  22                 Q      In the process of being engaged

  23          about this policy, did you review any

  24          documents referenced?

  25                 A      No.
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   2                 Q      Why not?

   3                 A      I'm not sure I understand the

   4          question.

   5                 Q      By any chance, did you raise any

   6          concerns about the private practice policy?

   7                 A      No.

   8                 Q      Why not?

   9                 A      Because I thought that it fairly

  10          laid out guidelines that were consistent

  11          with professional practice and that had been

  12          reviewed by others with more expertise in

  13          this area, and I reviewed it and it seemed

  14          reasonable to me.

  15                 Q      And who were the others with more

  16          expertise that you're referencing?

  17                 A      Dr. Ford and Jonathan Wangel.

  18                 Q      Now, are you familiar with the

  19          Conflict of Interest Board Rule 68?

  20                             MS. CANFIELD:    Objection to

  21                     form.    You can answer.

  22                 A      I'm familiar with the Conflict of

  23          Interest Board.        I don't know specifically

  24          which rule is 68.

  25                 Q      Well, the disclosure.       I mean, you
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   2          have to make yearly disclosures yourself; am

   3          I right, Dr. MacDonald?

   4                 A      Yes.

   5                 Q      So that same provision is invoked

   6          as far as Chapter 68 specifically in the

   7          policy itself; you see that, right?

   8                 A      Yes.

   9                 Q      So are you familiar with that and

  10          how it has interplayed with this private

  11          practice policy?

  12                             MS. CANFIELD:    Objection to

  13                     form.     You can answer.

  14                 A      I mean, in a broad sense, yes.

  15          The important role -- the important

  16          principle is that no employees of the City

  17          should engage in outside work that presents

  18          a conflict of interest with work that is

  19          their city duty.

  20                 Q      Did there come a time Dr. Kaye

  21          expressed concern to you about this private

  22          practice policy?

  23                 A      I don't recall Dr. Kaye expressing

  24          concerns specifically to me about this

  25          policy.
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   2                 Q     At any point did you tell her that

   3          or anyone that Dr. Yang supports private

   4          practice as a way to retain and to recruit

   5          clinicians?

   6                 A     Can you repeat the question.

   7                 Q     At any point did you tell Dr. Kaye

   8          or anyone else that Dr. Yang supports

   9          private practice for clinicians as a way to

  10          retain and to recruit?

  11                 A     I don't remember saying that, no.

  12                 Q     Did Dr. Yang actually support the

  13          private practice policy?

  14                 A     I do believe that she supported

  15          the policy, yes.       And that there were

  16          recruitment and retention considerations at

  17          hand.

  18                       I mean, obviously a policy of

  19          prohibiting any outside work would be one

  20          pathway that our organization could take.

  21          But instead the assessment was that the

  22          conflicts of interest in outside work could

  23          be managed, and that that would be better

  24          for the overall operations of the clinics.

  25          And part of that was because of an
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   2          understanding that many of the staff of the

   3          clinics have been engaged in this type of

   4          work over many years.

   5                        So rather than prohibiting outside

   6          work or not addressing it, our strategy was

   7          to make a clear policy that would delineate

   8          how it could be done without violating

   9          conflicts of interest law or the spirit of

  10          that.

  11                 Q      Did you all pursue an opinion from

  12          the conflict of interest rule for this

  13          particular policy?

  14                             MS. CANFIELD:    Objection to

  15                     form.    You can answer.

  16                 A      I don't know.     I know that

  17          Jonathan Wangel was involved in the

  18          development of this policy and he has

  19          background in conflicts of interest.             And I

  20          felt confident that the people who were more

  21          expert than me at that end of it had looked

  22          at it, and that it was sound.

  23                 Q      Now, wouldn't issuance of this

  24          policy be outside of your expertise?             You

  25          would agree with that, right?
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   2                             MS. CANFIELD:    Objection to

   3                     form.     You can answer.

   4                 A      Yes.     If I were to write this

   5          policy myself, I would have to seek counsel

   6          from others who are more expert in the

   7          content.

   8                 Q      And why is that?

   9                 A      Because this is a policy that

  10          touches on forensic practice, as well as

  11          conflicts of interest.         So it's HR matters,

  12          as well as areas outside of my clinical

  13          expertise.

  14                 Q      So, I mean, there's also

  15          implications of the OPMC and potential

  16          misconduct with the Medical Licensing Board,

  17          right?

  18                             MS. CANFIELD:    Objection to

  19                     form.     You can answer.

  20                 A      I'm not sure I understand that.

  21                 Q      If you were actually writing

  22          policies or issuing policies outside of your

  23          area of expertise, couldn't you be subject

  24          to a complaint with the Medical Licensing

  25          Board?
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   2                             MS. CANFIELD:    Objection to

   3                     form.     You can answer.

   4                 A      I don't -- I mean, this would be

   5          an administrative policy, right.            So I'm --

   6          my oversight of this policy is in the

   7          capacity as -- in my capacity as an

   8          administrator, not as a clinician.

   9                 Q      But it does touch on things that

  10          are specific to the practice of forensic

  11          psychiatry, right?

  12                             MS. CANFIELD:    Objection to

  13                     form.     You can answer.

  14                 A      Certainly.

  15                 Q      So this would be outside your area

  16          of the expertise; am I right?

  17                             MS. CANFIELD:    Objection to

  18                     form.     You can answer.

  19                 A      Yes.     In the same way that I have

  20          oversight of policies for nursing or

  21          pharmacy, despite the fact that I'm not a

  22          nurse or a pharmacist.

  23                 Q      As a doctor, each doctor has a

  24          specialty; am I right?

  25                 A      I think that's a complicated
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   2          question.      Doctors are trained and -- have

   3          different training for sure.

   4                 Q      Well, you have a specialty, right?

   5                             MS. CANFIELD:    Objection to

   6                     form.

   7                 A      I have completed a residency in

   8          internal medicine and I'm board certified in

   9          internal medicine.

  10                 Q      Right.     But you're not board

  11          certified in forensic psychiatry, right?

  12                 A      Correct.

  13                 Q      Wouldn't it stand to reason that

  14          the OPMC would take issue with a doctor

  15          writing a policy outside of the area that he

  16          is certified in?

  17                             MS. CANFIELD:    Objection.

  18                 A      I'm not sure that they would.

  19                 Q      Please finish your answer.

  20                 A      I'm not sure that they would,

  21          provided that that physician was acting as

  22          an administrator in the oversight of that

  23          policy.      The development of policy, per se,

  24          I don't think is a function of professional

  25          practice.
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   2                 Q      Now, at any point did Dr. Kaye

   3          express concerns to you about HHC staff and

   4          facilities being used to conduct private

   5          forensic evaluations?

   6                 A      No.

   7                 Q      Were you aware of her complaint to

   8          management to that effect?

   9                             MS. CANFIELD:    Objection to

  10                     form.    You can answer.

  11                 A      I don't recall that as a specific

  12          complaint of hers.        It may have been one of

  13          the things listed in the litany of concerns

  14          that I mentioned in the letter.           I don't

  15          recall all the specifics.

  16                 Q      Did you look into any of the

  17          things that Dr. Kaye alleged especially --

  18          let's stick with this issue.           Did you look

  19          to see if HHC staff, the facilities were

  20          being used to conduct private forensic

  21          evaluations?

  22                 A      Say that again.

  23                 Q      Did you look into, did you

  24          investigate whether or not HHC staff and

  25          facilities were being used to conduct
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   2          private forensic evaluations?

   3                 A      I do not remember an allegation

   4          that the facilities were being used to

   5          conduct private evaluations.           That was never

   6          raised to me.

   7                 Q      Did you look at any allegations

   8          that any of forensic psychiatrists or

   9          evaluators engaged in double dipping?

  10                             MS. CANFIELD:    Objection to

  11                     form.    You can answer.

  12                 A      I don't know what you mean by

  13          double dipping.

  14                 Q      Well, they were basically

  15          working -- they were on the City time but

  16          working elsewhere.

  17                 A      No.    I was not aware of any

  18          allegation of that.

  19                 Q      Did you look to see to make sure

  20          that that didn't take place?

  21                             MS. CANFIELD:    Objection to

  22                     form.    You can answer.

  23                 A      I didn't specifically look into

  24          see to make sure that that didn't take

  25          place.      But that was more concerted
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   2          oversight was part of the goal of the

   3          transition.      And so we had administrative

   4          staff running those clinics.           We had methods

   5          of time keeping that in many cases were more

   6          robust than what had come before, to try to

   7          make sure that this work was being done

   8          appropriately.

   9                        I had confidence in the

  10          administrative leadership of CHS to really

  11          tighten up these clinics compared to what

  12          was happening before.

  13                 Q      So when you mean "tighten up these

  14          clinics," what do you mean by that?

  15                 A      Well, I mean by that

  16          standardization of work rules.           So when do

  17          people take lunches, how long are the

  18          lunches, what are the work hours, how do we

  19          document when people are on site doing their

  20          work.      All those things.     Many of the things

  21          that Dr. Kaye did not like about what we

  22          tried to do, were specifically to make sure

  23          that there was accountability for people's

  24          time and that City resources were being used

  25          appropriately.
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   2                 Q      Who made the determination that

   3          they had to be standardization of work rules

   4          to begin with?

   5                 A      That's just a principle of

   6          management that we would all share.

   7                 Q      But I'm asking who made that

   8          determination?

   9                 A      I can't say a specific person who

  10          made that determination.           Because, again,

  11          it's a principle of our approach.

  12                 Q      Were you part of that decision

  13          making process?

  14                             MS. CANFIELD:     Objection to

  15                     form.    You can answer.

  16                 A      Which decision making process

  17          specifically are you referring to?

  18                 Q      Standardization of the work rules

  19          specifically.

  20                 A      Again, I was part of the decision

  21          making process about when CHS voluntarily

  22          decided to consolidate these clinics under

  23          the umbrella of CHS to make sure that work

  24          flows made sense, that the staff of these

  25          clinics were supported in doing their work
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   2          as efficiently as possible.

   3                        That any areas of uncertainty are

   4          evaluated and addressed through policies

   5          such as this one.        And the broad effort to

   6          consolidate and improve those clinics.             So I

   7          was involved in that decision making.             And

   8          part of that, absolutely, is standardization

   9          of both HR practice and work flow.

  10                 Q      What is your understanding of the,

  11          I guess the hours of operation for the

  12          courts in general?

  13                 A      I don't have much of a concept of

  14          the hours of operation for the courts in

  15          general.

  16                 Q      Did you need -- I mean, did you

  17          know, I guess, when Dr. Kaye needed to be at

  18          the court clinics and when she didn't have

  19          to be there?

  20                             MS. CANFIELD:    Objection to

  21                     form.    You can answer.

  22                 A      I would not have the level of

  23          detail knowledge to say that.

  24                 Q      Who would have had that level of

  25          detail knowledge?
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   2                 A      Dr. Ford, Dr. Jain, in

   3          collaboration with the administrative

   4          leadership of the clinics.

   5                 Q      Now, at any point did you become

   6          aware of Dr. Kaye's complaint about the

   7          shift change that she was experiencing?

   8                 A      I was aware of a concern of the

   9          timing of her hours.

  10                 Q      And who had the concern about the

  11          timing of her hours, besides Dr. Kaye?

  12                 A      I don't know.

  13                 Q      Was there an issue with Dr. Kaye's

  14          performance?

  15                 A      I think in sort of -- I think the

  16          supervisors of Dr. Kaye, who I supervised,

  17          really struggled to manage her, because she

  18          was so resistant to almost every aspect of

  19          what we were trying to do.

  20                        I think often times even I -- that

  21          they were intimidated to giving her feedback

  22          sometimes.      And so if you looked at her

  23          performance evaluations, I imagine they were

  24          good.      But she took a tremendous amount of

  25          time of those supervisors related to the
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   2          litany of concerns that were detailed in her

   3          letters, and much of the content that we're

   4          discussing here today, which had the effect

   5          of the making the clinic much less

   6          efficient.         Because so much time was spent

   7          on these types of details, rather than, you

   8          know, as I've mentioned, a good team work

   9          based approach, to everyone pitching in to

  10          get the work done as efficiently and as well

  11          as possible.

  12                 Q      Have you attributed an employee's

  13          separation previously to an inability to

  14          engage in team work?

  15                             MS. CANFIELD:    Objection to

  16                     form.     You can answer if you're

  17                     able.

  18                 A      I believe that that could be an

  19          element of feedback for an employee and a

  20          performance issue, yes.

  21                 Q      But as far as Dr. Kaye's technical

  22          performance of her job functions, you never

  23          received any complaints about that, right?

  24                 A      Performance of evaluations

  25          themselves?
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   2                 Q     Yes.

   3                 A     Not about the content of her

   4          evaluations.

   5                 Q     Not about the quality of her work?

   6                 A     Correct.     Not about the content of

   7          the evaluations.

   8                 Q     So you're saying that the issues

   9          that you're identifying with Dr. Kaye was

  10          that they struggled to manage her and you're

  11          saying they, being Dr. Ford and Dr. Jain,

  12          right?

  13                 A     Yes.

  14                 Q     And they were intimidated by her,

  15          right?

  16                 A     I think at times.

  17                 Q     Who was intimidated by Dr. Kaye?

  18                 A     I think Dr. Jain in particular,

  19          who was a newer manager, was intimidated by

  20          Dr. Kaye.     That was my assessment.

  21                 Q     And who else?

  22                 A     I think Dr. Ford, who was a more

  23          seasoned manager, you know, was exasperated

  24          by Dr. Kaye, and continuous resistance and

  25          focus on details of employment, and also
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   2          just the clear resistance to the

   3          philosophical rational for the

   4          standardization of the clinics.

   5                        I don't think she believed that we

   6          were doing this work for the reasons that we

   7          believed we were, which was to make it

   8          better.      That's why we did it.

   9                 Q      At any point did it come to your

  10          attention that Dr. Ford said that, you know,

  11          you all needed to manage Dr. Kaye out?

  12                             MS. CANFIELD:    Objection to

  13                     form.    You can answer.

  14                 A      It's possible that Dr. Ford said

  15          that.      Again, it would be -- if she said

  16          that, it would be that her assessment that

  17          those elements of resistance to the effort

  18          were making it hard to operate the clinic,

  19          and that long term it might not be viable

  20          because it was such a challenge.

  21                 Q      When someone says "manage out,"

  22          what is your understanding of that?

  23                 A      Well, I mean, that really gets at

  24          what sometimes is our inability or our

  25          ineffectiveness at documenting in formal
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   2          performance evaluations what the problem is,

   3          which, you know, it doesn't always happen

   4          well, and it can be hard to do even when

   5          there are clinic problems.

   6                 Q      Is it fair to also say that

   7          managing out means that you're looking to

   8          terminate this person?

   9                             MS. CANFIELD:    Objection to

  10                     form.    You can answer.

  11                 A      I mean, only, obviously, if the

  12          issues at hand can't be remediated.

  13                 Q      And at any point were there

  14          efforts to quote/unquote remediate the

  15          issues at hand with Dr. Kaye?

  16                 A      I believe Dr. Ford and Dr. Jain

  17          spent a great deal of time on that.

  18                 Q      Did you work with them in

  19          attempting to remediate quote/unquote the

  20          issues with Dr. Kaye?

  21                 A      Only in an advisory position.         So

  22          as their supervisor it was something that we

  23          discussed as a challenge that they were

  24          dealing with, and something that takes up a

  25          significant amount of their supervisory
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   2          time.

   3                 Q      Just to make sure I'm clear, there

   4          was -- you didn't really substantively

   5          participate in drafting the private practice

   6          policy; am I right?

   7                 A      Correct.

   8                 Q      Now, the issues that Dr. Kaye

   9          raised around the private practice policy,

  10          I'm going to ask you whether or not you

  11          agree that the policy had the potential to

  12          actually lead to these things.

  13                        She alleged that there would be

  14          fraud on the court that could possibly come

  15          off as an offshoot of this policy.            Would

  16          you agree or disagree?

  17                             MS. CANFIELD:    Objection to

  18                     form.    You can answer.

  19                 A      I'm sorry.    I didn't hear the

  20          question.

  21                 Q      She alleged that the private

  22          practice policy, as it was written and

  23          implemented, lead to fraud on the court.              Do

  24          you agree or disagree?

  25                             MS. CANFIELD:    Objection to
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   2                     form.     You can answer.

   3                 A      The phrase you said is fraud on

   4          the court?

   5                 Q      Yes.     Are you familiar with that

   6          phrase?

   7                 A      Not really, no.

   8                 Q      I'll leave that one.       Interference

   9          with the administration of justice.

  10                             MS. CANFIELD:    Is that a

  11                     question?

  12                 Q      Do you recall her making or

  13          raising that issue with you, Dr. MacDonald?

  14                 A      I'm sorry, who raising --

  15                 Q      Dr. Kaye.

  16                 A      Dr. Kaye raising with me --

  17                 Q      Well, in the letter that you said

  18          that she had written a litany of complaints,

  19          do you remember that particular aspect of

  20          her complaint?

  21                 A      Not specifically.

  22                 Q      Violation of defendant's due

  23          process rights.

  24                 A      Again, I know that my level of

  25          recollection of the letter was that she had
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   2          a number of concerns about this policy,

   3          which I didn't feel to be borne out based

   4          on, again, the review of Mr. Wangel, who has

   5          a background -- who is a lawyer and has a

   6          background in conflicts of interest.

   7                 Q      So were you tapping into

   8          Mr. Wangel's legal background?           I mean, he

   9          was acting in a legal capacity, as far as

  10          you were concerned?

  11                             MS. CANFIELD:    Objection to

  12                     form.    You can answer.

  13                 A      No.    Just as I was acting as an

  14          administrator, he was acting as an

  15          administrator as well, but just my

  16          assessment that this policy was

  17          appropriately vetted and did not present an

  18          undue risk as far as conflicts of interest

  19          are concerned.

  20                 Q      When you use "appropriately

  21          vetted," who was it vetted to, to your

  22          knowledge?

  23                             MS. CANFIELD:    Objection to

  24                     form.    You can answer.

  25                 A      Again, Mr. Wangel and Dr. Ford,
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   2          who both have quite a bit of expertise in

   3          these areas.

   4                 Q      But you never saw any

   5          correspondence from the conflict of interest

   6          board that approved or disapproved the

   7          policy ultimately; am I right?

   8                             MS. CANFIELD:    Objection to

   9                     form.    You can answer.

  10                 A      Not that I'm aware of, no.

  11                 Q      Now, at the core of this it was

  12          the violation of defendant's due process

  13          rights.      Now, to your understanding, do you

  14          know what the process rights involved would

  15          be?

  16                             MS. CANFIELD:    Objection to

  17                     form.    You can answer if you're

  18                     able.

  19                 A      As a legal term, I would hesitate

  20          to lay those out.

  21                 Q      Well, in your letter, for example,

  22          you kind of talk about the horrible

  23          conditions at Rikers, right?

  24                             MS. CANFIELD:    Objection.     You

  25                     can answer if you're able.
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   2                 Q      In the September 10, 2021 letter

   3          that we went over earlier today, Exhibit 1,

   4          you talked about some of the deplorable

   5          conditions that the inmates had been

   6          experiencing at Rikers; am I right?

   7                 A      At that time, yes.

   8                 Q      And you are aware of the Eighth

   9          Amendment Protection against cruel and

  10          unusual punishment; am I right?

  11                 A      Yes.

  12                 Q      In this instance, with these

  13          deplorable conditions, inhumane conditions

  14          that you described, would that evoke the

  15          Eight Amendment?

  16                             MS. CANFIELD:    Objection to

  17                     form.     You can answer.

  18                 A      I would hesitate to comment on

  19          that as a physician.

  20                 Q      Well, I mean, as a human being,

  21          I'm not asking you as a physician.

  22                 A      As a human being and as a

  23          physician, I object to that.           I did not do

  24          so on Eighth Amendment grounds.

  25                 Q      But to your understanding the
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   2          Eighth Amendment would be invoked; is that

   3          right?

   4                             MS. CANFIELD:    Objection to

   5                     form.     You can answer again.

   6                 A      Again, I would leave that to

   7          somebody with legal expertise.

   8                 Q      Well, would you say that being

   9          housed in a shower where there's PCs and

  10          other -- I don't know what else would be in

  11          a shower, but appeared to be pretty bad,

  12          would you say that that's cruel?

  13                             MS. CANFIELD:    Objection to

  14                     form.     You can answer.

  15                 A      Yes.

  16                 Q      And unusual, right?

  17                 A      Yes.

  18                 Q      And it would be punishment, right?

  19                             MS. CANFIELD:    Objection to

  20                     form.     You can answer.

  21                 A      I mean, it maybe, yeah.        I think

  22          it's -- it's complicated exactly how that

  23          situation comes about, but, yeah.

  24                 Q      And now we're talking about the

  25          due process rights.        Now, according to the
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   1                               R. MACDONALD

   2          CPL730 statute, you know, the inmate in this

   3          instance or the defendant has a right to

   4          have legal counsel, right?

   5                 A      Yes.

   6                 Q      And also to be able to actively

   7          participate in the 730 process; am I right?

   8                 A      Yes.

   9                 Q      And so if the 730 process is

  10          compromised in any way, then their ability

  11          to participate in their defense is

  12          compromised; am I right?

  13                 A      Potentially, yes.

  14                 Q      Right.     At any point did Dr. Kaye

  15          raise concerns how the 730 exams were being

  16          administered at the clinic?

  17                 A      How the exams were being

  18          administered?

  19                 Q      Right.

  20                 A      Could you be more specific.

  21                 Q      Well, I mean, there were issues

  22          with the redacted records.          Do you recall

  23          that?

  24                             MS. CANFIELD:    Objection to

  25                     form.     You can answer.
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    2                A      Yes.    I mean, as I mentioned,

    3          Dr. Kaye had any number of concerns and

    4          complaints about any number of elements of

    5          the process.

    6                Q      What was your position on the use

    7          of redacted records?

    8                A      My position was that we had looked

    9          into it and we were trying to balance the

  10           legal opinions what about we were able to

  11           share with the needs of the evaluators.

  12                        Certainly in the name of

  13           efficiency, I would have preferred no

  14           redaction, and we would pursue that, I

  15           think, if it were legally viable based on

  16           the advice we were getting.

  17                 Q      Let me just make sure I'm clear.

  18           You said you would have preferred that there

  19           would be no redacted medical records; am I

  20           right?

  21                 A      For efficiency sake, yes.         Because

  22           the redaction process takes time.           And it

  23           could have also, though I don't think this

  24           is as significant of a concern, if it's done

  25           appropriately, it also does give less
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    2          information.

    3                Q      Why would CHS at a given time

    4          insisting upon redacted records to begin

    5          with?

    6                            MS. CANFIELD:     Objection to

    7                    form.    You can answer.

    8                A      Based on the opinion of the legal

    9          department that that was a legal

  10           requirement.

  11                 Q      Who's legal department?

  12                 A      I don't know specifically if that

  13           was H&H or the City's law department.            Would

  14           have been one of the two.

  15                 Q      Was H&H approaching the court to

  16           figure out or to, I guess, have these

  17           records redacted versus unredacted?

  18                             MS. CANFIELD:     Objection to

  19                     form.    You can answer.

  20                 A      I don't know the details.         I know

  21           that this question was investigated and that

  22           our preference, for the sake of efficiency,

  23           as I said, would be not to redact.

  24                 Q      Now, on the other hand, Dr. Kaye

  25           was alleging that she could not do exams
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                                                                 Page 102
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    2          with redacted medical records.           Do you

    3          recall that?

    4                 A     Yes.

    5                 Q     And what do you remember?

    6                 A     I remember that in Dr. Ford's

    7          opinion that that was not her understanding

    8          as herself someone familiar with forensic

    9          evaluation.

  10                  Q     Did you agree with Dr. Ford's

  11           position or disagree?

  12                  A     I agreed with Dr. Ford's position,

  13           yes.

  14                  Q     Why?

  15                  A     Because it seemed unreasonable to

  16           me that redaction of those particular

  17           elements would make it impossible to render

  18           an opinion.     And Dr. Ford explained to me

  19           that if there were specific circumstances

  20           where there was reason to believe that those

  21           redactions had impacted the assessment, that

  22           that could be described in the report and

  23           that there would be pathways in specific

  24           cases to remedy that.

  25                  Q     Now, I'm going to ask you just the
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    2          context of your abilities, I guess during

    3          the time when Dr. Kaye was actually

    4          employed.

    5                       Did you have final decision making

    6          authority when it came to staffing decisions

    7          at that time?

    8                            MS. CANFIELD:     Objection to

    9                    form.     You can answer.

  10                 A      Again, it depends on the staffing

  11           decision.

  12                 Q      Well, the center directors, like

  13           Dr. Kaye and her comparators, did you have

  14           final decision making authority in that

  15           context?

  16                             MS. CANFIELD:     Objection to

  17                     form.     You can answer.

  18                 A      No.    I mean, a change in any of

  19           those positions would have to be done

  20           collaboratively with the leadership team

  21           that I laid out before.

  22                 Q      And the leadership team is

  23           Dr. Yang, Ford, yourself, and Wangel, right?

  24                 A      Yes.     And Dr. Yang, Michael in

  25           finance that's needed as well for those
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    2          decisions.

    3                Q      Who was the person in finance?

    4                A      Aaron Anderson.

    5                Q      He's still around?

    6                A      Yes.

    7                Q      Recredentialing, what role did you

    8          play in that?

    9                            MS. CANFIELD:     Objection to

  10                     form.     You can answer.

  11                 A      Recredentialing was -- it's

  12           primarily managed by HR under CHS.            So if

  13           there were specific questions about which

  14           elements of recredentialing packet were

  15           required, they might inquire of me, but

  16           otherwise it was handled by HR and the

  17           leadership of the services.

  18                 Q      When would HR inquire of you about

  19           recredentialing?

  20                 A      If there was a question as to what

  21           was required for the recredentialing packet.

  22                 Q      What exactly?

  23                 A      Questions like which positions

  24           would require certification and CPR, for

  25           example.
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    2                Q      At any point in your career were

    3          you in charge of recredentialing?

    4                A      As I said, in CHS, in general, the

    5          recredentialing happens primarily through HR

    6          with input from the clinical services.

    7                Q      When you were at the Department of

    8          Health, at any point did you play a more, I

    9          guess, involved role in recredentialing?

  10                 A      I would sign off on the individual

  11           packets in that role for physicians in the

  12           medicine service.

  13                 Q      And you did not do that at CHS?

  14                 A      No.

  15                 Q      And I'm saying CHS, I mean I'm

  16           talking about in terms of the time when

  17           Dr. Kaye was involved in the recredentialing

  18           process.     You were not involved in that,

  19           right?

  20                 A      Correct.

  21                 Q      Were you aware of any

  22           quote/unquote special projects involving

  23           recredentialing during your time with

  24           managing Dr. Kaye directly?

  25                 A      No.
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    2                Q      Were you ever aware of Dr. Kaye's

    3          complaints about fishing emails to Teleakie

    4          Parker?

    5                A      I'm sorry.     Say that again.

    6                Q      Did it ever come to your attention

    7          that Dr. Kaye had concerns about fishing

    8          emails when she was being asked to

    9          recredential?

  10                 A      No.    I don't think I learned of

  11           that.

  12                 Q      Did you attend a meeting at the

  13           Bronx court clinic on January 29, 2018?

  14                 A      Possibly.

  15                 Q      Do you recall going to the Bronx

  16           court clinic to kind of introduce yourself

  17           of sorts?

  18                 A      Yes.

  19                 Q      What do you remember from that?

  20                 A      Not a great deal.       It was quite

  21           some time ago.       I think we were at that time

  22           going with Dr. Ford, Dr. Yang and maybe

  23           representatives from the hospital systems,

  24           to discuss the project and to meet some of

  25           the staff from the clinics.
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    2                Q      I'm going to show you what's going

    3          to be marked as Plaintiff's Exhibit 3.

    4                             (Whereupon, 01/11/18 Email was

    5                             marked as Plaintiff's Exhibit 3

    6                             for identification as of this

    7                             date.)

    8                          MS. CANFIELD:       This is also in

    9                    the packet?

  10                           MS. HAGAN:      Today.

  11                 Q      I'm going to give you an

  12           opportunity -- the portion that's redacted,

  13           it's actually an email to me.          So it would

  14           be attorney-client privilege.          I guess I

  15           could have written that.

  16                           MS. HAGAN:      Is this Bate

  17                     Stamped?

  18                           MS. CANFIELD:       Yes.     It is.

  19                 Q      For purposes of the record,

  20           Exhibit 3 bears the Bate Stamp series --

  21           maybe it's not.       I thought it was.        I'm

  22           sorry.     It's not Bate Stamped.          Sorry.

  23                        It's an email from Dr. Kaye dated

  24           January 11, 2018.

  25                           MS. CANFIELD:       And you said
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    2                    this was produced today to me?

    3                           MS. HAGAN:     Yes.

    4                           MS. CANFIELD:      Do you know

    5                    what the document is called?

    6                           MS. HAGAN:     The subject has

    7                    confirmed CHS site visit Bronx

    8                    forensic psychiatry court clinic.

    9                           MS. CANFIELD:      It doesn't seem

  10                     to be in one today.

  11                            MS. HAGAN:     It should be in

  12                     the email, but I will followup with

  13                     you.

  14                            MS. CANFIELD:      Thank you.

  15                 Q      Now, does seeing this email

  16           refresh your recollection about attending a

  17           meeting at the Bronx court clinic on

  18           January 29 at that time?

  19                 A      Yes.    That's the meeting that I

  20           was thinking it was.

  21                 Q      Now, do you remember meeting

  22           Dr. Kaye at that time?

  23                 A      Yes.

  24                 Q      What do you remember about the

  25           meeting?
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    2                A      I don't remember many of the

    3          details of the meeting.         I think we might

    4          have been in her office with Bill Hicks from

    5          Bellevue was there, I remember Dr. Yang,

    6          Dr. Ford.

    7                Q      What did you talk about during the

    8          time you were in Dr. Kaye's office?

    9                A      I don't remember -- you know, I

  10           remember, as I said, the overall goal of the

  11           meeting was to introduce ourselves to

  12           discuss the big picture reasons for the

  13           change, but I don't remember specifics

  14           beyond that.

  15                 Q      Now, at any point did you tell

  16           Dr. Kaye that CHS is taking over the court

  17           clinics so that they could use CPL to get

  18           the inmates off of Rikers?

  19                 A      I don't think so.       I mean, I think

  20           that the efficiency of the court clinics

  21           absolutely impacts people who are

  22           incarcerated.      And that that was part of the

  23           organizational role.

  24                        Specifically, what I mean by that

  25           is, many people are held in pretrial
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    2          detention awaiting a 730.         And a 730

    3          evaluation, if it's done efficiently, can

    4          reduce the amount of time that somebody goes

    5          through that portion of the legal

    6          proceeding.

    7                       So part of the reason that the

    8          work is very important, of course the

    9          evaluations are important, but for that to

  10           be done efficiently, impacts whether people

  11           will be held in pretrial detention longer

  12           than they need to be.

  13                        So I certainly may have mentioned

  14           that as an important truth about the clinics

  15           and the operation of the clinics.

  16                 Q      But you didn't say that CHS was

  17           planning to take over the clinics so that

  18           they could use CPL to get the inmates off of

  19           Rikers?

  20                             MS. CANFIELD:     Objection to

  21                     form.    You can answer again.

  22                 A      Absolutely not.

  23                 Q      You are aware of Dr. Kaye's

  24           allegations that the 730 examinations were

  25           being generated, right?
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    2                             MS. CANFIELD:    Objection to

    3                     form.     You can answer.

    4                 A      I recall that that was one of the

    5          many things that appeared in the letter,

    6          yes.

    7                 Q      And you dispute that, right?

    8                 A      One hundred percent, absolutely I

    9          dispute that.        We have never had any

  10           influence over the content of any

  11           evaluation.

  12                  Q      So you did not have any influence

  13           on the Jose Gonzalez evaluation; am I right?

  14                  A      Yes.

  15                              MS. CANFIELD:    Objection to

  16                      form.

  17                  Q      You said yes, right?

  18                  A      Yes.

  19                  Q      And you would deny having any

  20           influence over the Miguel Figueroa

  21           evaluation?

  22                  A      Yes.

  23                  Q      And you would deny having any

  24           influence over the James Dolo evaluation?

  25                  A      Yes.
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    2                Q      And so I'm going to ask you, at

    3          any point in your career did you write an

    4          article on dual loyalty?

    5                A      Yes.

    6                Q      What is that?

    7                A      Dual loyalty refers to a pull

    8          between competing interest that in the

    9          context that I was writing it about was the

  10           competing interest of a physician treating a

  11           patient and competing factors.

  12                        In jail, the interests of the

  13           security authority are a primary competing

  14           factor.     But really, anywhere in which

  15           there's a doctor/patient relationship there

  16           are competing interests at play.           And we've

  17           done some work to make sure that our staff

  18           understand those competing interests, and

  19           that they are attentive to them as they go

  20           about their work.

  21                 Q      Now, is it to say the dual agency

  22           issues that Dr. Kaye raised?

  23                             MS. CANFIELD:     Objection to

  24                     form.     You can answer.

  25                 A      I think my personal reading is
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    2          that that's a misapplication of the concept.

    3          But I think it could be seen as an analogy,

    4          yes.

    5                 Q     How do you say it's a

    6          misapplication of the concept, explain.

    7                 A     Well, in this case it's a

    8          misapplication because we are a group of

    9          people who are explicitly sensitive to the

  10           potential for dual agency, and we worked

  11           very hard to make sure that there's a

  12           firewall.

  13                        And there has not been any, in my

  14           experience, any break down of that firewall.

  15           We've maintained that, and we are people who

  16           are particularly attentive to that work.

  17           Hence, my writing in that area.

  18                  Q     So you're particularly attentive

  19           to that work.      You said "we," who's the we?

  20                  A     I mean, everyone at CHS, the

  21           leadership team that I talked about.            Dr.

  22           Ford, Dr. Yang.       There was never any

  23           intention among any of us to influence the

  24           content of the evaluations.

  25                  Q     Who spearheaded the dual agency
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    2          policy that was ultimately issued by CHS?

    3                A      Which policy are you referring to

    4          specifically?

    5                Q      Well, specifically there was a

    6          dual agency policy, right?          Who was

    7          responsible for that?

    8                            MS. CANFIELD:     Objection to

    9                    form.    You can answer.

  10                             Do you have a policy you can

  11                     show him?

  12                 Q      I didn't even ask that.        But I'm

  13           asking him because he wrote an article on

  14           dual loyalty, right, and he can see that

  15           there was a dual agency policy.

  16                        Do you recall that?

  17                 A      I would like to see the policy

  18           you're referring to, if that's possible.

  19                 Q      But you do recall ever having a

  20           discussion about that?        That's the first

  21           question.

  22                             MS. CANFIELD:     Objection to

  23                     form.    That's a fact.

  24                 A      Yes, yes.     Absolutely.     So, again,

  25           the relationship of the forensic evaluations
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    2          to the broader clinical service is a very

    3          important issue that we've been attentive to

    4          from the beginning.        So, yes, we've

    5          discussed it.

    6                Q      So I'm going to share with you the

    7          dual agency policy right now.

    8                       Now, for purposes of the record,

    9          Exhibit 4 bears the Bate Stamp series

  10           NYC1188, 1189 and 1190.

  11                               (Whereupon, Email

  12                               (NYC_1188-1190) was marked as

  13                               Plaintiff's Exhibit 4 for

  14                               identification as of this date.)

  15                 Q      I'll scroll back up so that you

  16           can see, I guess the origin of the email.

  17           It's actually the email.         It says, "Just

  18           passing along this recently approved policy

  19           managing dual roles for forensic psychiatric

  20           examination."

  21                        You see that, right?

  22                 A      Yes.

  23                 Q      And this is January 22, 2019.          You

  24           see that as well, right?

  25                 A      Yes.
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    2                Q      Now, I'm going to scroll down.

    3          Did you play any part in drafting this

    4          policy, Dr. MacDonald?

    5                A      I don't think I drafted this

    6          policy, no.

    7                Q      You played no part in it?

    8                A      I think I probably reviewed it

    9          before it was issued.

  10                 Q      When you say "reviewed," what does

  11           that mean?

  12                 A      It means Dr. Ford would have

  13           shared it with me for any feedback.

  14                 Q      Did you provide her with any

  15           feedback on this particular policy?

  16                 A      I don't believe so, no.

  17                 Q      So Dr. Ford presented this to you

  18           and basically, did you tell her she can sign

  19           off on it?

  20                 A      I mean, I don't remember

  21           specifically telling her that, but in

  22           general I would have been aware of the

  23           policies that she was signing for the

  24           clinic, yes.

  25                 Q      Do you recall Dr. Kaye raising
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                                                                 Page 117
    1                             R. MACDONALD

    2          issues with you about this particular

    3          policy, or with management about this

    4          particular policy?

    5                A      I don't remember her raising

    6          issues with me specifically about it.

    7                Q      Now, there seems to be somewhat of

    8          a discrepancy between the date it was

    9          actually issued and the date that Dr. Jain

  10           shared it with staff.

  11                        You see here the original issue

  12           date is December 21, 2018; you see that,

  13           right?

  14                 A      Um-hmm.

  15                 Q      Then there is the date on top of

  16           January 22, 2019.       You do see this, too,

  17           right?

  18                 A      Um-hmm.

  19                 Q      Do you recall what may have lead

  20           to this policy being drafted in the first

  21           place?

  22                 A      No.

  23                 Q      Was there any issue with Legal Aid

  24           Society and, I guess, management, CHS

  25           management?
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    2                A      I'm not recalling a specific

    3          issue.

    4                Q      At any point did it come to your

    5          attention that Legal Aid was objecting to

    6          the presence of Dr. Jain in the evaluation

    7          setting?

    8                A      It sounds vaguely familiar, but

    9          I'm not remembering specifically.

  10                 Q      Did it ever come to your attention

  11           that they were objecting to the presence of

  12           Dr. Barbara Rioja (phonetic)?

  13                 A      Again, I don't remember.

  14                 Q      What's your understanding of

  15           Dr. Barbara Rioja's background?

  16                             MS. CANFIELD:     Objection to

  17                     form.    You can answer.

  18                 A      Dr. Barbara Rioja is a

  19           psychologist by training, who has a

  20           background in forensic psychology.

  21                 Q      Isn't she involved in providing

  22           treatment to inmates?

  23                 A      She oversees the clinical care as

  24           the co-chief of mental health, just as

  25           Dr. Ford was the chief of psychiatry.
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    2                Q      Was there a time when Dr. Rioja

    3          was wanting to sit in on the examination and

    4          Legal Aid objected to her presence there?

    5                            MS. CANFIELD:     Objection to

    6                    form.     You can answer.

    7                A      It's possible.

    8                Q      What was your position when that

    9          the took place; do you recall?

  10                             MS. CANFIELD:     Object to the

  11                     form.     You can answer.

  12                 A      No.    I don't.

  13                 Q      Let me correct myself.        I was

  14           Dr. Alex Garcia Mensia.

  15                        Do you recall?

  16                 A      Yes.     I think I do, yes.

  17                 Q      So what do you remember of that

  18           incident that involved Dr. Alex Garcia

  19           Mensia?

  20                 A      Not much just beyond what you've

  21           mentioned.

  22                 Q      At any point was there

  23           objections -- did you have issues with how

  24           Legal Aid Society was engaging staff

  25           management at the Bronx court clinic?
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    2                            MS. CANFIELD:     Objection to

    3                    form.    You can answer.

    4                A      Can you repeat the question.

    5                Q      At any point did you begin to have

    6          any concerns with how Legal Aid Society was

    7          engaging management and/or staff at the

    8          Bronx court clinic?

    9                A      There was a particular attorney

  10           from the Legal Aid Society in the Bronx

  11           clinic who had a lot of complaints about

  12           CHS, many of which mirrored the complaints

  13           that Dr. Kaye was raising at the time.             I

  14           can't remember his name at the moment.

  15                 Q      Now, did MOCJ and Wangel get

  16           involved in the Alex Garcia Mensia

  17           situation?

  18                             MS. CANFIELD:     Objection to

  19                     form.    You can answer.

  20                 A      I don't recall.

  21                 Q      Did you get involved with that?

  22                 A      No.

  23                 Q      You didn't advice anybody or

  24           review the emails at any point?

  25                 A      No.    Not that I'm aware of.
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    2                Q      Now, I'm going to ask you some

    3          questions specific to Dr. Kaye's pay parity

    4          complaint.

    5                       Do you recall the issues

    6          surrounding her complaint regarding pay

    7          parity?

    8                A      I really didn't have much

    9          involvement with this element.           It was

  10           handled through HR and primarily by Dr. Ford

  11           and Dr. Yang.

  12                 Q      But you were CC'd on these emails;

  13           am I right?

  14                 A      I would imagine that I was

  15           probably CC'd on some of the emails, yes.

  16                 Q      Why didn't you feel the need to do

  17           any more than, I guess, kind of allow these

  18           other actors to I guess take lead on this

  19           particular issue?

  20                             MS. CANFIELD:     Objection to

  21                     form.    You can answer.

  22                 A      So Dr. Yang was pretty proactively

  23           involved and she oversees finance and HR,

  24           which are not under my purview.           So when she

  25           takes direct involvement in an issue that is
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    2          also more so in her area of expertise than

    3          it is in mine, I would often take that

    4          opportunity to attend to other matters.

    5                Q      How often did Dr. Yang get

    6          involved directly in these types of issues?

    7                            MS. CANFIELD:     Objection to

    8                    form. You can answer.

    9                A      It was not unusual.       Dr. Yang's a

  10           very hands-on leader.

  11                 Q      Now, what is Dr. Yang's area of

  12           expertise, just so the record is clear?

  13                 A      Her training is in public health,

  14           but she spent many years in leadership

  15           positions of various City agencies,

  16           including the Public Hospital System and the

  17           Department of Health, where she previously

  18           served as the Chief Operating Officer.

  19                 Q      Were you aware that Dr. Kaye was

  20           complaining that she was being paid less

  21           than the male center directors during the

  22           time that she was there?

  23                             MS. CANFIELD:     Objection to

  24                     form.    You can answer.

  25                 A      I did become aware of that
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    2          complaint at some point, yes.

    3                Q      Did you ask what steps could be

    4          taken to address the issues?

    5                A      By the time I became aware of

    6          that, I was certain that Dr. Ford and

    7          Dr. Yang were working on that issue, along

    8          with HR.

    9                Q      I'm going to show you what's going

  10           to be marked as Plaintiff's Exhibit 5.

  11                        And for purposes of the record,

  12           Plaintiff's Exhibit 5 bears the Bate Stamp

  13           series NYC196 through 198.

  14                               (Whereupon, Email (NYC_196-198)

  15                               was marked as Plaintiff's

  16                               Exhibit 5 for identification as

  17                               of this date.)

  18                 Q      Now, you see this email is from

  19           Dr. Yang to Sarah Gillen (phonetic),

  20           yourself, Dr. Ford, Jessica Laboy and Mr.

  21           Wangel; is that right?

  22                 A      Yes.

  23                 Q      I'm going to ask you who these

  24           people are.     Who is Sarah Gillen?

  25                 A      Sarah Gillen was the Chief
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    2          Operating Officer at the time.

    3                 Q     Is she still there?

    4                 A     No.

    5                 Q     What happened to her?

    6                 A     She left for different employment.

    7                 Q     Did she get fired?

    8                 A     Not that I'm aware of.

    9                 Q     Was she asked to resign?

  10                  A     I don't know.

  11                  Q     Who was Ms. Gillen's supervisor?

  12                  A     Dr. Yang.

  13                  Q     So she reported directly to

  14           Dr. Yang?

  15                  A     Yes.

  16                  Q     She was the Chief Operating

  17           Officer; is that right?

  18                  A     Yes.

  19                  Q     Who is the Chief Operating Officer

  20           now?

  21                  A     The roles changed a bit, but

  22           Carlos Castillanos.

  23                  Q     Was he the Chief Operating Officer

  24           directly after Ms. Gillen left?

  25                  A     I don't think so.       I think, as I
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    2          said, the role has changed and there's now a

    3          chief administrative officer as well.

    4                Q      Who is that?

    5                A      That is now Jessica Laboy.

    6                Q      So Ms. Laboy is the chief

    7          administrative officer.         What was her

    8          position when Ms. Gillen was there?

    9                A      I don't know exactly what the

  10           division of labor between her and Jonathan

  11           Wangel was at that time.

  12                 Q      So she had no part in Ms. Gillen's

  13           job, it was between she and Jonathan Wangel,

  14           right?

  15                 A      Well, I'm not sure.       Jessica Laboy

  16           would have also reported to Ms. Gillen, I

  17           believe.

  18                 Q      So, then, this email is dated

  19           May 3, 2018, right?

  20                 A      Yeah.

  21                 Q      And Dr. Yang says, "FYI, I deleted

  22           this sentence in response to her about

  23           promises come July.        Bill aware."

  24                        Did you understand what Dr. Yang

  25           was referencing when she wrote this email?
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    2                A      I don't remember and I don't

    3          understand it now.

    4                Q      When did the Bronx court clinic

    5          come on board?

    6                A      I don't remember the exact date.

    7                Q      Would it be fair to say July 2018?

    8                A      That sounds right, yeah.

    9                Q      Would it be fair to say that the

  10           Bronx court clinic was the last of the

  11           clinics to be absorbed by CHS?

  12                             MS. CANFIELD:     Objection to

  13                     form.    You can answer.

  14                 A      I don't remember that detail.

  15                 Q      Did it ever come to your attention

  16           that Dr. Yang wanted Dr. Kaye to work

  17           elsewhere rather than CHS?

  18                             MS. CANFIELD:     Objection.     You

  19                     can answer.

  20                 A      I don't know if I would frame it

  21           that way.     I think that there was a question

  22           of whether -- you know, because of several

  23           concerns that she raised about the

  24           transition about whether there would be a

  25           position that would be mutually beneficial
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    2          for her to stay with Bellevue.

    3                 Q       Were there efforts made to ensure

    4          that Dr. Kaye could stay with Bellevue?

    5                 A       I believe it was explored.       I

    6          don't know what the outcome of that was.

    7                 Q       So you don't know what the outcome

    8          was.       Did anyone ever tell you that no one

    9          wanted to work with Dr. Kaye?

  10                  A       Say that again.

  11                  Q       Did anyone ever tell you that no

  12           one wanted to work with Dr. Kaye?

  13                  A       I did have a general sense that

  14           Dr. Kaye had a reputation for being

  15           difficult to work with.         I don't know if it

  16           would be worded in exactly that way.

  17                  Q       When did you learn that Dr. Kaye

  18           allegedly had a reputation for being

  19           difficult to work with?

  20                  A       I'm not sure where I heard that

  21           from.      I think I heard it many times over

  22           the course of the years.

  23                  Q       Do you remember anyone telling you

  24           that specifically?

  25                  A       Well, I remember it was perceived
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    2          by her supervisors to be part of the

    3          retention difficulties in the Bronx.

    4                Q      So you're talk about Dr. Jain and

    5          Dr. Ford?

    6                A      Yes.

    7                Q      When did Dr. Ford tell you that

    8          Dr. Kaye was difficult to work with?

    9                A      I don't remember specific

  10           conversation to that affect.

  11                 Q      When did Dr. Jain tell you that

  12           Dr. Ford was difficult to work with?

  13                 A      Again, I don't remember specific

  14           conversations to that effect.

  15                 Q      How was she difficult to work

  16           with, do you remember?

  17                             MS. CANFIELD:     Objection to

  18                     form.     You can answer.

  19                 A      Again, I'm just indicating that

  20           this was a perception that I have heard from

  21           many people about her reputation.

  22                 Q      But you're only --

  23                 A      I can't speak to what it was based

  24           on.

  25                 Q      You're only naming two people.
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    2          You say many.      I want to hear the other

    3          people.     Who are these other many -- two

    4          people versus many, who are they?

    5                A      This was a general sense from her

    6          time at Bellevue as well.

    7                Q      Well, who are the people at

    8          Bellevue that had issues with her, that

    9          found her to be difficult?

  10                 A      I don't know.      Again, it's just

  11           reputational, so I don't know who the

  12           specific people are.

  13                 Q      But you're saying you heard from

  14           many people.      But right now you've only

  15           given me two names.        Are there any other

  16           names that come to mind?

  17                 A      So I should be more specific.

  18           I've heard from those people who know many

  19           more people at Bellevue and that many people

  20           have said that over the years.           That she had

  21           a reputation of being difficult to work

  22           with.     And over the years, my experience

  23           with her supervisors was that they found her

  24           to be very difficult to work with.

  25                 Q      Who are the people who knew the
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    2          folks at Bellevue who found Dr. Kaye

    3          difficult to work with?

    4                A      I'm sorry.     Say that again.

    5                Q      You said that there were people

    6          who knew that Dr. Kaye was difficult to work

    7          with at Bellevue.       Who was this person or

    8          people that knew that she was difficult to

    9          work with?

  10                 A      I don't know.      It's just a general

  11           sense that the department, probably people

  12           in the department.        I'm not sure

  13           specifically.       And, again, I don't know the

  14           staff who left the Bronx clinic.

  15                        It's hard to establish for sure

  16           that somebody left because of the work

  17           environment or of a specific coworker.             I'm

  18           just telling you that there was a general

  19           sense, that I became aware of early on, that

  20           she had a reputation for that.

  21                        Now, my own personal approach

  22           would always be to engage with someone

  23           independently and not take that as truth.

  24                 Q      You do that?

  25                 A      Yes.
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    2                Q      Okay.    When did you engage

    3          Dr. Kaye independently?

    4                A      Well, I didn't specifically engage

    5          her independently because I wasn't her

    6          supervisor.     But I certainly remained open

    7          to working with her.        As did my direct

    8          reports who were her direct supervisors.

    9                Q      Did you ever speak to Dr. Kaye

  10           directly?

  11                 A      I had very little interaction with

  12           Dr. Kaye directly.

  13                 Q      When you had the very little

  14           interaction with Dr. Kaye, do you remember

  15           the context?

  16                 A      I don't remember a specific

  17           conversation.

  18                 Q      I'm going to go into the pay

  19           parity email.       You did receive this on

  20           May 3rd; you see that, right?

  21                 A      Yes.

  22                 Q      So Dr. Yang responds to Dr. Kaye,

  23           "Thank you for bringing your concerns to my

  24           attention.     As you know, the decision was

  25           made to postpone bringing the Bronx court
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    2          clinic into the CHS until July 1, 2018.

    3          Specifically so that you will be an employee

    4          of Bellevue through June 30th, and therefore

    5          eligible to receive the retention bonus."

    6          Right?     You see that, right?

    7                A      Yes.

    8                Q      "As such, I will convoy these

    9          serious concerns and your request to the

  10           attention of Mr. William Hicks, CEO of

  11           Bellevue."        Right?

  12                 A      Um-hmm.

  13                 Q      So first and foremost, you weren't

  14           quite sure exactly when the Bronx court

  15           clinic was actually brought into CHS.

  16           Earlier I asked you was July 2018, you

  17           weren't sure.       Now it's here.     Would you

  18           agree that that's when it happened?

  19                 A      Yes.

  20                 Q      Okay.     And then, do you recall

  21           anything that happened involving Dr. Kaye's

  22           retention bonus?

  23                             MS. CANFIELD:     Objection to

  24                     form.     You can answer.

  25                 A      I don't recall the specifics.          I
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    2          recall that it was raised as an issue about

    3          whether the retention bonus would be paid

    4          out, given the fact that it's in a

    5          transition.

    6                Q      At any point did Dr. Kaye question

    7          or, I guess, dispute the amount that she was

    8          paid for her retention bonus?

    9                A      I don't recall that the amount was

  10           an issue.

  11                 Q      So you don't recall that Dr. Kaye

  12           had issues that she wasn't paid the full

  13           20,000 that she was entitled to?

  14                 A      No.

  15                 Q      At any point -- I'm going to keep

  16           going along with this.

  17                        Now, Dr. Kaye then goes into prior

  18           to Dr. Yang's response.         I want to bring

  19           your attention to the second paragraph.

  20                        She says, "I learned from my union

  21           that H&H is known -- is a known pay

  22           disparity between male and female physicians

  23           who are doing the exact same work.            This has

  24           been my situation.       Dr. Stephen Circic,

  25           medical director of the Manhattan court
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    2          clinic was a physician specialist line.             He

    3          worked 80 percent of the full-time line and

    4          his extrapolated full-time salary was

    5          approximately 30 percent higher than mine."

    6                       You see that, right?

    7                A      I see that, yes.

    8                Q      Are you familiar with Steve

    9          Circic?

  10                 A      No.

  11                 Q      Did you ever meet Steve Circic?

  12                 A      Not that I'm aware of.

  13                 Q      Do you recall who is responsible

  14           for determining Dr. Circic's title?

  15                 A      No.

  16                 Q      Or salary?

  17                 A      No.

  18                 Q      Now, prior to this email on May 3

  19           of 2018, had you heard any complaints from

  20           Dr. Kaye, directly or indirectly, about pay

  21           disparities?

  22                 A      Not that I'm aware of.

  23                 Q      Now, when this email was brought

  24           to your attention, were any efforts made to

  25           address this through your office?
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    2                A      So I can certainly confirm that

    3          Dr. Yang was working on that, since it was

    4          addressed to her, and she was my supervisor,

    5          and she oversaw finance, HR, and managed the

    6          relationship with Bellevue.          Which seems to

    7          be where the allegation is coming from her

    8          time at Bellevue, as far as I can tell from

    9          reading this email.

  10                 Q      Now, Dr. Kaye actually asked if

  11           she can be placed in the physician's

  12           specialist line.       Was there anything that

  13           stopped you or anyone else from allowing her

  14           to transition to that line rather than the

  15           attending physician position that she had?

  16                             MS. CANFIELD:     Objection to

  17                     form.

  18                 A      I don't recall.

  19                 Q      Now, what's your understanding,

  20           what would be the qualifications for

  21           physician specialist?

  22                 A      I don't know.

  23                 Q      What is your understanding of

  24           physician specialist?

  25                             MS. CANFIELD:     Objection to
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    2                    form.    You can answer.

    3                A      It's a title within probably

    4          governed by collective bargaining agreements

    5          that probably has a specific pay rate

    6          associated with it.

    7                Q      Why was Steve Circic a physician

    8          specialist and not Dr. Kaye?

    9                A      I don't know.

  10                             MS. CANFIELD:     Objection.

  11                 Q      Now, Dr. Kaye was at attending

  12           physician level three.        Do you recall that?

  13                 A      No.    I wasn't aware of that level

  14           of specificity.

  15                 Q      Do you know the difference between

  16           attending physician versus a physician

  17           specialist?

  18                 A      Not the details of the

  19           distinction.

  20                 Q      But both covered by the collective

  21           bargaining agreement; am I right?

  22                 A      I believe so, yes.

  23                 Q      So why is it that Dr. Kaye was not

  24           able to transition the physician specialist

  25           line once CHS absorbed the Bronx court
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    2          clinic?

    3                A      I don't know.

    4                Q      Who would have made that

    5          determination?

    6                A      It would have been Dr. Yang in

    7          consultation with the HR leadership,

    8          Mr. Wangel, Ms. Laboy.

    9                Q      And you're in that leadership, I

  10           mean, right?        You report to Dr. Yang; am I

  11           right?

  12                             MS. CANFIELD:     Objection to

  13                     form.

  14                 A      I do.

  15                 Q      Would Mr. Wangel and Ms. Laboy be

  16           your, I guess, peer as far as level of

  17           seniority in the organization?

  18                 A      At that time Ms. Gillen was

  19           probably my peer.

  20                 Q      So she was more senior to these

  21           other actors who were making these

  22           determinations; am I right?

  23                             MS. CANFIELD:     Objection to

  24                     form.     You can answer.

  25                 A      Yes.
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    2                Q      And so you are aware that Dr. Kaye

    3          is a triple board certified physician,

    4          right?

    5                            MS. CANFIELD:     Objection to

    6                    form.    You can answer.

    7                A      I believe that I've heard that

    8          before, yes.

    9                Q      And if that indeed is the case,

  10           then why wouldn't she be a physician

  11           specialist versus an attending level three?

  12                 A      I don't know the details of those

  13           lines, nor the history of her career

  14           trajectory compared to this other person.

  15                 Q      Did you look into this once you

  16           saw this email?       I mean, this email has

  17           fairly serious implications, would you

  18           agree?

  19                             MS. CANFIELD:     Objection to

  20                     form.    You can answer.

  21                 A      Again, this email was directed to

  22           my supervisor and I confirmed that it was

  23           received and that she was working on it.

  24                 Q      What did Dr. Yang tell you about

  25           her position regarding Dr. Kaye's complaint?
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    2                A      I don't think we discussed it

    3          really.

    4                Q      So you never discussed Dr. Kaye's

    5          complaint with Dr. Yang?

    6                A      Not that I recall, no.

    7                Q      Do you recall Dr. Weiss?

    8                A      Yes.

    9                Q      And what do you remember about

  10           Dr. Weiss?

  11                 A      Dr. Weiss is a doctor in the --

  12           who was initially in the Manhattan court

  13           clinic.

  14                 Q      Where is he now?

  15                 A      He's now a director of the Bronx

  16           court clinic.

  17                 Q      And Dr. Weiss is in the physician

  18           specialist line; are you aware of that?

  19                             MS. CANFIELD:     Objection to

  20                     form.

  21                 A      I was not aware of that.

  22                 Q      So why would Dr. Weiss be in the

  23           physician specialist line and not Dr. Kaye?

  24                             MS. CANFIELD:     Objection to

  25                     form.     Lacks foundation.
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    2                A      I don't know.

    3                Q      So I'm going to direct your

    4          attention to another exhibit, and this would

    5          be Plaintiff's Exhibit 6.

    6                             (Whereupon, Email (NYC_204-207)

    7                             was marked as Plaintiff's

    8                             Exhibit 6 for identification as

    9                             of this date.)

  10                 Q      And Plaintiff's Exhibit 6 bears

  11           the Bate Stamp series NYC204 through 207.

  12           And I'm going to share the screen now.

  13                           MS. CANFIELD:       Do you know

  14                     when that was provided?

  15                           MS. HAGAN:      That was

  16                     previously produced?       Not today.

  17                           MS. CANFIELD:       Thank you.

  18                           That's 204 to 207?

  19                           MS. HAGAN:      Yes, 207.

  20                 Q      I'm going to start at the bottom

  21           of the email.      The bottom of the email deals

  22           with Dr. Kaye's complaint of the pay parity.

  23           You see that, right?

  24                 A      Um-hmm.

  25                 Q      And then the subsequent email is
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    2          from Dr. Yang to Ms. Gillen, Jessica Laboy,

    3          yourself, Dr. Ford, Aaron Anderson that you

    4          referenced earlier, I guess, this guy from

    5          finance, right?

    6                A      Yes.

    7                Q      And Mr. Wangel; am I right?

    8                A      Yes.

    9                Q      And at this point, Dr. Yang is

  10           asking for collective input, right,

  11           regarding her complaint?          You see this,

  12           right, Dr. Kaye's complaint?

  13                 A      Yeah.    I mean, the email is

  14           directed to Sarah Gillen and Jessica Laboy.

  15           The others are CC'd.

  16                 Q      Right.     But you all have, I guess

  17           the CC'd individuals with the exception of

  18           Mr. Wangel and Mr. Anderson, you and

  19           Dr. Ford are probably closer to Dr. Kaye

  20           than the other individuals on this email; am

  21           I right?

  22                             MS. CANFIELD:     Objection to

  23                     form.     You can answer.

  24                 A      In the organizational chart, but I

  25           interpret the to line to mean that those are
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    2          the people who are primarily responsible for

    3          the next steps and the others are CC'd for

    4          awareness.

    5                Q      I'm going to scroll up some.

    6                       Dr. Yang again emails now you and

    7          Ms. Gillen and then Dr. Ford.          It's to

    8          everyone at this point.         I don't know if

    9          that's any delineation in your mind at this

  10           point, but here you have on May 3rd at 3:36.

  11                        She says, "In the meantime, we

  12           should brainstorm for July, but not the

  13           entire FPECC crew.       I propose to send her

  14           this reply below and separately sanitize her

  15           email and send it to Bill and copy her,

  16           removing editorials and elephantine quotes."

  17                        Do you recall what she was

  18           referencing when she said elephantine?

  19                 A      I don't know what she meant by

  20           that.

  21                 Q      At some point Dr. Kaye alleged

  22           that Dr. Ford said to her that, when she

  23           brought up the pay parity issue in the past,

  24           that getting things done like around here is

  25           like herding elephants.
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    2                       Do you recall anything like that

    3          being said or relayed to you?

    4                A      No.

    5                Q      At any point did Dr. Ford talk to

    6          you about Dr. Kaye's complaints about pay

    7          parity?

    8                A      No.

    9                Q      She never discussed that she tried

  10           to address the issue with Dr. Kaye?

  11                 A      Not that I'm -- I don't recall the

  12           outcome of the discussion that was set off

  13           by this email.

  14                 Q      Did Dr. Ford ever have any

  15           influence on how much each director got paid

  16           at their respective clinics?

  17                 A      She wouldn't be the final decision

  18           maker, she'd propose salary increases for

  19           specific reasons.       And those would go to HR,

  20           and that would have to be sorted out with HR

  21           and finance, and also understanding the

  22           collective bargaining agreement and how

  23           those impact people's compensation.

  24                 Q      But to be clear, the final

  25           decision maker in terms of salary and the
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    2          actual, I guess corporate title would have

    3          been Dr. Yang; am I right?

    4                            MS. CANFIELD:     Object to the

    5                    form.     You can answer.

    6                A      Yeah.    When Dr. Yang is involved

    7          in a discussion at this level, she would be

    8          the ultimate decision maker, yes.

    9                Q      So Dr. Yang proposed the following

  10           language: "Dr. Kaye, thank you for bringing

  11           your concerns to my attention.           As you know,

  12           the decision was made to postpone -- and

  13           this is what we talked about earlier, right?

  14                 A      Yes.

  15                 Q      So now I'm going to scroll up

  16           more, right.

  17                 A      Yeah.

  18                 Q      Then Jonathan Wangel says, "This

  19           is a EEO.     Strongly suggest Blanch should be

  20           moved in."

  21                        Now, why Blanch Greenfield being

  22           moved into this?

  23                             MS. CANFIELD:     Objection to

  24                     form.     You can answer if you're

  25                     able.
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    2                A      I don't know.

    3                Q      Who is Blanch Greenfield?

    4                A      Blanch Greenfield is a I believe

    5          labor attorney.       I don't know her exact

    6          title.

    7                Q      Was she ever the agency EEO

    8          officer?

    9                A      I don't know.

  10                 Q      But she's an attorney; you would

  11           agree to that, right?

  12                 A      I believe so, yes.

  13                 Q      Did you ever confer with

  14           Ms. Greenfield about Dr. Kaye?

  15                 A      No.

  16                 Q      Did you ever confer with

  17           Ms. Greenfield about any EEO matters?

  18                 A      No, not exactly.       I think I may

  19           have conferred with Ms. Greenfield about

  20           that matter that I mentioned to you

  21           regarding Nicole Adams-Flores, who was an

  22           employee of the Department of Correction.

  23                 Q      When you reference

  24           Ms. Adams-Flores, what do you recall about

  25           that?
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    1                               R. MACDONALD

    2                 A      About that matter or?

    3                 Q      Yes.     About Ms. Flores' complaint

    4          in terms of -- let's start with, what was

    5          your position in relation to Dr. Adams

    6          Flores?

    7                             MS. CANFIELD:     Objection to

    8                     form.     You can answer.

    9                 A      So I was just performing the

  10           duties that we discussed here, along the

  11           time course that we did.           So chief of

  12           medicine and then chief medical officer.

  13                  Q      Did Dr. Adams-Flores report to

  14           you?

  15                  A      No.

  16                  Q      How did you interact with her,

  17           then?

  18                  A      Well, she was not even part of

  19           Health and Hospitals or CHS.           She was -- had

  20           a position within the Department of

  21           Correction, which involves some interface

  22           with health services.        So we would interact

  23           in that capacity.

  24                  Q      So why did you engage

  25           Ms. Greenfield about Dr. Adams-Flores?
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    2                            MS. CANFIELD:     Objection.     You

    3                    can answer.    To the extent it's not

    4                    privileged.

    5                A      As I mentioned, Ms. Adams-Flores

    6          had several lawsuits, as I understand it,

    7          against her employer, and some of those

    8          expanded to include members of CHS, and I

    9          was named in one of those.

  10                 Q      How was she able to name you in

  11           her lawsuit, Dr. MacDonald, if you did not

  12           supervise her?

  13                             MS. CANFIELD:     Objection to

  14                     form.    You can answer if you're

  15                     able.

  16                 A      That's a good question.        I don't

  17           know the answer to that.          That's probably

  18           the content of my discussion with

  19           Ms. Greenfield.

  20                 Q      How often did you speak to

  21           Dr. Adams-Flores?

  22                 A      Probably a couple times a month.

  23                 Q      Did you have the ability to impact

  24           the conditions of her employment?

  25                 A      I don't think so.       In general, she
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    2          may have had a position that involved

    3          interface between agencies.          So one could

    4          imagine that we might have feedback for how

    5          she was doing in that role, but nobody ever

    6          solicited such feedback from me.

    7                Q      At one point didn't

    8          Dr. Adams-Flores seek reasonable

    9          accommodation from Dr. Yang and Dr. Yang

  10           denied her request?

  11                             MR. ABRAMOFF:     Objection to

  12                     form.     You can answer.

  13                 A      I remember something to that

  14           effect, yes, in her prior employment.

  15                 Q      How Dr. Yang have the ability to

  16           affect or to deny her request for leave?

  17                             MS. CANFIELD:     Objection to

  18                     form.     You can answer.

  19                 A      I think that that allegation was

  20           made from a time when she was previously

  21           employed by CHS.

  22                 Q      So at that time you were also

  23           employed with CHS, right?

  24                 A      Yes.

  25                 Q      And so wouldn't Dr. Adams-Flores
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    2          have been under your supervision if she was

    3          under Dr. Yang's supervision?

    4                A      No.    Because I was the chief of

    5          medicine and she worked in mental health.

    6                Q      So you had no part in mental

    7          health?

    8                A      Correct.

    9                Q      Even though she was a clinician?

  10                 A      At that time, correct.

  11                 Q      But Dr. Adam-Flores' request for

  12           reasonable accommodation dealt with child

  13           care issues and pregnancy.          Do you recall

  14           that?

  15                             MS. CANFIELD:     Objection to

  16                     form.    It's a completely different

  17                     lawsuit, but you can answer if

  18                     you're able.

  19                 A      I learned about that after the

  20           fact.

  21                 Q      And Dr. Kaye had child care issues

  22           as well; you're aware of that, right?

  23                             MS. CANFIELD:     Objection to

  24                     form.    You can answer.

  25                 A      I don't remember that
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    2          specifically, actually, but.

    3                Q      You don't recall Dr. Kaye

    4          complaining the shift change is impacting

    5          her ability to provide child care for her

    6          children?

    7                            MS. CANFIELD:     Objection to

    8                    form.    You can answer.

    9                A      I remember that she had a problem

  10           with the shift change.        I don't believe I

  11           was involved at that level of detail.

  12                 Q      At any point did it come to your

  13           attention that Dr. Ford had issues with

  14           child care?

  15                             MS. CANFIELD:     Objection to

  16                     form.    You can answer if you're

  17                     able.

  18                 A      At times.

  19                 Q      Wasn't Dr. Ford allowed to have a

  20           flexible schedule so she could address her

  21           child care issues?

  22                             MS. CANFIELD:     Objection to

  23                     form.    You can answer.

  24                 A      Dr. Ford was a manager and she had

  25           a flexible managerial schedule.
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    2                Q      And you're saying that Dr. Kaye

    3          was not a manager?

    4                A      I don't believe that she was

    5          because she was in a represented title.

    6          That's maybe a technical distinction within

    7          HR, but she was paid hourly, is my

    8          understanding, versus being a manager, which

    9          would require to come out of the union.

  10                 Q      So you're saying that Dr. Kaye for

  11           over 20 years was paid an hourly rate?

  12                             MS. CANFIELD:     Objection to

  13                     form.    You can answer.

  14                 A      What I'm saying is that she was

  15           represented and in a union and in a union

  16           title, and that the roles for those are

  17           different.

  18                 Q      Now, you are aware that Dr. Kaye

  19           had a flexible schedule up until CHS took

  20           over management; am I right?

  21                             MS. CANFIELD:     Objection to

  22                     form.    You can answer.

  23                 A      That seems plausible.

  24                 Q      And when you all took over

  25           management, did all the center directors
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    2          have the same hours?

    3                            MS. CANFIELD:     Objection to

    4                    form.    You can answer.

    5                A      I believe trying to standardize

    6          that was part of the standardization that I

    7          referred to.

    8                Q      The question is, did they actually

    9          have the same hours as Dr. Kaye?

  10                 A      I don't know.

  11                 Q      Do you know if any of the other

  12           managers had their hours changed upon the

  13           transition?

  14                             MS. CANFIELD:     Objection to

  15                     form.

  16                 A      My understanding was that it was a

  17           standardization across the board.

  18                 Q      My question to you is, do you know

  19           for a fact that all of the center directors

  20           had the same hours?

  21                 A      No.

  22                 Q      And my next question was, do you

  23           know if any of the other center directors

  24           had their shift change upon the absorption

  25           of the court clinics?
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    2                A      No.

    3                Q      Now, Dr. Yang then responds to you

    4          guys, "I can do that, but then I'm dumping

    5          BHC into the soup."

    6                       Is BHC Bellevue?

    7                A      Yes.

    8                Q      "I don't know and I don't want to

    9          know what they did to address her EEOC

  10           issues."     You see that, right?

  11                 A      Yes.

  12                 Q      Now, it doesn't sound like she's

  13           trying to deal with the problem if she says

  14           she doesn't want to know.

  15                        What is your position on that?

  16                             MS. CANFIELD:     Objection to

  17                     form.     You can answer.

  18                 A      I think she's referring to the

  19           fact that a prospective employer who will be

  20           employed with us in the future in this

  21           arrangement is making an allegation about

  22           her current and long standing employer, who

  23           is distinct from CHS.

  24                 Q      But the pay disparity continued

  25           when she was absorbed in CHS; am I right?
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    2                            MS. CANFIELD:     Objection to

    3                    form.    You can answer.

    4                A      Well, again, I don't know the

    5          details.

    6                Q      Now, Dr. Kaye complained that she

    7          was only the director that was required to

    8          work nine hours a day.        Were the other

    9          directors required to work nine hours?

  10                             MS. CANFIELD:     Objection to

  11                     form.    You can answer.

  12                 A      I don't know.

  13                 Q      Now, then there's an email from

  14           Sarah Gillen to Dr. Yang, Jonathan Wangel,

  15           yourself, et cetera.        And now she says,

  16           "Jessica is reviewing the salary at the time

  17           we planned the transition.          I believe at the

  18           time she was the highest paid, but Jessica

  19           will confirm the numbers.         Right.    At this

  20           moment two of her colleagues transitioned to

  21           management roles which has increased their

  22           pay above hers, but doesn't consider the

  23           union benefits, differentials, et cetera,

  24           that she receives.       Jessica will send in

  25           full shortly."
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    2                       Now, do you recall that email?

    3                A      I don't remember this email

    4          specifically, but I do remember in general,

    5          that there was a pathway for her to become a

    6          manager that may have increased her

    7          compensation and she was not interested in.

    8          I believe that to be the outcome, as I

    9          understood it, of this matter.

  10                 Q      Dr. Kaye alleges that the

  11           physician specialist title was still a union

  12           title that would have allowed her to

  13           increase her salary, and also it was a title

  14           that Steve Circic and Dr. Weiss had had.

  15                        Why wasn't that an opinion rather

  16           than her role as a managerial title?

  17                             MS. CANFIELD:     Objection to

  18                     form.    You can answer.

  19                 A      Yeah.    I mean, as a general rule,

  20           we try to have managers in CHS be in

  21           managerial titles and not be represented.

  22                 Q      But Dr. Weiss was in a managerial

  23           title, why was it that he was able to work

  24           in the physician specialist title?

  25                             MS. CANFIELD:     Objection to
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    2                    form.    There's no foundation.        You

    3                    can answer.

    4                A      I'm not aware that that's the

    5          case.

    6                Q      What about Dr. Circic, why was he

    7          allowed to work in that title?

    8                            MS. CANFIELD:     Objection.

    9                A      I am not aware of that at

  10           Bellevue.

  11                 Q      Then Dr. Yang responds, "Thanks,

  12           no urgency for the -- info.          We will need to

  13           be able to offer a position that suits the

  14           needs at FPECC.       It is fair and equitable to

  15           the scope and responsibility.          We can offer

  16           her a management position comparable to

  17           Winkler and Mundy to run the Bronx under us.

  18           Talk later."

  19                        Now, do you recall what

  20           Dr. Winkler's role was prior to his

  21           promotion?

  22                             MS. CANFIELD:     Objection.     You

  23                     can answer.

  24                 A      No.

  25                 Q      When you met Dr. Kaye, where was
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    2          Dr. Winkler working?

    3                A      I think he was one of the

    4          examiners in Brooklyn, if I'm not mistaken.

    5                Q      Dr. Winkler worked under Dr. Kaye;

    6          would you agree with me?

    7                A      Oh, yes.    I'm sorry.      I'm

    8          mistaken.     Yes.

    9                Q      And Dr. Kaye trained Dr. Winkler;

  10           am I right?

  11                             MS. CANFIELD:     Objection to

  12                     form.

  13                 A      I don't know that.

  14                 Q      Would you say that Dr. Kaye was

  15           the longest serving forensic evaluator of

  16           the FPECC system?

  17                 A      I don't know that specifically.          I

  18           have no reason to dispute it, though.

  19                 Q      Let's keep going.

  20                        Do you recall seeing this chart,

  21           the salary from Jessica Laboy?

  22                 A      No.    I am copied on this email, so

  23           I probably reviewed it but...

  24                 Q      Yeah.    You are copied.

  25                        Now, this Kanish Salonki
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    2          (phonetic), is this a man or a woman?

    3                 A      I don't know.

    4                 Q      Oliver Harper, I'm taking that's a

    5          male, right?

    6                 A      Yes.

    7                 Q      You met Dr. Mundy; am I right?

    8                 A      Yes.

    9                 Q      Then you have Dr. Kaye.       Now,

  10           there's a dispute about exactly how much she

  11           was actually paid at this time.           It says

  12           here that her salary is $191,571.           However,

  13           Dr. Kaye does not agree with that.

  14                         What documents do you know were

  15           used to determine exactly what the salary

  16           was?

  17                  A      I don't know.

  18                  Q      Why was Dr. Mundy a senior

  19           director?

  20                              MS. CANFIELD:    Objection to

  21                      form.     You can answer.

  22                  A      So here I believe that senior

  23           director refers to a managerial title, that

  24           he would be moving into.

  25                  Q      But Dr. Mundy didn't have anywhere
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    2          near as much experience as Dr. Kaye.            Why

    3          was he allowed to work in a senior director

    4          capacity and she was not?

    5                            MS. CANFIELD:     Objection to

    6                    form.     You can answer.

    7                A      Yeah.    I believe that was because

    8          he was a managerial position.

    9                Q      He also happens to have a higher

  10           civil service title here.         Dr. Kaye is

  11           listed as an attending physician two, and

  12           Dr. Mundy is listed as an attending

  13           physician three.        Why is that?

  14                             MS. CANFIELD:     Objection to

  15                     form.     You can answer.

  16                 A      I don't know.      All this would be

  17           before CHS took over the clinic.           So I'm not

  18           sure what the explanation for that would be.

  19                 Q      Were you aware that Dr. Kaye's

  20           salary dropped after this pay differential

  21           was actually administered to her?

  22                             MS. CANFIELD:     Objection to

  23                     form and foundation.       You can

  24                     answer.

  25                 A      No.
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    2                Q      But you have no explanation for

    3          why Dr. Mundy was in a higher corporate

    4          title than Dr. Kaye, right?

    5                            MS. CANFIELD:     Objection to

    6                    form.    Asked and answered.      You can

    7                    answer again.

    8                A      No.

    9                Q      And you have no idea why she was

  10           in a higher organizational title, right?

  11                             MS. CANFIELD:     Objection to

  12                     form. You can answer again.

  13                 A      Well, I think you're

  14           misrepresenting that column where it says

  15           new title with CHS.        Again, that's

  16           reflective of a managerial position that was

  17           also offered to Dr. Kaye.

  18                 Q      But there's nothing in writing

  19           that said that it was offered to her; am I

  20           right?

  21                             MS. CANFIELD:     Objection to

  22                     form.    You can answer.

  23                 A      I don't know.

  24                 Q      Who would have provided Dr. Kaye a

  25           written offer of the managerial title?
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    2                A      I think it would be an informal

    3          discussion of her options first.           Then if

    4          she indicated that she was not interested in

    5          coming out of the union, that would be a

    6          limitation to the positions that she might

    7          be offered.

    8                Q      She asked for the physician

    9          specialist title, why couldn't she get that?

  10                             MS. CANFIELD:     Objection to

  11                     form.    Asked and answered.      You can

  12                     answer again.

  13                 A      I don't know.

  14                 Q      Would you agree that the physician

  15           specialist title was a higher paid title

  16           than the attending physician title?

  17                             MS. CANFIELD:     Objection to

  18                     form.    You can answer.

  19                 A      That's my assumption, yes.

  20                 Q      Now, CHS lowered Dr. Kaye from an

  21           attending physician three to an attending

  22           physician two.       Wouldn't that be a violation

  23           of the collective bargaining agreement?

  24                             MS. CANFIELD:     Objection to

  25                     form.    No foundation.     You can
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    2                    answer.

    3                A      I'm not aware of that happening.

    4                Q      Well, she's attending physician

    5          two here, right?

    6                A      That's what's written on this

    7          email.

    8                Q      Now, being that she's the most

    9          senior person here, wouldn't she have been

  10           an attending physician three at some point?

  11                 A      I don't know where the information

  12           from this email came from.          Again, she was

  13           employed by Bellevue at that time.

  14                 Q      So you would disagree that she was

  15           an attending physician three at Bellevue?

  16                 A      No.    I just don't know.

  17                 Q      So now I'm going to show you

  18           what's going to be marked as Plaintiff's

  19           Exhibit 7.

  20                           MS. CANFIELD:       Ms. Hagan, I

  21                     was wondering, after this exhibit or

  22                     perhaps before, is it possible we

  23                     can take a lunch break or bathroom

  24                     break, or refreshment break or

  25                     something?
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    2                          MS. HAGAN:      Why don't we take

    3                    a lunch break.     Why don't we get

    4                    back together at two.

    5                          MS. CANFIELD:       Do you

    6                    anticipate this deposition going all

    7                    day to six?

    8                          MS. HAGAN:      Yeah.

    9                             (Whereupon, a recess was taken

  10                              from 1:06 p.m. to 2:06 p.m.)

  11                 Q      Now, Dr. MacDonald, I'm going to

  12           show you what's going to be marked as

  13           Plaintiff's Exhibit 7.

  14                 A      Okay.

  15                 Q      Plaintiff's Exhibit 7 bears the

  16           Bate Stamp series NYC379 to NYC380.

  17                           MS. CANFIELD:       Was this sent

  18                     to me?

  19                           MS. HAGAN:      Yes.    In October.

  20                           MS. CANFIELD:       Thank you.

  21                              (Whereupon, Email (NYC_379-380)

  22                              was marked as Plaintiff's

  23                              Exhibit 7 for identification as

  24                              of this date.)

  25                 Q      It's an email from you,
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    2          Dr. MacDonald, to Mr. Wangel and Ms. Laboy.

    3          I'm going to scroll down to the bottom of

    4          the email.     It starts on July 9, 2018.          And

    5          it says, the subject is from you that says,

    6          "Can you get me year to date pay for

    7          everyone with the title attending

    8          physician," right?

    9                A      Uh-huh.

  10                 Q      Now, do you recall the context in

  11           which this was sent, Dr. MacDonald?

  12                 A      I think we were trying to look at

  13           some productivity measures for the clinical

  14           staff working on Rikers Island.

  15                 Q      And what do you mean by

  16           "productivity measures"?

  17                 A      Looking at different types of

  18           encounters that they might be filling out in

  19           the electronic health record, as a function

  20           of how many shifts they've done or how much

  21           they've been paid over a time period.

  22                 Q      And you were saying Rikers Island,

  23           right?

  24                 A      Yes.    This was I think primarily

  25           looking at the clinical care.
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    2                Q      I'm going to scroll up here.

    3          There's an email from you from I guess -- I

    4          guess there's another email from Mr. Wangel

    5          to you and Ms. Laboy.

    6                       You see that, right?

    7                A      Um-hmm.

    8                Q      And the response the year to date

    9          through July 13th is Villar.

  10                        Do you know who that person is?

  11                 A      No.

  12                 Q      Dr. Kaye.

  13                 A      Yes.

  14                 Q      Dr. Weiss.

  15                 A      Yes.

  16                 Q      Dr. Harper.

  17                 A      Yes.

  18                 Q      And Dr. Solanki.

  19                 A      Yeah.

  20                 Q      Now, do you recall the breakdown

  21           as to whether or not these other individuals

  22           were full-time employees versus part-time

  23           employees?

  24                 A      No.

  25                 Q      So then we're going to scroll up.
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    2          And you say, "Oh, sorry, I meant for PAGNY

    3          jail care.        I realize that might take a

    4          while and it's not urgent."

    5                       What do you mean by that?

    6                A      Well, I confirmed from what I

    7          suspected is that I was intending to look at

    8          the clinica care in the jail facilities, and

    9          that's why I requested this information.

  10                 Q      So you weren't trying to address

  11           the pay parity issues involved with

  12           Dr. Kaye?

  13                 A      No.

  14                 Q      But you never followed up here

  15           after these individuals were listed, right?

  16                             MS. CANFIELD:     Objection to

  17                     form.     You can answer.

  18                 A      Yeah.    That's correct.      That

  19           wasn't the information I was looking for.

  20                 Q      So you basically weren't looking

  21           into this yourself at all?

  22                 A      No.    Not in that instance.

  23                 Q      In any instance did you look into

  24           the matter?

  25                 A      Again, as we discussed previously
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    2          in the deposition, just to confirm that

    3          Dr. Yang and our HR staff were investigating

    4          that.

    5                Q      I'm going to show you some more

    6          emails.

    7                       Now, we talked about, you said

    8          that Dr. Kaye made a number of complaints,

    9          right?

  10                 A      Yes.     I was referring specifically

  11           to the letter which summarized most of them,

  12           I think.

  13                 Q      Right.     But there were other

  14           complaints prior to that.         Do you recall an

  15           inmate by the name of Miguel Figueroa?

  16                 A      The name is familiar to me.

  17                 Q      What do you remember?

  18                 A      I'm not remembering the specifics

  19           of his care or evaluation.

  20                 Q      Do you recall him being the EMT

  21           killer?

  22                             MS. CANFIELD:     Objection to

  23                     form.     You can answer.

  24                 A      No.

  25                 Q      You said no?
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    2                A      That's correct.      I don't.

    3                Q      Do you recall him presenting

    4          issues regarding force orders?

    5                A      No.

    6                Q      Do you recall Dr. Kaye raising

    7          concerns about the force order, or I guess

    8          trying to circumvent the force order

    9          process?

  10                             MS. CANFIELD:     Objection to

  11                     form.     You can answer.

  12                 A      No.

  13                 Q      Do you recall Dr. Kaye raising

  14           concern about redacted medical records?

  15                             MS. CANFIELD:     Objection to

  16                     form.     You can answer.

  17                 A      Yes.

  18                 Q      So let's do that, then.

  19                        Plaintiff's Exhibit 8 bears the

  20           Bate Stamp series -- I guess to be clear,

  21           and I just want to make sure before I move

  22           on a topic, at any point did you recall

  23           Dr. Yang raising any questions or concerns

  24           about getting Mr. Figueroa off of Rikers

  25           Island because he was a disruptive inmate?
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    2                A      No.

    3                Q      Do you recall Dr. Yang inquiring

    4          or I guess trying to figure out or getting

    5          him declared unfit so that he could be moved

    6          off the island?

    7                            MS. CANFIELD:     Objection to

    8                    form.    You can answer.

    9                A      No.

  10                 Q      Do you recall anything having to

  11           do with Jose Gonzalez being the EMT killer?

  12                 A      No.

  13                 Q      So let's just go -- we'll get to

  14           that.     Now, this will be marked at

  15           Plaintiff's Exhibit 8.

  16                               (Whereupon, Email (NYC_75-76)

  17                               was marked as Plaintiff's

  18                               Exhibit 8 for identification as

  19                               of this date.)

  20                 Q      And Plaintiff's Exhibit 8 bears

  21           the Bate Stamp series NYC75 to NYC76, right?

  22           Let me go down to the bottom of the exhibit.

  23                             MS. CANFIELD:     And, again,

  24                     this was sent to me?

  25                             MS. HAGAN:    This was in
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    2                    October.

    3                          MS. CANFIELD:       Thank you.

    4                Q      It's from Patrick Alberts to

    5          Dr. Yang.     Who is Patrick Alberts?

    6                A      Patrick Alberts was, I believe in

    7          charge of risk management and some aspects

    8          of our policies for CHS.

    9                Q      And she says, "Judge Torres wants

  10           to hold us in contempt."         And that's what

  11           Mr. Alberts says to Dr. Yang.           Just spoke to

  12           Aaron again --

  13                 A      I'm sorry.     Can you scroll down to

  14           show me that.

  15                           MS. CANFIELD:       Just let the

  16                     witness read the entire email thread

  17                     if you'd like him to comment on it.

  18                           MS. HAGAN:      Sure.

  19                 Q      Let's start from the very

  20           beginning.     You see this, right; from

  21           Dr. Yang to Mr. Alberts, right?

  22                 A      Yes.

  23                 Q      It says, "Our courts are using

  24           boilerplate language requesting records."

  25           That's the question that she posted to him
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    2          on February 1st, 2018, right?

    3                 A       Yes.

    4                 Q       Then Mr. Alberts' response, "I

    5          spoke with Erin at MOCJ yesterday about this

    6          judge again and asked Lucy to provide the

    7          correct language for subpoena, which she

    8          did.       He may have the misperception that his

    9          730 orders entitle him to substance use

  10           information, which they do not.           Erin

  11           assured me that she would speak with him and

  12           report back.          I'm not sure if there is some

  13           kind of miscommunication or recalcitrance at

  14           this point, but he seems to be refusing our

  15           boilerplate language.         I didn't know about

  16           the contempt threat."

  17                          Now, who is Erin?

  18                  A       I don't know.    Apparently someone

  19           at the mayor's office of criminal justice,

  20           but I don't know specifically.

  21                  Q       Who is Lucy?

  22                  A       Lucy is another attorney that

  23           worked, I think, in Health and Hospitals.

  24                  Q       Did you have any part in the

  25           boilerplate language regarding the 730
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    2          orders?

    3                A      No.

    4                Q      So you didn't confer with anyone,

    5          you didn't review it or anything for

    6          substance?

    7                            MS. CANFIELD:     Objection to

    8                    form.    You can answer.

    9                A      No.

  10                 Q      So now we're going to move up.

  11                        Now, Mr. Alberts is an attorney

  12           advising staff in his legal capacity; would

  13           that be accurate?

  14                             MS. CANFIELD:     Objection to

  15                     form.    You can answer.

  16                 A      I'm not sure about that.         He was

  17           an administrator.       I don't think he was

  18           acting as an attorney.

  19                 Q      But he is an attorney, though?

  20                 A      He is trained as an attorney, yes.

  21                 Q      So, then, Mr. Alberts responds to

  22           Dr. Yang, "Just spoke with Erin again.             She

  23           said Judge Torres is fine using the

  24           boilerplate subpoena, and understands

  25           limitations.       However, he said that Dr. Kaye
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    2          is refusing to perform the examination until

    3          she receives the entire unredacted record.

    4          It says this problem is entirely unique to

    5          her, at least with respect to Judge Torres.

    6          On one hand I'm glad that the judge isn't

    7          the problem, but how do you think we should

    8          approach the provider, if at all.           In this

    9          case she's asking for something she legally

  10           can't have.       I don't think it would be

  11           appropriate for us to approach the patient

  12           and obtain an authorization, and it's

  13           doubtful his attorney will either."

  14                        Now, how is Mr. Patrick or telling

  15           Dr. Yang that Dr. Kaye is not legally

  16           entitled to unredacted medical records?

  17                             MS. CANFIELD:     Objection to

  18                     form.    You can answer if you're

  19                     able.

  20                 A      As I was discussing previously, we

  21           had sought to reduce any administrative

  22           barrier to receiving a full record, as far

  23           as what's legal, and I think Patrick Alberts

  24           was looking into that in conjunction with, I

  25           don't know, counsel from H&H or from the
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    2          City.     And had clarified the legalities of

    3          that under New York State law, to require

    4          authorization from the patient to allow for

    5          the release of this information, even in the

    6          circumstance.      That's my understanding.

    7                Q      Who redacted the medical --

    8                A      What he's referring to.

    9                Q      So who would have been responsible

  10           for redacting the inmates' medical records?

  11                 A      If they are from correctional

  12           health services, then it would be our

  13           medical record staff.

  14                 Q      Who manages the medical records

  15           staff?

  16                 A      At the time, it was probably

  17           Patrick Alberts.

  18                 Q      Who did Patrick Alberts report to?

  19                 A      Patsy Yang.

  20                 Q      Directly?

  21                 A      Yeah.

  22                 Q      What was Mr. Alberts' title

  23           exactly?

  24                 A      I don't remember his exact title.

  25                 Q      But he reported to Dr. Yang?
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    2                A      Yes.

    3                Q      So then Dr. Yang responds, "So I

    4          went down Kaye's rabbit hole, which included

    5          MOCJ thinking the judge was the problem.

    6          Not so.     If she stays, we need to deal with

    7          this.     Need your FPECC Uber clinician on

    8          board."     Right?

    9                       Now, did it come to your attention

  10           at some point that Judge Torres was

  11           threatening to hold you in content?

  12                             MS. CANFIELD:     Objection to

  13                     form.     You can answer.

  14                 A      No.    I don't think I was aware of

  15           that.

  16                 Q      So no one ever told you this at

  17           any point?

  18                 A      Not that I recall.

  19                 Q      And, then, what does Dr. Yang mean

  20           when she says, "If she stays, we need to

  21           deal with this"; what is she talking about,

  22           Dr. Yang?

  23                 A      Well, I would be speculating, but

  24           I think what she's talking about is this

  25           level of delay and complexity with the
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    2          evaluation that's been introduced by the

    3          demand for substance use information, which

    4          was not standard among other examiners in

    5          FPECC, nor was standard within the field, as

    6          I understand it.

    7                Q      Now, is Dr. Kaye at fault for CHS

    8          being in contempt to Judge Moore's order for

    9          unredacted medical records?

  10                             MS. CANFIELD:     Objection to

  11                     form.     You can answer if you're

  12                     able.

  13                 A      Of course not.       Nor were we in

  14           contempt.

  15                 Q      Would you say that Mr. Alberts has

  16           more knowledge than Judge Moore regarding

  17           the medical records?

  18                             MS. CANFIELD:     Objection to

  19                     form.     You can answer if you're

  20                     able.

  21                 A      Yes.     I think Mr. Alberts had

  22           investigated this specific question with our

  23           H&H and/or the City's law department, to

  24           understand what are the legalities related

  25           to the release of this information.            So,
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    2          yeah, he was very expert on this question.

    3                Q      So you thought he was more

    4          knowledgeable than Judge Moore?

    5                            MS. CANFIELD:     Objection to

    6                    form.

    7                A      I have no idea who Judge Moore is.

    8          I know that Patrick Alberts is extremely

    9          expert on this question because he had been

  10           investigating it with the help of attorneys

  11           from H&H and the City.

  12                 Q      Who is this FPECC Uber clinician

  13           that Dr. Yang is referencing or hoping to

  14           have on board?

  15                 A      I think that she was referencing

  16           that we needed to hire a director for the

  17           clinics.

  18                 Q      And that would have been Dr. Jain?

  19                 A      It did turn out to be Dr. Jain.          I

  20           think she was referring to that position.

  21                 Q      Was Dr. Kaye ever approached about

  22           that position?

  23                             MS. CANFIELD:     Objection to

  24                     form.    You can answer.

  25                 A      I don't know.
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    2                Q      Do you know why she was approached

    3          or wasn't approached?

    4                            MS. CANFIELD:      Objection to

    5                    form.     Assumes facts.     You can

    6                    answer.

    7                A      I don't know that she wasn't

    8          approached.       I think, as I -- I don't know

    9          exactly what the time course was.           She may

  10           have, as we discussed previously, indicated

  11           her unwillingness to come out of the union.

  12           That's clearly a managerial position.

  13                        She may have at that point

  14           demonstrated that she was resistent to the

  15           entire project of CHS consolidating and

  16           taking these clinics in the interest of

  17           making things more efficient, in which case

  18           she would not have been a good candidate for

  19           this position.

  20                 Q      So you're saying that Dr. Kaye was

  21           being resistent to the changes being made to

  22           make the court clinics more efficient; is

  23           that your position?

  24                 A      Yes.

  25                             MS. CANFIELD:      Objection to
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    2                    form.

    3                Q      And you said yes, right?

    4                A      Yes.    That's the impression that I

    5          gathered from managing two separate people

    6          with expertise in this area who were in

    7          charge of these clinics.

    8                Q      Dr. Kaye worked there longer than

    9          the two people that you're referencing.             She

  10           worked in this capacity at the clinic for 20

  11           years.     Now, Dr. Jain -- is that one of the

  12           people you're referencing?

  13                 A      Yes.

  14                 Q      He hadn't even been hired yet.

  15           This is February 2018.        Dr. Yang is looking

  16           for this Uber director.         How is it that he

  17           has more expertise than Dr. Kaye?

  18                             MS. CANFIELD:     Objection.     You

  19                     can answer if you're able to

  20                     understand the question.

  21                 A      That's not what I'm contending.

  22           I'm contending that Dr. Ford certainly may

  23           have that assessment by then.          And that it's

  24           not unusual in projects like these, that

  25           people that have been there the longest are
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    2          the most resistant to change.

    3                       So a person's tenure in the

    4          position doesn't mean that they are going to

    5          be a willing participant in the process to

    6          improve.

    7                Q      Did Dr. Kaye say she was resistant

    8          to change?

    9                A      No.   Again, that's my impression

  10           from having managed two separate

  11           professionals who I worked with closely and

  12           trust, who struggled to manage her and --

  13                 Q      Did you ever speak to Dr. Kaye

  14           yourself?

  15                           MS. CANFIELD:       Objection.

  16                     Asked and answered.       You can answer

  17                     again.

  18                 A      No.   I had very little interaction

  19           with Dr. Kaye directly.

  20                 Q      But you had these two managers who

  21           were struggling to manage her, that were

  22           coming to you, I guess fairly periodically

  23           about her.     Why didn't you take it upon

  24           yourself to speak to her yourself?

  25                           MS. CANFIELD:       Objection to
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    2                    form.     You can answer.

    3                A      I think there are a couple of

    4          layers of management in between.           There were

    5          a lot of people dealing with a lot of the

    6          different issues that she was raising.             They

    7          tended to be, frankly, outside my area of

    8          expertise, as you've established.

    9                       It wasn't disputes about the

  10           content of clinical evaluations, it was

  11           disputes around HR, around administrative

  12           issues, around compensation.          And I made

  13           sure that her direct supervisors had the

  14           appropriate support from the leadership of

  15           CHS, whose purview was those areas.

  16                 Q      Now, did you engage Dr. Bhatti

  17           yourself?

  18                 A      I did, yes.

  19                 Q      Why?

  20                 A      I was in a different role at the

  21           time.     It was a different relationship.

  22                 Q      So you were in a different role,

  23           and that was in 2000, what, 16?

  24                 A      Yes.

  25                 Q      So you weren't chief medical
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    2          officer, you were chief of what?

    3                A      Chief of medicine.

    4                Q      Medicine.     Who did Dr. Bati report

    5          to?

    6                A      Probably one of the psych medical

    7          directors.

    8                Q      Who did the psych medical director

    9          report to?

  10                 A      Probably the assistant chief of

  11           medicine.

  12                 Q      Who was that?

  13                 A      Would have been Louis Cintron or

  14           Zach Rosner.

  15                 Q      So that's two people removed from

  16           you at least, right?        Dr. Bati, right?

  17                 A      Yes.

  18                 Q      And Dr. Kaye is at least two

  19           people removed from you as well here.            She

  20           was -- there was Dr. Jain that she reported

  21           directly to; is that right?

  22                 A      Yeah.    Dr. Jain reported to

  23           Dr. Ford who reported to me.

  24                 Q      Right.    Who reported to you?

  25                 A      Yeah.    That would be three layers
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    2          in that situation.

    3                Q      Well, Dr. Jain, Dr. Ford and then

    4          you, and Dr. Bati would be three layers; am

    5          I right?

    6                A      Psych medical director, assistant

    7          chief, then me, yes.

    8                Q      So Dr. Bati was further removed

    9          from you and you could directly intervene,

  10           but Dr. Kaye was only two people removed

  11           from and you did not; is that right?

  12                             MS. CANFIELD:     Objection to

  13                     form.     You can answer.

  14                 A      So I would just say they were

  15           equally far removed in terms of the

  16           organizational chart.        That's not the only

  17           determining factor.        Every situation is

  18           different.        It's not to say that any

  19           personnel issue that included a person two

  20           layers below me that I would become involved

  21           in, simply because I was involved in that

  22           issue.

  23                 Q      But you were very much, I guess,

  24           engaged in this particular issue with

  25           Dr. Kaye; am I right?
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    2                            MS. CANFIELD:     Objection to

    3                    form.     You can answer.

    4                A      I was not that much engaged in it

    5          because, again, the content was so much the

    6          purview of the CHS leadership that dealt

    7          with HR, that dealt with administrative

    8          issues, that dealt with legal issues, that

    9          dealt with compensation.

  10                        So I was not so much engaged with

  11           it.   And, as you know, Dr. Kaye was writing

  12           directly to my supervisor, Dr. Patsy Yang

  13           who was very involved.        So I was not so much

  14           engaged with it, really through just a

  15           natural division of labor where different

  16           members of the team handled different

  17           issues.

  18                 Q      Well, wasn't Dr. Bati's issues

  19           revolving around administrative issues as

  20           well?

  21                             MS. CANFIELD:     Objection to

  22                     form.     You can answer.

  23                 A      Yes.     In that particular instance

  24           I primarily became responsible for it.             So,

  25           again, division of labor and different
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    2          circumstances is part of how management is

    3          done.

    4                Q      So here you have an email from

    5          Dr. Ford saying, "Does Jeremy know about

    6          this absolutely ridiculous demand on Dr.

    7          Kaye's part.       Standard practice in forensic

    8          evals is to use whatever records we have,

    9          form an opinion and note any limitation in

  10           the formulation.

  11                        Now, did you do any independent

  12           research to see if Dr. Ford was actually

  13           right in her assertion here?

  14                 A      No.

  15                 Q      Did you reference the APPL

  16           guidelines regarding medical records?

  17                 A      No.

  18                 Q      Or the ABA, for that matter?

  19                 A      No.

  20                 Q      "In any case, Kaye has been a

  21           problem for a long time and we will manager

  22           her out."     We talked about this earlier,

  23           right?

  24                 A      Um-hmm.    Yes.

  25                 Q      Now, what was your reaction when
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    2          you saw that, Dr. MacDonald?

    3                A      I wasn't on this email.

    4                Q      Okay.    "Whenever I hear that Uber

    5          director posted will send around like link

    6          to forensic psych world.         Am sending first

    7          candidate Ross's way for second opinion as

    8          well."

    9                       You're Ross, right?

  10                 A      Correct.

  11                 Q      Were you the person who ultimately

  12           supported her decision to hire Dr. Jain?

  13                 A      I interviewed several candidates

  14           for that position and we talked about their

  15           relative strengths and weaknesses, but it

  16           was ultimately her decision.

  17                 Q      But then here you are now on the

  18           email.     Maybe you recognize this now.

  19           Dr. Yang is emailing Dr. Ford and yourself.

  20                        Maybe the last 20 will do it.

  21           That was some performance.          Doubt Jeremy

  22           knows given that I understand in his

  23           removed.     I only found this by shallow

  24           digging -- dragged me in MOCJ that word had

  25           it that the judge might hold the city in
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    2          contempt, and it turns out it is Kaye's own

    3          cyclone that has sucked in detritus."

    4                       Do you understand any of this?

    5                            MS. CANFIELD:     Objection to

    6                    form.    You can answer.

    7                A      I can speculate about what it

    8          means.

    9                Q      Let's break it down, then.

  10                        "Maybe the last 20 will do it."

  11           What does she mean by that?          What does Dr.

  12           Yang mean by that?

  13                 A      I don't know.

  14                 Q      Was it the last 20,000 that was

  15           really what Dr. Kaye was entitled to

  16           regarding her retention bonus?

  17                             MS. CANFIELD:     Objection to

  18                     form.

  19                 A      Possibly.

  20                             MS. CANFIELD:     Speculation.

  21                 A      Possibly.     I don't know.

  22                 Q      "That was some performance."          What

  23           the performance is Dr. Yang talking about?

  24                 A      I don't know.

  25                 Q      "Doubt Jeremy knows given what I
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                                                                 Page 188
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    2          understand is his remove."

    3                       What does she mean by "remove"?

    4                            MS. CANFIELD:     Objection to

    5                    form.    You can answer if you're

    6                    able.

    7                A      I think she's referring to an

    8          understanding that these clinics were not

    9          very closely watched or managed by their

  10           parent institutions.        And, therefore, that

  11           there wouldn't be that level of detailed

  12           understanding.

  13                 Q      And just for the purposes of the

  14           record, Jeremy is Dr. Jeremy Collin, right?

  15                 A      I believe so, yes.

  16                 Q      Up until the transition, didn't

  17           Dr. Kaye report to Dr. Collin?

  18                 A      I know Dr. Collin was in charge of

  19           the forensic service, so that would make

  20           sense.

  21                 Q      Right.    So at some point was

  22           Dr. Collin removed from being in charge of

  23           the forensic service?

  24                 A      I think that may have happened

  25           recently.
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    2                Q      Well, as far as this particular

    3          email is concerned, February 1st, 2018,

    4          right, the Bronx court clinic, first you

    5          hired the Uber director, Dr. Jain.            And

    6          would it be fair to say you hired him in

    7          April of 2018?

    8                            MS. CANFIELD:     Objection to

    9                    form.    You can answer.     The record

  10                     speaks for itself.

  11                 A      That sounds reasonable.

  12                 Q      So in April 2018, you hired

  13           Dr. Jain.     And what happens to Dr. Colin?

  14                 A      Dr. Colin worked for Bellevue

  15           Hospital, he didn't work for CHS.

  16                 Q      Was he Dr. Kaye's supervisor once

  17           Dr. Jain got on board?

  18                 A      No.    He wasn't her supervisor once

  19           the clinic came to CHS.

  20                 Q      Right.    And when did that happen?

  21                 A      Well, as we discussed previously,

  22           you've represented to me that it was

  23           July 1st, 2018, right?

  24                 Q      But Dr. Jain was hired in

  25           April 2018.       So you're saying that between
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    2          April and July 2018, he wasn't her

    3          supervisor?

    4                A      I don't know.      I was, again, just

    5          basing that on the date you established for

    6          the Bronx clinic coming to CHS.           Which in

    7          the previous questions we said was July 1st,

    8          but maybe I'm misunderstanding that.            It

    9          happened sooner.

  10                 Q      Then she goes on and she says,

  11           "The judge might hold the City in contempt,"

  12           right?

  13                        And earlier you disagreed that the

  14           City was going to be held in contempt for

  15           not producing unredacted records.

  16                        You saw that, right?

  17                             MS. CANFIELD:     Objection to

  18                     form.    You can answer.

  19                 A      I think that I said we were not,

  20           as far as I know.       And here she says they

  21           might.

  22                 Q      Right.    And she says, "It's Kaye's

  23           own cyclone."       What did she mean by that?

  24                             MS. CANFIELD:     Objection to

  25                     form.    Answer if you're able.
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    2                A      I mean, I would just be

    3          speculating, but I think she's referring to

    4          a pattern of creating conflict and obstacles

    5          to getting things done.

    6                Q      Now, didn't Dr. Colin have

    7          concerns about using redacted medical

    8          records?

    9                A      I don't know.

  10                 Q      Didn't Dr. Winkler express

  11           concerns about using redacted medical

  12           records?

  13                 A      I don't know.

  14                 Q      And didn't even Dr. Circic express

  15           concerns about using redacted medical

  16           records?

  17                 A      I don't know.

  18                 Q      Why was it that Dr. Kaye was

  19           singled out when she expressed concerns

  20           about using redacted medical records, no one

  21           else was?

  22                             MS. CANFIELD:     Objection to

  23                     form.    You can answer.

  24                 A      I will just be speculating.

  25                 Q      But you're oddly identifying
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    2          Dr. Kaye as someone who was resisting.             Were

    3          there any other staff members that you

    4          recall that were resistant to using redacted

    5          medical records besides Dr. Kaye?

    6                A      No.    I'm not aware of anyone else

    7          making an issue of it.        And I think that

    8          this is an example where it became such an

    9          issue that it rises to the level of the

  10           judge and he's feeling like he has to hold

  11           the City in contempt, and it's making a lot

  12           of chaos and slowing down the process.             I

  13           don't know of any other staff who were

  14           engaging around that issue in that way.

  15                 Q      In what way exactly; explain?

  16                 A      In a way that creates so much

  17           conflict.

  18                 Q      But how was Dr. Kaye creating so

  19           much conflict?       What exactly did she do?

  20                 A      If you want to raise the email

  21           again, I agree with Dr. Ford's assessment.

  22                 Q      Well, Dr. Ford is just saying that

  23           she needed to be managed out?

  24                             MS. CANFIELD:     Objection to

  25                     form.    You can answer.
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    2                A      No.   Dr. Ford had material

    3          disagreement with her opinion on the matter.

    4                Q      I'm going to show you what's going

    5          to be --

    6                          MS. CANFIELD:       Do you want to

    7                    pull it back up?      Do you want to see

    8                    it again?

    9                Q      I'm going to show him a different

  10           exhibit, because this might help him out.

  11                        This is going to be marked as

  12           Plaintiff's Exhibit 9.

  13                              (Whereupon, Email (NYC_118-119)

  14                              was marked as Plaintiff's

  15                              Exhibit 9 for identification as

  16                              of this date.)

  17                 Q      Plaintiff's Exhibit 9 bears the

  18           Bate Stamp series NYC118 through 119.            And

  19           I'm going to scroll to the bottom of it.

  20                        Now, in 118 to 119, you email

  21           Elizabeth Moreira.       Who is that?

  22                 A      That was an administrator in the

  23           Bellevue forensic clinic.

  24                 Q      And you say, "Hi, Liz, can you

  25           share with me the records you received for
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    2          the cases that Kaye could not complete.

    3          Thanks, Ross."

    4                       You see that, right?

    5                A      Um-hmm.

    6                Q      Now, isn't this outside of your

    7          area of expertise as far as the record

    8          themselves and this whole issue?

    9                            MS. CANFIELD:     Objection to

  10                     form.    You can answer.

  11                 A      No.    I don't think so.      Again, I

  12           was engaged, as I said, our desire was to

  13           have the most complete records available to

  14           the examiners.       Again, the whole point of

  15           this endeavor was to make things as

  16           efficient and as effective as possible.

  17                        So the question was raised whether

  18           there was some inappropriate or overly

  19           aggressive redaction going on by our medical

  20           records team.       And that's why I was

  21           interested in looking at these records, just

  22           to make sure that they were being redacted

  23           appropriately.

  24                 Q      And then Ms. Moreira responds to

  25           you, "It would have to be requested from the
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    2          clinic itself.      I can copy Melissa," I guess

    3          Dr. Kaye, "and the ACM, if you'd like."

    4                       Now, who's the ACM?

    5                A      Probably referring to assistant

    6          coordinating manager, some administrator in

    7          the clinic.

    8                Q      Who would that have been?

    9                A      I don't know.

  10                 Q      So then you say back to

  11           Ms. Moreira, "Yes, please," right?

  12                        And then at this point, Ms.

  13           Moreira emails you, Dr. Kaye and

  14           Lacrecia Persaud.       So I'm assuming the ACM

  15           must have been Ms. Persaud.

  16                        Would that be accurate?

  17                 A      It would make sense, yeah.

  18                 Q      So then Ms. Moreira says, "No

  19           problem.     Do you have a defense's name for

  20           the case in question?        I have copied

  21           Dr. Kaye and Lacrecia Persaud in this email.

  22           To some extent Dr. Ross MacDonald of CHS is

  23           trying to work on the redaction issue and is

  24           requesting to see the versions of records we

  25           have received for outstanding cases in which
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                                                                 Page 196
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    2          were redacted and, therefore, left an

    3          opinion unrendered."

    4                       You see this, right?

    5                A      Yes.

    6                Q      Do you recall what Dr. Kaye said

    7          to you when you made the request?

    8                A      No.    I don't.

    9                Q      Do you recall Dr. Kaye telling you

  10           that she could not provide --

  11                 A      I'm sorry.     Can I interrupt for

  12           one second.

  13                 Q      Yes, sir?

  14                 A      I just have to stop for one

  15           second.

  16                               (Whereupon, a recess was taken

  17                               from 2:40 p.m. to 2:41 p.m.)

  18                 Q      I'm going to ask you, is there

  19           someone else in the room?

  20                 A      No.    Someone came to my door.

  21           That's why I stopped the proceedings.

  22                 Q      Okay.    There's no one else, like

  23           there's no other legal counsel in the room?

  24                 A      No.    There's nobody in the room.

  25           Someone came to my door.         That's why I
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                                                                 Page 197
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    2          stopped the proceeding.

    3                Q      I just had to ask because, you

    4          know, if there is someone, we are entitled

    5          to know.

    6                A      Absolutely.     Of course.     That's

    7          why I stopped.

    8                Q      Fair enough.

    9                            MS. HAGAN:    Now, are there any

  10                     other -- there's no one else on the

  11                     zoom from defendants, right?

  12                 A      Not that I'm aware of.

  13                             MS. CANFIELD:     No.

  14                             MS. HAGAN:    Okay.     Just making

  15                     sure.

  16                 Q      So back to the question.         At any

  17           point, did Dr. Kaye tell you that she could

  18           not produce the records because she didn't

  19           have a court order to you?

  20                 A      I don't remember how that turned

  21           out, actually.

  22                 Q      So you don't remember if you

  23           received the records at all from Dr. Kaye?

  24                 A      I don't remember receiving any

  25           records.
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    2                Q      And you don't remember if Dr. Kaye

    3          told you she could not produce them because

    4          she had not received an order?

    5                A      I don't remember.

    6                Q      How did you resolve the issue?

    7                A      I think I probably left it at

    8          that, if I wasn't able to get the records.

    9          I was just trying to think of how I could be

  10           of assistance to try to troubleshoot the

  11           issue.

  12                 Q      When you didn't receive the

  13           records, you just left them alone all

  14           together?

  15                 A      Well, again, I think it was an

  16           ongoing conversation about the legalities of

  17           the redaction.      And it may have dropped my

  18           idea to try to help and make sure that we

  19           were redacting appropriately.          I was just

  20           trying to troubleshoot the problem.

  21                 Q      Did your opinion of Dr. Kaye

  22           change after this situation or this

  23           incident?

  24                 A      No.

  25                           MS. CANFIELD:       Objection to
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    2                    form.

    3                Q      You said no?

    4                A      (No verbal response given.)

    5                Q      Now, I'm going to ask you some

    6          questions about the -- I'm going to show you

    7          some instances where we discussed where

    8          other people received redacted medical

    9          records regarding the situation with Judge

  10           Torres and Judge Moore.         Okay?

  11                 A      Okay.

  12                 Q      And this will be Plaintiff's

  13           Exhibit 10.

  14                               (Whereupon, Email

  15                               (NYC_1914-1915) was marked as

  16                               Plaintiff's Exhibit 10 for

  17                               identification as of this date.)

  18                 Q      And it bears the Bate Stamp series

  19           NYC1915 -- well, actually, sequentially,

  20           1914 and 1915.       And I'm going to show you

  21           the bottom.       The first email is from Wanda

  22           Roberts.     You see that, right?

  23                 A      Yes.

  24                 Q      And it's to Lacrecia Persaud.          And

  25           she says, "Good afternoon, Lacrecia.            Please
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    2          review the attached medical record for --

    3          this is part one of the medical record,

    4          thank you.     And she's the director of

    5          medical records.       Do you know her to act in

    6          this capacity, Ms. Roberts?

    7                A      Yes.

    8                Q      So then going up, there's the

    9          email from Ms. Persaud, and the medical

  10           records, and it's to Dr. Winkler.

  11                        You see that, right?

  12                 A      Yes.

  13                 Q      And then Dr. Winkler responds,

  14           "Hi, Lacrecia.       Please advise Ms. Roberts

  15           that these records are useless.           They are

  16           redacted and do not include an attestation

  17           certification which we need for the court.

  18           Please advise her that we require

  19           unredacted, certified records as soon as

  20           possible since the court is questioning the

  21           delay in this case.        You see that, right?

  22                 A      Yes.

  23                 Q      And this is from Dr. Winkler not

  24           Dr. Kaye.     You see this, right?

  25                 A      Yes.
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    2                Q      And then Dr. Kaye says, "Hello,

    3          Ms. Laird (phonetic).        We are still

    4          receiving redacted medical records from CHS

    5          despite judicial orders for unredacted

    6          records.     This is holding up many cases.

    7          Can you please forward this to Judge

    8          Torres's office.        Thank you."    Right?

    9                A      Yes.

  10                 Q      So how is it that Dr. Kaye is

  11           being blamed for causing delays, when it

  12           appears that Judge Torres is responsible as

  13           well as the production of redacted records?

  14                             MS. CANFIELD:     Objection to

  15                     form.     You can answer.

  16                 A      I can only say that this is one of

  17           the problems that we were trying to

  18           troubleshoot.       And our goal has always been

  19           to work together to troubleshoot any barrier

  20           to efficiently doing the evaluations.

  21           That's why we took over the clinics.            There

  22           is no other motivation that we could have.

  23                        The results of what we were

  24           advised about the legalities and a necessity

  25           for redaction were maybe not favorable to
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    2          Dr. Kaye or Dr. Winkler or to certain

    3          judges, but we were trying to troubleshoot

    4          that problem in good faith.

    5                Q      Why is it that Dr. Kaye was

    6          determined to have caused the cyclone and

    7          not Dr. Winkler; he's involved in this

    8          particular incident as well?

    9                            MS. CANFIELD:     Objection to

  10                     form.    You can answer.

  11                 A      Again, I'm not going to speak to

  12           the impression that was left in another

  13           email chain that I wasn't apart of it.             It's

  14           becoming so speculative.

  15                        I think that there were many areas

  16           where the impression was that this was not a

  17           good faith effort on behalf of Dr. Kaye to

  18           try to troubleshoot these issues with us.

  19           Rather, it was trying to point fingers, and

  20           that the situation escalated when she was

  21           involved in it in ways that it didn't with

  22           other examiners.

  23                 Q      But you can't really say that it

  24           was attributed to her or Dr. Winkler, they

  25           are both involved here.         You see that --
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    2                            MS. CANFIELD:      Objection to

    3                    form.     You can answer.

    4                Q      Both Dr. Winkler and Dr. Kaye are

    5          on the thread regarding the Judge Torres,

    6          Judge Moore redacted medical record

    7          incident.     However, Dr. Kaye is being called

    8          the cyclone and Dr. Winkler isn't.            Why is

    9          that?

  10                             MS. CANFIELD:      Objection to

  11                     form.     Assumes facts.     You can

  12                     answer.

  13                 A      I mean, when you pull out an

  14           isolated email chain like that --

  15                 Q      But there are two emails.

  16                 A      Okay.    But it's happening in the

  17           context of people working with all of these

  18           players every day, trying to troubleshoot

  19           these issues.

  20                        So I can't tell you based on the

  21           records that you're showing me why the

  22           perception of Dr. Kaye's supervisor and

  23           Dr. Ford and others, was that she was

  24           particularly recalcitrant on this issue and

  25           would not work with CHS or others to try to
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    1                              R. MACDONALD

    2          get to a better solution.

    3                Q      Dr. Yang --

    4                A      I can't understand --

    5                            MS. CANFIELD:     Let the witness

    6                    finish his response, please.

    7                Q      Dr. Yang was further removed from

    8          the process than you; is that right?

    9                            MS. CANFIELD:     Objection to

  10                     form.     You can answer if you're

  11                     able.

  12                 A      No.    Not necessarily.      For the

  13           reasons that I explained.         She was further

  14           removed in the organizational chart when she

  15           took interest in this matter and --

  16                 Q      Why?

  17                 A      Because, as I explained, the

  18           primary issues that were being raised were

  19           in the areas of the legal concerns, the

  20           compensation, the HR, all of those matters.

  21                 Q      But she hadn't -- Dr. Kaye hadn't

  22           complained about compensation issues in

  23           February of 2018.       She was simply saying

  24           that she could not work with redacted

  25           medical records at that time.          And this
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    2          email, Dr. Yang refers to Dr. Kaye, they

    3          cyclone, and then she uses the term

    4          detritus.     Why she only using those

    5          terminologies in reference to Dr. Kaye and

    6          not Dr. Winkler, when both of them expressed

    7          concern about using redacted medical

    8          records?

    9                            MS. CANFIELD:     I'm going to

  10                     the object to the factual colloquy

  11                     or the performed factual colloquy

  12                     that followed that question or

  13                     proceeded that question, sorry, and

  14                     object to the question.        You can

  15                     answer if you're able to.

  16                 A      I don't know.

  17                 Q      You don't know.      There's no real

  18           reason that there's a difference, as far as

  19           you can see, because you weren't involved

  20           directly you say, between why Dr. Yang is

  21           referring to Dr. Kaye as a cyclone, and

  22           she's not referring to Dr. Winkler as one?

  23                             MS. CANFIELD:     Objection to

  24                     form.    Objection.     You can answer if

  25                     you're able.
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    2                A         I don't know.

    3                Q         Now I'm going to show you what's

    4          going to be marked as Plaintiff's Exhibit

    5          11.   Plaintiff's Exhibit 11 bears the Bate

    6          Stamp series NYC288.

    7                              (Whereupon, Email (NYC_288) was

    8                              marked as Plaintiff's Exhibit 11

    9                              for identification as of this

  10                               date.)

  11                             MS. CANFIELD:     Just 288?

  12                             MS. HAGAN:    Yes.

  13                             MS. CANFIELD:     Was this sent

  14                     in October or November?

  15                             MS. HAGAN:    This is

  16                     June 21, 2018.

  17                             MS. CANFIELD:     No.   I'm saying

  18                     when did you send this document to

  19                     me?

  20                             MS. HAGAN:    In October.

  21                             MS. CANFIELD:     October.

  22                 Q         It's an email from Dr. Jain to

  23           Dr. Ford.       And the subject is Jonathan.        I'm

  24           assuming Jonathan is Jonathan Wangel, right?

  25                           "I let Melissa know that I'll need
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    1                              R. MACDONALD

    2          to tell Jonathan at least and she was

    3          understanding that I need to report to

    4          whomever from my end no problem.           She's

    5          hopeful and feels more optimistic that this

    6          will all lead to a positive outcome.            Just

    7          passing along to you.        Thanks, Beech,"

    8          right?

    9                A      Yes.

  10                 Q      Then Dr. Ford is emailing you and

  11           Dr. Barbara Rioja about Dr. Kaye's

  12           complaint.        And she says, "FYI, nothing to

  13           do.   Melissa is filing a EEO complaint with

  14           respect to pay differential that I think

  15           spans multiple years at Bellevue.           Jonathan

  16           will be made aware."        Right?     And this is

  17           June 21, 2018, you see this, right.

  18                 A      Yes.

  19                 Q      Now, why is Dr. Barber Rioja on

  20           this email?

  21                             MS. CANFIELD:      Objection to

  22                     form.     By the way, I don't have this

  23                     document.     Go ahead.    You can

  24                     answer.

  25                 A      You're asking why Dr. Barbara
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                                                                 Page 208
    1                              R. MACDONALD

    2          Rioja is on this email that was written by

    3          Dr. Ford?

    4                Q      Well, you're on here.        And how is

    5          Dr -- what is Dr. Barbara Reoha's

    6          relationship to Dr. Kaye?

    7                            MS. CANFIELD:     Objection to

    8                    form.    You can answer.

    9                A      I think this was probably a time

  10           when Dr. Barbara Reoha's oversight of the

  11           clinic was still a possibility.           And we had

  12           not settled on the organizational structure

  13           a hundred percent yet.

  14                             MS. HAGAN:    For purpose of the

  15                     record, this is defendant's

  16                     production NYC288.      So even though I

  17                     did produce it in October, in

  18                     October 2021, this is certainly one

  19                     of your emails, defendant's emails.

  20                             MS. CANFIELD:     I understand

  21                     that.    It did not come to me in

  22                     October, and I understand that, it's

  23                     consistent with magistrate Judge

  24                     Cott (phonetic) which provide the

  25                     exhibits either contemporaneous with
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    1                             R. MACDONALD

    2                    the deposition or prior to and I

    3                    don't have it.

    4                          MS. HAGAN:      Why don't you go

    5                    check your email, 'cause it's there.

    6                          MS. CANFIELD:       I have been

    7                    check.   It's actually three

    8                    documents I don't have, but we can

    9                    discuss that at the end of the

  10                     deposition.

  11                 Q      So, Dr. MacDonald, you're saying

  12           that you were debating whether or not you

  13           were going to have Dr. Barbara Rioja act in

  14           a managerial capacity over the clinics; am I

  15           right?

  16                 A      That's a possible explanation for

  17           why she was on this email.          I didn't send

  18           this email so I don't know the answer to

  19           your question.

  20                 Q      So, ultimately, what -- how it was

  21           resolved with Dr. Barbara Rioja; was she

  22           ultimately put in a managerial structure

  23           over the clinics while Dr. Kaye was there?

  24                 A      Not at that time.

  25                 Q      When did she become a managerial
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                                                                 Page 210
    1                              R. MACDONALD

    2          over the clinics?

    3                            MS. CANFIELD:     Objection to

    4                    form.     You can answer.

    5                A      I don't know exactly, but I think

    6          it was after Dr. Jain's departure.

    7                Q      Now, clearly you're on notice

    8          about Dr. Kaye's EEO complaint, right, about

    9          the pay differential here?

  10                 A      Yes.

  11                 Q      And this is on June 21, 2018; is

  12           that right?

  13                 A      Yes.

  14                 Q      And did you speak to Mr. Wangel

  15           about Dr. Kaye's complaint at that point?

  16                 A      No.    This email chain reflects an

  17           FYI to me that these staff are taking

  18           complaints seriously and bringing it through

  19           the appropriate channels.

  20                 Q      But you're their supervisor; am I

  21           right?

  22                 A      Yes.

  23                 Q      So as their supervisor, what did

  24           you do to followup to ensure that they

  25           actually took the complaint seriously?
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    2                A      Again, I have email documentation

    3          that you're showing to me attesting that

    4          they will.        And I do believe that they did.

    5          And I trust my supervisors to do the things

    6          that they tell me they are going to do.

    7                Q      How do you know that they did what

    8          they represented on this email?

    9                            MS. CANFIELD:     Objection to

  10                     form.     You can answer.

  11                 A      I believe that they did it.

  12                 Q      You see this, "Jonathan will be

  13           made aware," right?

  14                 A      Yes.

  15                 Q      Do you know that she made Jonathan

  16           aware?

  17                 A      I know that Jonathan was aware

  18           subsequent to this.

  19                 Q      And you don't -- was Jonathan the

  20           EEO officer for H&H at that time?

  21                 A      No.

  22                 Q      Was he the EEO officer for CHS at

  23           that time?

  24                 A      I don't know.

  25                 Q      Why didn't you ensure that
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    1                              R. MACDONALD

    2          Dr. Ford or Dr. Jain reported this to the

    3          EEO office?

    4                            MS. CANFIELD:      Objection to

    5                    form.     Assumes facts.     You can

    6                    answer.

    7                A      Just as I said with my own

    8          response, to make sure that the exact nature

    9          of a complaint like this is reported

  10           appropriately, I would recommend that they

  11           consult with HR.        And Jonathan is HR.

  12                 Q      But you didn't know who the EEO

  13           officer was earlier; am I right?

  14                             MS. CANFIELD:      Objection to

  15                     form.     You can answer again.

  16                 A      Yes.

  17                 Q      So you have no idea if they

  18           reported it to the EEO officer or not

  19           because you don't know who the EEO officer

  20           is, right?

  21                             MS. CANFIELD:      Objection.

  22                     Again, assumes facts, that it should

  23                     be reported to the EEO officer, but

  24                     you can answer.

  25                 A      Again, I would advise them to
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    1                              R. MACDONALD

    2          discuss it with Jonathan to get his advice

    3          about how exactly it should be reported.

    4                Q      Wasn't it your testimony earlier

    5          today that an EEO complaint should be

    6          reported to the EEO officer?

    7                            MS. CANFIELD:     Objection to

    8                    form.

    9                A      It was.    I think that there's

  10           complexity here because, as you represented

  11           to me, Dr. Kaye didn't work for CHS at this

  12           time, or the clinic was in the process of

  13           transition and the complaints being raised

  14           were from an entity other than CHS at that

  15           point.

  16                             MS. CANFIELD:     Yes.   Like the

  17                     EEOC.

  18                 A      So that's a complex situation that

  19           I will seek guidance from HR leadership on.

  20           Which is what my staff told me they were

  21           doing.

  22                 Q      At that time did Dr. Ford go out

  23           on leave in the summer of 2018?

  24                 A      She did take a leave for a period

  25           of time.     I don't remember the exact timing.
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    1                              R. MACDONALD

    2          That could be another explanation for why

    3          she was copying Dr. Barbara Rioja.

    4                Q      And did she attempt to sign off

    5          her duties to Dr. Barbara Rioja?

    6                            MS. CANFIELD:     Objection to

    7                    form.     You can answer.

    8                A      Some of them were signed off to

    9          Dr. Barbara Rioja.

  10                 Q      Now, Dr. Barbara Rioja has a

  11           Ph.D., not a medical license; am I right?

  12                 A      Yes.

  13                 Q      So wouldn't that have been

  14           problematic if Dr. Ford attempted to, I

  15           guess, convey all of her responsibilities to

  16           Dr. Barbara Rioja since she was not a

  17           medical doctor?

  18                 A      No.

  19                 Q      She could have delegated them all?

  20                 A      Her responsibilities were

  21           designated between Dr. Barbara Rioja and Dr.

  22           Subetti (phonetic).        As it pertains to the

  23           FPECC clinic, she could have delegated all

  24           of her responsibilities, yes.

  25                 Q      At that time was Dr. Subetti even
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                                                                 Page 215
    1                               R. MACDONALD

    2          working for CHS?

    3                 A      Yes.

    4                 Q      Was he a co-director at that time?

    5                 A      No.    She reported to Dr. Ford and

    6          they covered her work when she was on leave.

    7                 Q      So Dr. Subetti was working in

    8          conjunction with Dr. Barbara Rioja when she

    9          went out on leave?

  10                              MS. CANFIELD:    Objection to

  11                      form.     You can answer.

  12                  A      When Dr. Ford went out on leave,

  13           yes.

  14                  Q      So from June to, let's say, the

  15           fall of 2018, Dr. Barbara Rioja and

  16           Dr. Subetti were filling in for her?

  17                  A      Again, I'm not going to confirm

  18           those exact dates.

  19                  Q      So if that's the case, why isn't

  20           Dr. Subetti on this email?

  21                  A      You asked me if -- all of her

  22           duties could be delegated to Dr. Barbara

  23           Rioja because she's a psychologist.            And I

  24           explained that many of her duties were

  25           delegated to a psychiatrist.
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    2                       With regard to FPECC, yes, all of

    3          her duties could be delegated to a

    4          psychologist, Dr. Barbara Rioja, who is

    5          absolutely qualified to be administrative

    6          clinical director of the FPECC clinics, as

    7          she is today.

    8                Q      So I'm going to show you -- and

    9          she is the administrator director of the

  10           FPECC clinic, it's not shared between she

  11           and Dr. Subetti?

  12                 A      Today it's Dr. Barbara Rioja who

  13           has that in her direct organizational chart.

  14                 Q      And Dr. Subetti does not?

  15                 A      Correct.

  16                 Q      I'm going to show you what's going

  17           to be marked as Plaintiff's Exhibit 12.

  18           Plaintiff's Exhibit 12 bears the Bate Stamp

  19           series NYC3270, and it's the EEO service

  20           charge.

  21                           MS. HAGAN:      And that should

  22                     have been produced in the October

  23                     production.

  24                           MS. CANFIELD:       Thank you.

  25                              (Whereupon, Email (NYC_3270) was
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    1                             R. MACDONALD

    2                             marked as Plaintiff's Exhibit 12

    3                             for identification as of this

    4                             date.)

    5                Q      There's quite a bit of redaction

    6          here, but I'm asking to bear with me.            This

    7          is from Dr. Greenfield to Dr. Yang.            She

    8          says, "Patsy, was redacted, if so I would

    9          like to schedule a call next week to discuss

  10           the allegations.       This is Dr. Melissa Kaye,

  11           right?

  12                 A      Yeah.

  13                 Q      And then Dr. Yang responds to Ms.

  14           Greenfield and Ms. Laboy and Dr. Hicks.

  15           "Sorry.    This got stuck in my outgoing due

  16           to a hurricane issues late yesterday.            This

  17           is from Ms. Yang or Dr. Yang, right?

  18                        And then here you're CC'd on this.

  19           And it's a letter from Dr. Kaye's attorney.

  20           And Dr. Yang emails Ms. Laboy, yourself, and

  21           a number of other people.         She says, "This

  22           really is a Bellevue issue, but so we should

  23           remain in the loop."        Right.

  24                        But at this point, the clinics

  25           have been absorbed by CHS; am I right?               This
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    1                              R. MACDONALD

    2          is July 7, 2018.

    3                A      Yes.

    4                Q      How is this a Bellevue issue now

    5          the Bronx court clinic is now under the

    6          purview of CHS?

    7                          MS. CANFIELD:       Objection.

    8                    Maybe you should show him the

    9                    underlying document.

  10                           MS. HAGAN:      There is no

  11                     underlying document.       This is what

  12                     I'm asking you right now.        How is

  13                     this an issue --

  14                           MS. CANFIELD:       But it says

  15                     there's an attachment there, Melissa

  16                     Kaye -- under.

  17                           MS. HAGAN:      You can't coach

  18                     the witness.

  19                           MS. CANFIELD:       I'm not.     I'm

  20                     just saying --

  21                           MS. HAGAN:      I'm asking your

  22                     client a question right now.

  23                           MS. CANFIELD:       All right.

  24                     Answer if you can, Dr. MacDonald.

  25                           MS. HAGAN:      Could you please.
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    1                              R. MACDONALD

    2                Q      You're saying that this -- it's

    3          been saying that this is a Bellevue issue,

    4          but by now the clinics have been under the

    5          CHS purview for six days.         How is that?

    6                           MS. CANFIELD:      Again, answer

    7                    if you're able.

    8                           MS. HAGAN:     Please stop

    9                    coaching the witness.

  10                            MS. CANFIELD:      You know what,

  11                     you're not showing him the complete

  12                     document.    So it's a really unfair

  13                     question because obviously you're

  14                     commenting on --

  15                            MS. HAGAN:     Coaching the

  16                     witness.

  17                            MS. CANFIELD:      I'm not.

  18                     You're misleading the witness.         But,

  19                     Dr. MacDonald, answer as best you

  20                     can.

  21                 Q      Were the court clinics under

  22           Bellevue on July 7, 2018, yes or no?

  23                 A      Yes.

  24                 Q      They were under Bellevue?

  25                 A      I'm sorry.     I got confused.
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    2                       No.   As you represented, they had

    3          been with CHS for six days.

    4                Q      So if there's a pay parity issue,

    5          how is it a Bellevue problem if now the

    6          Bronx court clinic is under CHS?

    7                          MS. CANFIELD:       Again,

    8                    objection.    Assumes facts not

    9                    presented to the witness.          We don't

  10                     know what she complained about.          But

  11                     go ahead, Dr. MacDonald.

  12                 A      Yeah.    I mean, I think for a

  13           person who, as you mentioned, had been

  14           employed by Bellevue for many, many years,

  15           and as I mentioned, the transition generally

  16           takes people in at the salary that they were

  17           at, that this would be an issue that would

  18           have a great deal to do with Bellevue.

  19                        I also believe, as was mentioned,

  20           I don't know exactly what we're talking

  21           about here, but if it's a comparison to her

  22           salary with Dr. Circic, that's a person who

  23           is not employed by CHS, as far as I know.

  24                 Q      I'm going to show you what's going

  25           to be marked as Plaintiff's Exhibit 13.             And
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                                                                 Page 221
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    2          it bears the Bate Stamp series K third

    3          production 109 through 112.

    4                          MS. HAGAN:      You should have

    5                    received this during the October

    6                    production, Ms. Canfield.

    7                              (Whereupon, EEOC Charge (Kaye's

    8                              3rdProduction_109-112) was

    9                              marked as Plaintiff's Exhibit 13

  10                               for identification as of this

  11                               date.)

  12                 Q      I'm going to scroll to Dr. Kaye's

  13           EEOC charge so that you have some context,

  14           right.     I'm not sure if you actually saw the

  15           EEO charge itself.       Did you, Dr. MacDonald?

  16                 A      I don't believe so, no.

  17                 Q      At the time Dr. Kaye did complain

  18           against Bellevue.       This is right before it

  19           was absorbed by the court clinic, by CHS.

  20           You see that, right?

  21                 A      Yes.

  22                 Q      In the particulars area, she said,

  23           "I'm a 55-year-old Caucasian female who has

  24           worked for Bellevue Hospital and HHC since

  25           1999.     Most recently as the Bronx court
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    2          clinic medical director.         I believe I have

    3          been discriminated against because of my sex

    4          in violation to equal pact as amended in

    5          Title 7 of the Civil Rights Act as amended.

    6          Specifically I've been paid less than the

    7          male Manhattan court clinic medical

    8          directors, despite having the same title and

    9          job duties.     I've been paid under an

  10           attending three title since 1999, while the

  11           men, who have worked at the Manhattan court

  12           clinic medical directors have been paid as a

  13           physician specialist title.          The physician

  14           specialist title carries a significant pay

  15           increase, and the male Manhattan court

  16           clinic medical directors have made

  17           significantly more money than I over the

  18           almost 20 years I have worked here.            I

  19           believe I was given an attending three title

  20           and underpaid compared to my male

  21           counterparts because of my sex."

  22                        Now, you see this, right?

  23                 A      Yes.

  24                 Q      Does this refresh your

  25           recollection, if any?
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    1                              R. MACDONALD

    2                            MS. CANFIELD:     Objection to

    3                    form.     You can answer.

    4                A      I don't believe I've seen this

    5          document.

    6                Q      Now, just for purposes of clarity,

    7          we talked about your -- activity of sorts in

    8          the beginning of the deposition.

    9          Dr. MacDonald, is it fair to say that you're

  10           a Caucasian male?

  11                 A      Yes.

  12                 Q      So I want to go up some.         And then

  13           Dr. Kaye supplemented her charge some.             And

  14           I'd like to give you an opportunity to

  15           review what she's written.

  16                        And this is a supplemental charge.

  17           You see this, right?

  18                 A      Yes.

  19                 Q      And she says, "I filed a charge of

  20           discrimination with the EEOC on May 22, 2018

  21           based on sex discrimination against me in

  22           the form of unequal pay.

  23                             MS. CANFIELD:     Ms. Hagan, you

  24                     froze.

  25                 Q      "Specifically I alleged that HHC
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                                                                 Page 224
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    2          has paid me less than other court clinic

    3          medical directors, despite having the same

    4          title and job duties."        Right.     And she lays

    5          out her history.

    6                       Do you recall reading any of this?

    7                A      No.

    8                Q      Now, she alleges that on July 1st.

    9          The oversight of the Bronx court clinic was

  10           transferred from Bellevue Hospital to

  11           Correctional Health Services, both of which

  12           are under the offices of HHC.

  13                        Would you agree with that?

  14                 A      Yes.

  15                 Q      Now, then she says, in July

  16           of 2018 Dr. Jain and Ms. Swenson switched

  17           her title and demoted her from medical

  18           director to title of director.

  19                        Do you agree with that?

  20                 A      No.

  21                 Q      Why are you in disagreement?

  22                 A      That was not a demotion at all.

  23           They were simply standardizing the titles

  24           used in the clinic.        And it was represented

  25           to her as not a demotion and not at all
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    2          specific to her role or her performance.

    3                Q      To your knowledge, were all of the

    4          directors of all the clinics all referenced

    5          as directors?

    6                A      My understanding was that the

    7          attempt was to standardize it in that way.

    8                Q      But the question is, were they all

    9          referred to as directors?

  10                 A      By whom?

  11                 Q      Just by CHS management.

  12                 A      I don't know.      What I know from

  13           having conversations with Dr. Jain about

  14           this very thing, is that there was meaning

  15           assigned to it by Dr. Kaye that was not

  16           intended in any manner, and that it was

  17           solely to standardize the titles.

  18                        Whether the titles can be

  19           completely standardized, whether someone

  20           used the wrong title or used the wrong title

  21           for someone else subsequent to that, the

  22           fact remains that it was on a meaningful

  23           change, nor was it intended to be a demotion

  24           or a slight of any sort.

  25                 Q      Did everybody have the same
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    2          business cards and were all the directors

    3          referred to as directors and not medical

    4          directors?

    5                A      I don't know.

    6                Q      And who would have been

    7          responsible for ensuring that everybody had

    8          the same title?

    9                A      Again, it would be part of the

  10           leadership team, the management team,

  11           Dr. Jain, Ms. Swenson, the HR department,

  12           the CHS leadership team.          I simply know that

  13           this was not a change that was intended to

  14           mean anything about her position, nor was it

  15           a demotion.       And that was made clear to her,

  16           it's my understanding from talking about it

  17           with Dr. Jain at that time.

  18                 Q      Asides yourself, who was the most

  19           senior person to ensure that everyone had

  20           the exact same title amongst the directors

  21           of the clinics?

  22                             MS. CANFIELD:     Objection to

  23                     form.    You can answer.

  24                 A      With regard to being called

  25           medical director versus director?
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    2                Q      Yes.

    3                A      I'm not sure who made that

    4          decision.     It wasn't my decision.

    5                Q      It wasn't your decision.         Who's

    6          decision was it?

    7                A      I don't know.

    8                            MS. CANFIELD:     Objection to

    9                    form.

  10                 Q      Now, you have engaged in quality

  11           assurance during the course of your career;

  12           am I right?

  13                 A      Yes.

  14                 Q      And part of that effort, you

  15           described earlier that you wanted to make

  16           things more efficient and standardize things

  17           throughout the court clinics, right?

  18                 A      Yes.

  19                 Q      And in this instance, there was an

  20           effort to have all the directors at the

  21           various clinics be referenced in the same

  22           capacity, which would be the directors,

  23           right?

  24                 A      That's my understanding, yes.

  25                 Q      Who made the decision that the
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    2          titles needed to change?

    3                            MS. CANFIELD:     Objection.

    4                    Asked and answered.       You can answer

    5                    again.

    6                A      I don't know.      I know that it was

    7          represented to me by Dr. Jain after the fact

    8          as something that Dr. Kaye in particular had

    9          a real problem with.        Even though it was

  10           clearly a mechanism just to standardize

  11           those titles, and not intended to have any

  12           meaning in terms of her position or be a

  13           demotion.

  14                 Q      But you can't testify today that

  15           all of the directors at each of the clinics

  16           had, in fact, been called only director

  17           versus medical director, right?

  18                             MS. CANFIELD:     Objection to

  19                     form.    You can answer.

  20                 A      No.

  21                 Q      You can't?

  22                 A      During what time period?         Since

  23           the beginning of time or subsequent to that?

  24                 Q      After they changed.       You said that

  25           everybody had to have the same title.
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    2          Right.     So after this is put in place, you

    3          can't testify today that each of the center

    4          directors were called directors and not

    5          medical directors, right?

    6                            MS. CANFIELD:     Objection to

    7                    form.    You can answer.

    8                A      No.    I can't.    I can just say that

    9          that was not intended to be a slight or a

  10           demotion.

  11                 Q      So now I'm going to show you what

  12           will be marked as Plaintiff's Exhibit 14.

  13           Plaintiff's Exhibit 14 bears the Bate Stamp

  14           series NYC3322 to 3326.

  15                             MS. HAGAN:    And it was

  16                     produced in the October production.

  17                     Actually, we don't need that because

  18                     it's just the same thing.        So let's

  19                     scratch that.

  20                             MS. CANFIELD:     It's the same

  21                     thing as what?

  22                             MS. HAGAN:    As 13.

  23                 Q      I'm going to go to -- now, did it

  24           ever come to your attention that Dr. Kaye

  25           requested a reasonable accommodation?
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    2                            MS. CANFIELD:     Objection to

    3                    form.    You can answer.

    4                A      I don't think so.

    5                Q      So there was never a time where

    6          Dr. Kaye approached management seeking a

    7          reasonable accommodation to care for her

    8          child?

    9                            MS. CANFIELD:     Objection to

  10                     form.    You can answer.

  11                 A      I just don't specifically recall

  12           that.

  13                 Q      Do you know what management's

  14           position was for that?

  15                             MS. CANFIELD:     Objection to

  16                     form.    You can answer.

  17                 A      No.    I don't know what the outcome

  18           of that request would be.         There's a process

  19           in place for those requests to be considered

  20           and worked through.

  21                 Q      What's that process, do you know?

  22                 A      So there's, H&H has policy that

  23           governs a formal accommodation request.             And

  24           then there's a discussion between H&H

  25           central and the supervisors around what
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    2          could be reasonably accommodated.

    3                 Q      Now, I'm going to ask you some

    4          questions about that.

    5                        Dr. MacDonald, who presides over

    6          the reasonable accommodations process at

    7          H&H?

    8                 A      I don't know specifically who

    9          presides over that.

  10                  Q      So you don't know who would be

  11           engaged; am I right?

  12                              MS. CANFIELD:    Objection to

  13                      form.    You can answer.

  14                  A      No.    From my -- for when this

  15           comes across my desk personally I, again,

  16           reach out to CHS's HR leadership who direct

  17           us in the right direction of how to submit

  18           those.

  19                  Q      Now, this particular exhibit was

  20           previously produced on one of the other

  21           depositions.        It bears the Bate Stamp series

  22           NYC757 and NYC758.

  23                              MS. CANFIELD:    Is this going

  24                      to be P14?

  25                              MS. HAGAN:   Exhibit 14, yes.
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    2                             (Whereupon, Email (NYC_757-758)

    3                             was marked as Plaintiff's

    4                             Exhibit 14 for identification as

    5                             of this date.)

    6                          MS. CANFIELD:       And did you

    7                   produce it --

    8                          MS. HAGAN:      It was produced

    9                   previously.     And I can tell you --

  10                           MS. CANFIELD:       Yeah.   But

  11                    we've had hundreds of -- I don't

  12                    have hundreds of those documents.

  13                    I'm just going to ask after the

  14                    deposition if you can email me.

  15                           MS. HAGAN:      It's actually

  16                    produced at the Wangel deposition so

  17                    you should have it there.

  18                           MS. CANFIELD:       That was a

  19                    month and a half ago.        I don't have

  20                    it with me.

  21                           MS. HAGAN:      It should be in

  22                    your computer.

  23                           MS. CANFIELD:       Again, I'm

  24                    going to renew request for you to

  25                    produce all these documents again.
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    2                    Thank you.

    3                          MS. HAGAN:      Okay.    Sure.   I'll

    4                    produce the ones that I have.

    5                Q      Now, I'm going to do the share

    6          screen.     Dr. MacDonald, you can see this

    7          screen, right?

    8                A      Yes.

    9                          MS. CANFIELD:       Can you just

  10                     share the Bate Stamp numbers again

  11                     on the bottom.

  12                           MS. HAGAN:      757 and 758 NYC.

  13                           MS. CANFIELD:       All right.

  14                     Thank you.

  15                 Q      So emails from Dr. Kaye to Yvette

  16           Villaneuva.     Do you know who that is?

  17                 A      I don't know her exact title, but

  18           she's in charge of HR, as I understand it,

  19           for Health and Hospitals.

  20                 Q      And then Dr. Jain is on this

  21           email, Mr. Wangel is on this email, Dr. Ford

  22           and Dr. Kaye, right?

  23                 A      Yes.

  24                 Q      And she says, "Dear Ms. Yvette

  25           Villaneuva.     I've been a dedicated public
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    2          servant in HHC for 19 years.          I work in a

    3          the nonclinical setting at the Bronx court

    4          clinic as a forensic psychiatric evaluator

    5          and have been the medical director

    6          since 2004."       Right.

    7                       "Under my leadership the Bronx

    8          court has produced quality examinations in a

    9          most timely manner."

  10                        Would you disagree with that?

  11                 A      I'm not prepared to agree with

  12           that.

  13                 Q      Okay.    So what do you disagree

  14           with?

  15                             MS. CANFIELD:     Objection to

  16                     form.    You can answer.

  17                 A      I don't know the timeliness of

  18           Dr. Kaye's evaluation production over the

  19           course of her career.

  20                 Q      When you were there, when Dr. Kaye

  21           was under your supervision or indirect

  22           supervision, were there any complaints about

  23           her timely production of reports?

  24                 A      As I mentioned, the Bronx clinic

  25           consistently had a lower number of reports
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    2          than the other clinics.         I don't know all

    3          the root causes of that.

    4                Q      Do you believe that Dr. Kaye had

    5          any part in the alleged lower number of

    6          reports than the other clinics?

    7                A      I can't say for sure, but I

    8          certainly would not attest that she didn't.

    9                Q      Do you know when Dr. Winkler's

  10           replacement was hired to fill the position

  11           at the Bronx court clinic?

  12                 A      No.    Not specifically.

  13                 Q      Do you know when Dr. Brayton was

  14           hired?

  15                 A      No.

  16                 Q      Do you know that there was a

  17           period of time when Dr. Kaye was the only

  18           full-time evaluator at the clinic?

  19                             MS. CANFIELD:     Objection to

  20                     form.     You can answer.

  21                 A      Yes.     I mentioned there were

  22           problems with retention, yes.

  23                 Q      Do you believe that Dr. Kaye was

  24           responsible for there not being a second

  25           evaluator at the clinic?
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    2                A      I don't know.

    3                Q      What steps did you personally take

    4          to ensure that there was full coverage at

    5          that clinic, Dr. MacDonald?

    6                A      I was supporting my supervisors

    7          who were working very hard to achieve the

    8          goals that we set out when we voluntarily

    9          took over all of the clinics.

  10                 Q      So there is a window or gap

  11           between when Dr. Winkler went to fill the

  12           position at the Brooklyn court clinic as

  13           director and when Dr. Brayton actually

  14           filled in the position at the Bronx clinic,

  15           right?     You do know that, right?

  16                 A      Yes.

  17                             MS. CANFIELD:     Objection to

  18                     form.     Go ahead.

  19                 Q      So would you agree with me that

  20           from April 2018 to October 2018, Dr. Kaye

  21           was the only full-time evaluator at the

  22           Bronx court clinic?

  23                             MS. CANFIELD:     Objection to

  24                     form.     You can answer if you're

  25                     able.
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    2                A      I don't know the specific time

    3          course.     That sounds reasonable.

    4                Q      Do you know when iSight was

    5          actually fully implemented at the Bronx

    6          court clinic?

    7                A      No.

    8                Q      In fact, it wasn't actually

    9          October, it was 2018, it was December 2018,

  10           when Dr. Brayton was actually hired

  11           full-time at the clinic.

  12                        So going back to iSight.         You

  13           don't know when iSight was actually fully

  14           implemented at the Bronx court clinic; am I

  15           right?

  16                           MS. CANFIELD:       Objection.

  17                     Objection to the colloquy before the

  18                     question.    You can answer.

  19                 A      I don't know.

  20                 Q      Who was responsible for ensuring

  21           that all the clinics had iSight?

  22                 A      The administrative side of the

  23           clinics.     So Ms. Swenson, that would be her

  24           primary responsibility.         Certainly any

  25           barriers to that might be raised through
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    2          Dr. Jain or Dr. Ford.

    3                Q      And who would have been

    4          responsible for assuring that the numbers in

    5          iSight were accurate?

    6                A      I don't know exactly which data

    7          elements you're referring to.          I think there

    8          are a number of different data elements in

    9          general.

  10                 Q      Well, in particular to the 730

  11           examination production, right.           'Cause

  12           you're saying you disagree with the fact

  13           that she was producing these reports in a

  14           timely manner, right?

  15                 A      I said -- just to clarify, I said

  16           I couldn't attest to that.

  17                 Q      Okay.    So then let's keep going.

  18           She says she's worked an eight-and-a-half

  19           hour shift --

  20                 A      Over a period of 19 years that

  21           she's referencing.

  22                 Q      But you haven't worked there 19

  23           years.     I understand.     So we're moving on

  24           from that.

  25                 A      Okay.
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    2                Q      So she says, "I have worked an

    3          eight-and-a-half-hour shift from 9:00 a.m.

    4          to 5:30 p.m., with a 30-minute unpaid lunch

    5          for over 13 years, per an agreement between

    6          HHC and doctor's counsel."

    7                       Were you aware of any agreement

    8          between HHC and doctor's counsel regarding

    9          work hours?

  10                 A      No.

  11                 Q      Did you ever learn of any

  12           agreement during the course of these

  13           discussions back and forth?

  14                 A      I didn't -- no.      I didn't.

  15                 Q      "In August my shift was

  16           unexpectedly and adversely changed to

  17           8:00 a.m. to 5:00 p.m. with an hour lunch."

  18                        Was it your -- earlier you said

  19           that there was an effort to standardize the

  20           hours amongst all of the clinics.           Could you

  21           attest today that all of the directors of

  22           each of the clinics worked 8:00 a.m. to

  23           5:00 p.m.?

  24                             MS. CANFIELD:     Objection to

  25                     form.    You can answer.
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    2                A      No.   I don't know.

    3                Q      And do you know if all of the

    4          directors had one-hour lunches?

    5                A      I think that would be the case for

    6          all of the unionized directors, but I don't

    7          know for sure.

    8                Q      Then she says, "I am a single

    9          mother with a chronically ill child and this

  10           has directly interfered with my ability to

  11           provide care to my child."

  12                        Now, do you remember that, now

  13           that we're talking about it and seeing the

  14           email?

  15                 A      I can't recall this specific -- I

  16           remember there was a concern raised about

  17           the shift and the lunch duration.           I don't

  18           know that I remember -- that I've seen the

  19           specific content of the reasonable

  20           accommodation request.

  21                 Q      So now I'm going to get to that.

  22                        "I'm seeking reasonable

  23           accommodation by return to my prior shift,

  24           which was the 9:00 a.m. to 5:30 p.m. split

  25           shift and ability to work remotely."            Right?
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    2                       "My previous supervisors allowed

    3          accommodations for my son's disability, and

    4          I have been more than able to perform the

    5          essential functions of my job with no

    6          disruption in work product.          The above

    7          accommodations are needed so that I can

    8          administer treatment to my child as

    9          prescribed by his treating physician.            Due

  10           to his age, the severity of the condition

  11           and the nature of this treatment, I need

  12           to -- administrate his care.          Please advise

  13           me of informal process at HHC for seeking

  14           reasonable accommodations.          Currently, I do

  15           not know about HHC's policy process for

  16           designated persons for obtaining reasonable

  17           accommodations."

  18                        Apparently, do you know today who

  19           she would have to go to for reasonable

  20           accommodations, Dr. MacDonald?

  21                           MS. CANFIELD:       Objection.

  22                     Asked and answered.       You can answer

  23                     again.

  24                 A      As I said, I mean, I would start

  25           with our CHS leadership to get their advice
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    2          on that.

    3                 Q       I'm going to ask you a question,

    4          you.       You're talking about you would start

    5          with CHS leadership.           I'm asking you today

    6          for --

    7                         If I'm your staff person,

    8          Dr. MacDonald, and I say, Dr. MacDonald, I

    9          have -- I've been falling out from COVID for

  10           the last two years.        I need a reasonable

  11           accommodation.        Right.     Who are you going to

  12           direct me to?        What is their name?

  13                              MS. CANFIELD:     Objection to

  14                      form.    Asked and answered.     You can

  15                      answer again.

  16                  A       As I said many times, I would

  17           double check to make sure I have the right

  18           person with our CHS leadership.           It may very

  19           well be Mr. Marazo,        who I believe is on

  20           this email chain, though I am not.            But I

  21           want to make sure that I get that right.              So

  22           I always go to our CHS leadership and HR, to

  23           make sure that they are aware of the request

  24           and that it goes through the right channel.

  25                  Q       I'm going to ask you a question,
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    2          and I want you to be succinct and fair.

    3                       Do you know who the person is who

    4          is responsible for the processing reasonable

    5          accommodation requests?

    6                            MS. CANFIELD:     Objection to

    7                    form.    Asked and answered.

    8                Q      What is their name?

    9                            MS. CANFIELD:     Asked and

  10                     answered.    You can answer again.

  11                 A      As I said, I would double check

  12           with our HR leadership.         I know Mr. Morazo

  13           who is on this email chain --

  14                 Q      But you don't know; isn't that

  15           fair?

  16                             MS. CANFIELD:     Excuse me.

  17                     You're harassing the witness.            He's

  18                     trying to respond.      You're harassing

  19                     him.

  20                             MS. HAGAN:    He doesn't know

  21                     the person's name.      He needs to just

  22                     admit it so we can move on.         We

  23                     don't know his name.

  24                             MS. CANFIELD:     Thank you.       He

  25                     does know his name.       He just --
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    2                Q      What's his name?

    3                          MS. HAGAN:      No.     He doesn't.

    4                Q      At the time, did you know that Dr.

    5          Kaye should have gone to Mr. Morazo?

    6                          MS. CANFIELD:         Does it matter?

    7                    Obviously Dr. Kaye didn't either, so

    8                    let's move on.

    9                          MS. HAGAN:      If Dr. Kaye

  10                     doesn't know -- I'm asking him a

  11                     question.     I'm not letting up.

  12                 Q      Did you know that Dr. Kaye should

  13           have gone to Mr. Morazo at the time?

  14                 A      My job as a supervisor is to get

  15           the person to the right people to address

  16           their request.        And I know I could do that.

  17           I don't have to know who it was at that

  18           time.     And it's better if I double check so

  19           I don't send them to the wrong person.

  20                 Q      Dr. MacDonald, would you have

  21           known to go to Mr. Morazo if you needed a

  22           reasonable accommodation at that time, yes

  23           or no?

  24                 A      I wouldn't --

  25                           MS. CANFIELD:         Objection.
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    2                    Asked and answered.

    3                Q      I'm asking you right now.         Would

    4          you know to go to him?

    5                A      I wouldn't have gone to him

    6          directly.     So, no, I would not have know to

    7          go to him, because I would not have gone to

    8          him directly.

    9                Q      Does HHC have a reasonable

  10           accommodation policy that basically lays out

  11           who is the person?

  12                 A      Yes.

  13                 Q      Did you read that policy?

  14                 A      Yes.     And I could find it on the

  15           Internet right now.        My point is, I know

  16           exactly how to get this done for my staff.

  17                 Q      Right.     But you don't know that

  18           person's name, though?

  19                 A      No.

  20                           MS. CANFIELD:       Objection.

  21                     Again, assumes that there's one

  22                     person -- officers.       Let's move on.

  23                 A      That person could have been

  24           replaced yesterday, for all I know.

  25                 Q      But you didn't know and you didn't
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    2          have the policy at that time, because

    3          Dr. Kaye didn't know it either; am I right?

    4                          MS. CANFIELD:       Objection.

    5                    There is a policy.      You can answer.

    6                A      I absolutely knew that there was a

    7          policy and how to get to it and how to get

    8          to the appropriate people to address a

    9          request like this.

  10                 Q      At the end of this email Dr. Kaye

  11           says, "Please advice me of the formal

  12           processes at HHC for seeking reasonable

  13           accommodations.       Currently, I do not know

  14           about HHC's policy process or designated

  15           persons for obtaining reasonable

  16           accommodations."       Right?

  17                        You see that at the end of the

  18           email, right?

  19                 A      I do.

  20                 Q      Then Mr. Wangel said, "Dr. Kaye,

  21           Mr. Morazo is the EEO officer assigned to

  22           Correctional Health Services."           Right?

  23                 A      Yes.

  24                 Q      "Please reach out to him directly

  25           and is he will explain the procedure to
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    2          request a reasonable accommodation.            I have

    3          included his contact information below.

    4          Thank you."

    5                       Now, he's designated as the EEO

    6          officer for Correctional Health Services; am

    7          I right?

    8                A      That's what Mr. Wangel is

    9          indicating here at that time, yes.

  10                 Q      Right.     Mr. Wangel doesn't send

  11           Dr. Kaye a policy in this email.           You don't

  12           see any attachments here, right?

  13                           MS. CANFIELD:       Objection.     You

  14                     can answer.

  15                 A      No.    I don't.

  16                 Q      And then he directs Dr. Kaye to

  17           contact Mr. Morazo, right.          And then Ms.

  18           Laboy tells Mr. Wangel to remove PY, I guess

  19           Ms. Yang, from the responses.          Do you know

  20           why that would be the case?

  21                 A      No.

  22                 Q      Had you ever seen any email like

  23           that before, to remove Ms. Yang from the

  24           emails?

  25                 A      Yes.
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    1                              R. MACDONALD

    2                Q      Why?

    3                A      Patsy at times doesn't want to get

    4          extraneous emails in her inbox.           So she'll

    5          sometimes request to be removed from chains.

    6                Q      So a request from a person whose

    7          filed a EEOC complaint and complained of pay

    8          parity, and now she's saying that she needs

    9          to have her shift reverted so that she can

  10           deal with a special needs child, that would

  11           be an extraneous email?

  12                           MS. CANFIELD:       Objection.

  13                     Mischaracterization.       You can

  14                     answer.

  15                 A      For the senior vice president to

  16           be on every iteration of that email chain

  17           would be, yes.

  18                 Q      From your knowledge, did Ms. Yang

  19           contact any of you to find out if Dr. Kaye

  20           received the reasonable accommodation?

  21                           MS. CANFIELD:       Objection.     You

  22                     can answer if you're able.

  23                 A      Not to my knowledge.

  24                 Q      Was there a reason why Dr. Kaye

  25           could not go back to her shift of 9:00 to
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    1                              R. MACDONALD

    2          5:30?

    3                            MS. CANFIELD:     Objection to

    4                    form.    You can answer.

    5                A      I don't know.

    6                Q      Did you speak to any of the staff

    7          members about the reasonable accommodation

    8          request that Dr. Kaye sought?

    9                A      I did not.

  10                 Q      Okay.    Why not?

  11                 A      In general, these processes go

  12           through, they follow the H&H policy, where

  13           there's a process to discuss the potential

  14           accommodation with the staff member's

  15           supervisor.       The supervisor makes the

  16           decision about whether their clinic can

  17           accommodate that.

  18                 Q      Now, I have a question,

  19           Dr. MacDonald.       Is there an appeals process

  20           if the employee does not agree with the

  21           outcome or the decision made at H&H?

  22                             MS. CANFIELD:     Objection to

  23                     form.    What kind of decision?       You

  24                     can answer if you're able.

  25                 Q      If a reasonable accommodation
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    2          request is denied, does the H&H employee

    3          have the option of appealing that decision?

    4                A      I don't know that detail.         I would

    5          look at the policy on the website to answer

    6          that question.

    7                Q      So you're not sure about that.

    8                       I'm going to direct you to what's

    9          going to be known as Plaintiff's Exhibit 15.

  10           And Plaintiff's Exhibit 15 is the Board of

  11           Correction complaint.        And it was produced

  12           in the October production.          It does not have

  13           a Bate Stamp.

  14                              (Whereupon, Correction Complaint

  15                              was marked as Plaintiff's

  16                              Exhibit 15 for identification as

  17                              of this date.)

  18                           MS. CANFIELD:       What's the name

  19                     of the document?

  20                           MS. HAGAN:      It's the Board of

  21                     Correction complaint that Dr. Kaye

  22                     filed.

  23                           MS. CANFIELD:       I have

  24                     something that says board.

  25                           MS. HAGAN:      I guess that would
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                                                                 Page 251
    1                             R. MACDONALD

    2                   be it.    January 7, 2020.       The

    3                   October production.

    4                          MS. CANFIELD:       I'm looking at

    5                   it.   No, this is not -- this is

    6                   about board exams that I'm looking.

    7                          It was not provided.        If you

    8                   could provide that as well.

    9                          MS. HAGAN:      It should be

  10                    provided in the --

  11                           MS. CANFIELD:       It was not.     If

  12                    you can just put --

  13                           MS. HAGAN:      It's okay, Ms.

  14                    Canfield.     Now, I'm going to give an

  15                    opportunity for Dr. MacDonald to

  16                    read the document.       You have it.

  17                           MS. CANFIELD:       I do not have

  18                    it, but I would like to read it.           So

  19                    I will read it now.

  20                           MS. HAGAN:      It was produced.

  21                           MS. CANFIELD:       In fact, I

  22                    don't think this was ever produced.

  23                    Can you show me the Bate Stamp

  24                    numbers, please.

  25                           MS. HAGAN:      There is no Bate
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    1                             R. MACDONALD

    2                   Stamp and I sent it --

    3                           MS. CANFIELD:      Well, it was

    4                   not properly produced.        It needs to

    5                   be produced with Bate Stamps --

    6                           MS. HAGAN:     Let's give him a

    7                   chance to read it.

    8                           MS. CANFIELD:      But I'm asking

    9                   if you can produce this document.

  10                            MS. HAGAN:     I'll produce it

  11                    again.    I'll do it at whatever way I

  12                    please.    How about that.

  13                            MS. CANFIELD:      Well, we do it

  14                    with Bate Stamps.       But now we're

  15                    aware it's a -- document, please --

  16                            MS. HAGAN:     I'll do it

  17                    whatever way I please how about

  18                    that.

  19                            MS. CANFIELD:      We do it with

  20                    Bate Stamps.      It's a state document

  21                    he can read.

  22                            MS. HAGAN:     You don't have to

  23                    keep stalling.      Let him read.

  24                    I'll --

  25                            MS. CANFIELD:      I'm not
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    1                              R. MACDONALD

    2                    stalling.     I've asked for this

    3                    several times.

    4                            MS. HAGAN:    And you've had it

    5                    several times.

    6                            MS. CANFIELD:     Excuse me.     I'm

    7                    not creating busy work for you, Ms.

    8                    Hagan.    I'm just honestly saying I

    9                    don't have it, it's not Bate

  10                     Stamped, that's how you refer to

  11                     them.     Can you please scroll through

  12                     them.

  13                             MS. HAGAN:    Are you continuing

  14                     to read, Dr. MacDonald?        I know

  15                     there's a lot of talking in the

  16                     background.

  17                 A      I'm sorry.     Can you go to the top

  18           again.

  19                 Q      Sure.

  20                 A      Okay.    You can scroll down.

  21                 Q      Now, do you recognize this

  22           complaint, Dr. MacDonald?

  23                 A      Yes.

  24                             MS. CANFIELD:     Can we read the

  25                     whole thing because I don't want see
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    2                    it.     I don't have a copy.      And,

    3                    actually, before Dr. Kaye's

    4                    deposition on Monday, I would like a

    5                    copy of this in my mail box, Bate

    6                    Stamped, please.

    7                            MS. HAGAN:    You'll have a

    8                    copy.

    9                            MS. CANFIELD:     Okay.   Please

  10                     provide that.

  11                 Q         Now, I'm going to ask you some

  12           questions and I'm going to let you continue

  13           to read, but I want to ask you some

  14           questions about the dual agency, because we

  15           talked about the dual loyalty discussion

  16           earlier.

  17                           Now, there is a paragraph here

  18           that talks about dual agency prohibitions,

  19           right?     And it says, "A fundamental dictum

  20           for the ethical practice of psychiatry is to

  21           void dual agency in the practice of clinical

  22           and forensic psychiatry.          This mandates a

  23           clear distinct preparation between clinical

  24           treatment and forensic assessments to guard

  25           against ethical, legal and practice
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    2          violations.     Avoiding the overlap clinical

    3          treatment with forensic activities to ensure

    4          forensic evaluation render unbiased

    5          psychiatric legal opinions and protects the

    6          confidentiality afforded to patients in

    7          treatment relationships.

    8                       She accuses CHS of wantonly

    9          violating the dual agency prohibition,

  10           causing direct harm in defendants.            In

  11           treatment, a defendant is a patient and

  12           there's a doctor/patient relationship that's

  13           supportive, accepting and emphatic.            The

  14           goal is to benefit the patient and the

  15           relationship is not adversarial.           The

  16           clinician provides treatment and advocacy

  17           and diagnostic assessment for the purpose of

  18           clinical care, with minimal scrutiny applied

  19           to information obtained HIPPA applies.               By

  20           contrast, in a forensic evaluation there is

  21           no doctor/patient relationship.           There's

  22           attorney-client privilege and judicial

  23           authority.     The forensic evaluation is

  24           neutral, objective and detached.           The

  25           expertise and focus of the forensic
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    2          evaluator is to address the psychiatric

    3          legal question for the Court.          The

    4          evaluators attorneys and the court

    5          scrutinize the information in an adversarial

    6          setting.     The relationship between the

    7          forensic evaluator in evaluating is based on

    8          clinical judgment and there is no

    9          therapeutical lines.        HIPPA does not apply.

  10                        Now, she does says CHS has

  11           wantonly violated in the dual agency

  12           prohibition, causing direct harm to

  13           defendant.     You disagree with that; am I

  14           right, Dr. MacDonald?

  15                 A      I do disagree with that, yes.

  16                 Q      Why do you disagree?

  17                 A      Because there's no evidence of

  18           that, and we work very hard to respect the

  19           principles which she lays out in this

  20           section.

  21                 Q      You issued this policy, right,

  22           this dual agency policy that we had talked

  23           about earlier today, right?

  24                        Is that what you're referencing as

  25           your efforts to --
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    1                             R. MACDONALD

    2                A      I don't believe that policy used

    3          the term dual agency to talk about dual

    4          roles.    And absolutely, you know, this is a

    5          clear ethic and an important principle that

    6          we've abided by from the beginning.

    7                       The fact of wanting to do the

    8          evaluations as efficiently as possible for

    9          the sake of minimizing the time at a

  10           population level, people stay in pretrial

  11           detention has nothing to do with individual

  12           evaluations, which must be protected.

  13                        And CHS has never done anything to

  14           influence the results of any of the

  15           evaluations in the court clinics.           And we

  16           never would because we understand the

  17           distinctions that she has laid out here.

  18           The only sentence I disagree with is the one

  19           that she's presented here in bold with no

  20           evidence for, which is that we wantonly

  21           violated these principles.          We, in fact,

  22           agree with the principles she's laid out

  23           here, and that's how we've operated from the

  24           beginning.

  25                 Q      So at no point was there a push to
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                                                                 Page 258
    1                              R. MACDONALD

    2          do evaluations either without records or

    3          with redacted records by CHS management?

    4                            MS. CANFIELD:     Objection to

    5                    form.    You can answer.     It seems to

    6                    be the right topic, but go ahead.

    7                A      I think we've been through the

    8          legitimate differences of clinical opinion

    9          that someone like Dr. Ford had with Dr. Kaye

  10           on that issue.       And that is not at all a

  11           violation of any of the principles here.

  12                 Q      So there is a question as to

  13           whether or not a defendant is entitled to a

  14           thorough assessment of their psychiatric

  15           status; is that fair?

  16                 A      No.    Absolutely not.      There's no

  17           question that they are entitled to a

  18           thorough assessment of their psychiatric

  19           status.     The question is whether certain

  20           types of information that are redacted from

  21           the chart by law, and have to be, because we

  22           haven't been able to get around the

  23           provisions of New York State law that

  24           require them to be, are a reason to not do

  25           an evaluation, versus in the formulation, as
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    1                             R. MACDONALD

    2          Dr. Ford laid out in her email, indicating

    3          what any barriers were.

    4                Q      I'm going to ask you something.

    5          What New York State law are you referencing

    6          that requires the redaction of medical

    7          records?

    8                A      Again, I'm not an attorney, but I

    9          represented to you that CHS looked into

  10           these questions with attorneys who represent

  11           CHS and H&H, and came to these conclusions.

  12                        Obviously, it's our preference,

  13           given the reasons why we embarked on

  14           consolidating these clinics, taking this

  15           over, trying to make it better, that we

  16           would want all the records to be unredacted.

  17           Not require less effort on the part of our

  18           staff who have to do those redactions and

  19           the records would come virtually

  20           instantaneously because it's all electronic.

  21                 Q      Now I'm going to ask you --

  22                 A      So there's no reason that we would

  23           want to present a barrier to that for any

  24           cause other than what we understood it to be

  25           required by law.
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    2                 Q     Now, are there instances where a

    3          person, I guess a medication that a person

    4          might have or take, would impact their

    5          ability to knowingly participate in their

    6          defense?

    7                 A     Certainly.     And there are all

    8          kinds of complex issues related to the

    9          practice of doing these forensic

  10           evaluations.

  11                  Q     And what about the substance abuse

  12           history, would that have been something that

  13           would have been redacted from these medical

  14           records?

  15                  A     Again, only as far as it's legally

  16           required to be.

  17                  Q     Now, if they were redacted, the

  18           substance abuse history, couldn't that have

  19           also impacted on a person's ability to be

  20           fit?

  21                  A     I think that my understanding of

  22           this, from talking to experts who I've

  23           supervised, who are in charge of this

  24           program, is that you can make a reasonable

  25           determination of how much information that
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    2          you were not privy to, might have impacted

    3          your evaluation in a specific case, and that

    4          you can include that in your report.            And

    5          that that would be a reasonable way to deal

    6          with that information, to then allow the

    7          courts to make a decision about where to go

    8          from there.

    9                Q      Who are the experts that you're

  10           identifying?

  11                             MS. CANFIELD:     Objection to

  12                     form.    Experts in charge of what?

  13                 Q      What experts are you identifying

  14           that you conferred with regarding the

  15           information that would be necessary for an

  16           evaluator to make a reasonable assessment of

  17           the records?

  18                 A      In this case, I'm representing an

  19           opinion that I believe would be agreed to by

  20           Dr. Elizabeth Ford, who is in charge of

  21           these clinics, or the initial period under

  22           which we took them over.

  23                 Q      Now, Dr. Ford, is it your opinion

  24           that Dr. Ford had more expertise on this

  25           subject matter than Dr. Kaye?
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    2                A      I think Dr. Ford had a broader

    3          perspective that encompassed the range of

    4          opinions from all the evaluators in both her

    5          broad clinical experience in forensic

    6          psychiatry, and her management of the

    7          clinic.    I don't think that, if there's a

    8          reasonable difference of opinion on a

    9          matter, that the person who's been doing it

  10           the longest is necessarily the person whose

  11           opinion is most valid.

  12                 Q      Now, Dr. Kaye had been doing the

  13           longest; am I right?

  14                 A      Probably had, yes.       It doesn't

  15           mean that she is correct about every one of

  16           her assertions.       That gets out the root of

  17           the challenges that her supervisors face

  18           with her, because any disagreement with Dr.

  19           Kaye's opinion was taken as a personal

  20           attack, when it was not.         And really the

  21           effort was to work together to make the

  22           clinics better.

  23                 Q      Did anyone really confer with

  24           Dr. Kaye before imposing this particular set

  25           of requirements on her, any other
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    1                             R. MACDONALD

    2          directors -- I mean, you had Dr. Winkler

    3          saying that he needed unredacted records,

    4          right, and you also have Dr. Kaye saying she

    5          needs unredacted records.         Now, you have two

    6          doctors, two evaluators saying that they

    7          need unredacted records.

    8                       So there's not just difference of

    9          opinion with Dr. Kaye and Dr. Ford, there's

  10           at least another doctor saying that they

  11           disagree with this, and even Dr. Mundy at

  12           some point.

  13                 A      Again, all of those are aligned

  14           that we want the records to be unredacted.

  15           That would have been the easiest path and

  16           the most efficient path, and that was our

  17           goal.     It is only legal barriers that made

  18           that impossible to do.

  19                 Q      So who put those legal barriers in

  20           place, Dr. MacDonald?

  21                           MS. CANFIELD:       Objection.

  22                     Asked and answered.       You can answer

  23                     again.

  24                 A      Not CHS.

  25                 Q      So who did?
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    1                              R. MACDONALD

    2                A         Again, as I've said many times,

    3          CHS's intention was to remove all barriers

    4          to doing this process efficiently and

    5          effectively.

    6                Q         Who wanted to remove the barriers?

    7                A         The investigation of the

    8          legalities of that lead us to understand

    9          that we need to continue to redact that

  10           information.

  11                 Q         Dr. MacDonald, you keep saying

  12           there are legal barriers, but who is

  13           responsible for the legal barriers?

  14                 A         I don't know.   I'm not a lawyer

  15           and I can't say.        But I know that that was

  16           the investigation that was undertaken, and

  17           that the advice of the counsel, the

  18           interpretation of the law of New York State

  19           was that we had to do it that way.

  20                 Q         If the court requested --

  21                 A         And so that's not for me to

  22           disagree with, it's not for Dr. --

  23                             MS. CANFIELD:     Hold on.    Hold

  24                     on.     One at a time, please.

  25                 Q         Dr. MacDonald, the court demanded
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    1                             R. MACDONALD

    2          unredacted records.        Judge Moore requested

    3          unredacted records, he ordered.           Yet CHS

    4          insisted upon producing redacted medical

    5          records.

    6                       Where is CHS getting the authority

    7          to defy the Court?

    8                          MS. CANFIELD:       Objection.

    9                    Objection.    We've not -- who's Judge

  10                     Moore?   We haven't been talking

  11                     about Judge Moore.

  12                           MS. HAGAN:      We talked about

  13                     Judge Moore earlier.       Please.

  14                           MS. CANFIELD:       We talked about

  15                     Judge Torres.     Okay.    Whatever.      Go

  16                     ahead, answer.

  17                 Q      Is that going to be your answer,

  18           Dr. MacDonald, who's Judge Moore; is that

  19           your answer?

  20                 A      No.   I'm going to say that I'm not

  21           an attorney.       I can't answer that question.

  22           But I can say with certainty that CHS has no

  23           motivation to hinder the evaluations.            And

  24           so we would not be doing any of that unless

  25           we were being counseled by lawyers that we
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    2          had to do that.

    3                Q      Now, is Patrick James Albert an

    4          expert in criminal law?

    5                A      I don't believe so.       He's an

    6          attorney by training, and he was an

    7          administrator for CHS.

    8                Q      And wasn't he advising you and CHS

    9          management as to whether or not these

  10           medical records should be redacted?

  11                 A      He was involved in the exploration

  12           of that question.       I don't think that it

  13           would have been his final decision.

  14                 Q      And didn't a Brendon McVay

  15           (phonetic) also participate in the process

  16           of determining whether or not these medical

  17           records should be redacted?

  18                 A      Yes.     I believe so.

  19                 Q      And is Mr. McVay an expert in, I

  20           guess the 730 examination process?

  21                             MS. CANFIELD:     Objection to

  22                     form.     We are talking about HIPPA

  23                     laws, not examination process, but

  24                     go ahead.

  25                 A      I don't know him to be.
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    1                              R. MACDONALD

    2                Q      Is he an expert on HIPPA laws?

    3                A      I don't know him to be.

    4                Q      Is he an expert on criminal

    5          matters?

    6                A      No.    But, again, he has the

    7          resources of the law department and H&H's

    8          legal department to help him with areas of

    9          expertise that are beyond his.

  10                 Q      His purview?

  11                 A      Yes.

  12                 Q      Now, at any point was there an

  13           issue with Dr. Kaye recording an

  14           examination?

  15                 A      Yes.

  16                 Q      What do you remember about that?

  17                 A      I don't remember exactly how it

  18           came to light, but it became known to the

  19           clinic supervisors that Dr. Kaye was

  20           recording examinations without their

  21           awareness.

  22                 Q      And, I mean, what exactly do you

  23           remember about that?

  24                 A      I remember that it came to light,

  25           and there was a question -- you know, it
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                                                                  Page 268
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    2          seemed like a breach of policy.           And my

    3          impression was that it had been done without

    4          consent.     And there was a discussion of

    5          whether it rose to the level of a

    6          termination offense.

    7                Q      Now, wasn't the instance with

    8          Dr. Kaye allegedly recorded the exam

    9          involving Jose Gonzalez?

  10                 A      I don't know.

  11                 Q      Do you know who Jose Gonzalez was

  12           or is?

  13                 A      No.

  14                 Q      Do you remember him being the EMT

  15           killer?

  16                           MS. CANFIELD:       Objection.

  17                     Asked and answered.       You can answer

  18                     again?

  19                 A      No.

  20                 Q      At any point during the process of

  21           the discussions to, I guess, address the

  22           issue of Dr. Kaye recording the examination,

  23           did you ever speak to her --

  24                 A      No.

  25                 Q      -- about her claim?       Why not?
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    2                A         There was no particular reason for

    3          it to be worked out between her and I versus

    4          at the level of her supervisors and HR and

    5          legal, because there was some legal

    6          questions around this.

    7                Q         Did you inquire about disciplining

    8          Dr. Kaye about recording the exam?

    9                A         I don't recall.

  10                 Q         I'm going to show you what's going

  11           to be marked as Plaintiff's Exhibit 15.             It

  12           was produced in the October production.

  13                             MS. CANFIELD:     I think it's

  14                     16.

  15                             MS. HAGAN:    I guess you would

  16                     be right.     It would be 16.     And it

  17                     was produced in the October

  18                     production.     And it bears the Bate

  19                     Stamp series NYC2946.

  20                               (Whereupon, Email (NYC_2946) was

  21                               marked as Plaintiff's Exhibit 16

  22                               for identification as of this

  23                               date.)

  24                             MS. CANFIELD:     I just want to

  25                     be clear, when you say October
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    1                              R. MACDONALD

    2                    production, you mean the emails you

    3                    sent me with the exhibits you used

    4                    in Dr. MacDonald's --

    5                          MS. HAGAN:      Original

    6                    deposition.

    7                          MS. CANFIELD:       That's what I

    8                    thought.    All right.     I'm looking

    9                    for it.    2946?

  10                           MS. HAGAN:      Yes.

  11                           MS. CANFIELD:       Got it.

  12                 Q      Now, Dr. MacDonald, there's an

  13           email from you on June 18, 2019.           And it

  14           says regarding recording the forensic exam.

  15                        You see that, right?

  16                 A      Um-hmm.

  17                 Q      And then Dr. Ford responds to you

  18           and Dr. Wangel, "Note, Kaye was out on FMLA

  19           and leave until the time I clarified my role

  20           in this until yesterday.         Am calling her

  21           today to schedule.       Clarence and I are

  22           meeting with her."

  23                        Who's Clarence?

  24                 A      Clarence Mare is an administrator

  25           manager within CHS.
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    1                              R. MACDONALD

    2                Q      Would it be common that Dr. Ford

    3          would meet with him and Dr. Kaye about a

    4          matter of this sort?

    5                A      I don't know that there were

    6          commonly matters that rose to this level.

    7          It doesn't seem unusual to me.

    8                Q      And you write this email to

    9          Dr. Ford with the subject, "Did we complete

  10           the discipline", right?

  11                 A      Yes.

  12                 Q      Now, you're referring to the

  13           recording exams in the discipline, okay.             So

  14           what do you think that -- what does that

  15           entail in your thought process,

  16           Dr. MacDonald?

  17                             MS. CANFIELD:     Objection to

  18                     form.     You can answer.

  19                 A      It entails a meeting with Dr. Kaye

  20           to go over the discipline and expectation.

  21                 Q      Now, at that time was there a

  22           policy in place that prohibited forensic

  23           evaluators from recording examinations?

  24                 A      No.    It hadn't occurred to us to

  25           create such a policy.
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    1                              R. MACDONALD

    2                Q      So why are you referring to it as

    3          discipline at this point if there was no

    4          policy in place?

    5                A      Because it still seemed like a

    6          breach of the trust of the people involved.

    7          It still seemed like a significant problem.

    8          And even if there was not a specific policy

    9          prohibiting it, it seemed clear to us that

  10           there was reasonable judgment that would

  11           have made it obvious that it should be

  12           discussed with clinic leadership or with the

  13           other parties who are being recorded.

  14                 Q      Now, you're saying all this.          Did

  15           you refer to any, I guess, any guiding

  16           documents in your assessment in making the

  17           determination that recording exams was a

  18           violation or breach of any kind of sort?

  19                             MS. CANFIELD:     Objection to

  20                     form.    You can answer.

  21                 A      No.

  22                 Q      Okay.    Why not?

  23                 A      Because I'm making that assessment

  24           as a person with a reasonable familiarity

  25           with these clinics and just professional
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    1                              R. MACDONALD

    2          practice in general.        But if you're going to

    3          be recording people, it's just basic decency

    4          to let them know and to make sure that

    5          everyone is aware of that, including your

    6          supervisor, if you're doing it in a work

    7          setting.

    8                Q      Now, do you know who was present

    9          when Dr. Kaye allegedly recorded

  10           Mr. Gonzalez's exam?

  11                 A      No.

  12                 Q      Do you know when she recorded his

  13           exam?

  14                 A      No.

  15                 Q      So who should she have told, if

  16           you don't know who was there, who should she

  17           have told?

  18                             MS. CANFIELD:     Objection to

  19                     form.    You can answer.

  20                 A      Her supervisors.

  21                 Q      But her supervisors --

  22                 A      And people who were present,

  23           whoever they might have been.

  24                 Q      Did you know if this was standard

  25           practice or not?
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    1                             R. MACDONALD

    2                 A     I knew it to not be standard

    3          practice.

    4                 Q     How did you make that

    5          determination?

    6                 A     Because we had never heard of it

    7          from anyone before.

    8                 Q     Did you consult with the APPL

    9          guidelines for recording of examinations in

  10           your assessment?

  11                  A     No.   I just explained to you why I

  12           had a problem with it and what the problem

  13           was.

  14                  Q     Okay.    I'm going to show you

  15           what's going to be marked as Plaintiff's

  16           Exhibit 17.     Plaintiff's Exhibit 17 are the

  17           APPL guidelines.       I believe actually I

  18           edited them.       So they don't have a Bate

  19           Stamp, but they were produced today.

  20                              (Whereupon, APPL Recording

  21                              Guidelines was marked as

  22                              Plaintiff's Exhibit 17 for

  23                              identification as of this date.)

  24                           MS. CANFIELD:       Edited version?

  25                           MS. HAGAN:      Yes.
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    1                              R. MACDONALD

    2                          MS. CANFIELD:       Is that APPL

    3                    video recording guidelines?

    4                          MS. HAGAN:      Yes.   And it

    5                    should be four pages.

    6                          MS. CANFIELD:       Thank you.     I

    7                    have that.

    8                Q      Now, I'm going to show you some

    9          highlighted portions of the document.            And

  10           this is going to be Plaintiff's Exhibit 17.

  11           Okay.

  12                        Now, the first portion I'm going

  13           to show you, Doctor -- first off, I'm going

  14           to show you the first page.          Title page is,

  15           Video Recording the Forensic Psychiatric

  16           Evaluation.     You see that, the APPL task

  17           force, right?

  18                 A      Yes.

  19                 Q      I'm going to scroll down to the

  20           highlighted portion here.         It says, "There

  21           is some disagreement regarding the necessity

  22           of obtaining consent for video recording

  23           interviews.     Some experts feel that video

  24           recording is equivalent to note taking and

  25           that only consent to the interview is
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    1                              R. MACDONALD

    2          necessary."     You see that, right?

    3                A      Yes.    I also see the next

    4          sentence.

    5                Q      "It is generally prudent to notify

    6          the opposing attorney that you are planning

    7          to videotape.       If the attorney has

    8          objections, they may be raised before the

    9          evaluation proceeds.        It's prudent, but it's

  10           not necessarily required."

  11                        You do see that, right?

  12                 A      Yes.    And, again, talking about a

  13           person who's working in the context of an

  14           organized clinic, where they work with

  15           colleagues and they work under an

  16           administrated structure.         So it's not just

  17           what APPL says about this that's at

  18           question.     But as a person operating in a

  19           clinic with my colleagues and my

  20           supervisors, should I be recording routinely

  21           without telling anybody.

  22                 Q      But she's not being accused of

  23           recording routinely.        She's being accused of

  24           recording this --

  25                 A      Should not record even once
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    1                              R. MACDONALD

    2          without telling the people I work with and

    3          my supervisors.       That the judgment question,

    4          that I'm making a judgment about as a person

    5          and as a manager of people in the variety of

    6          different settings.

    7                Q      But, Dr. MacDonald, you've already

    8          testified earlier that you're not really

    9          aware who was present at this exam; am I

  10           right, besides Dr. Kaye?

  11                             MS. CANFIELD:     Objection to

  12                     form.    You can answer.

  13                 Q      Right?

  14                 A      I'm certain that there was a

  15           defendant present and another examiner and

  16           probably an attorney.

  17                 Q      Right.

  18                 A      I don't know the specific

  19           individuals.       But, again, this is more about

  20           whether you would do that without telling

  21           your supervisor in the course of your

  22           employment in a clinic where you worked with

  23           other people.

  24                 Q      How would it come to be that she

  25           would be -- how would it come to be that
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                                                                 Page 278
    1                              R. MACDONALD

    2          Dr. Kaye, who does any number of 730 exams

    3          in a given day, that she's going to record

    4          this particular 730 exam, she's going to

    5          tell Dr. Jain, oh, I'm going to record this

    6          exam?     I mean, how do you propose that

    7          works?     There was no process like that in

    8          place beforehand; am I right?

    9                            MS. CANFIELD:     Objection to

  10                     form.    You can answer.

  11                 A      Yeah.    So either it was an

  12           extraordinary thing that she did only in

  13           that case, in which case she should bring it

  14           up to her supervisor, or as something she

  15           routinely, in which case she should bring it

  16           up to her supervisor.        It's a question of

  17           judgment.

  18                 Q      But there was nothing in place to

  19           that, right?       Now, I'm going to scroll --

  20                 A      Again, it's a question of

  21           judgment.     There was no policy in place

  22           because we didn't think we needed to write a

  23           policy to cover that situation.

  24                 Q      Now, there's some advantages to

  25           recording here, right.        It says, "The
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                                                                 Page 279
    1                              R. MACDONALD

    2          advantages include accuracy of the record,

    3          improvement in recording, and the ability to

    4          use recordings in court to support an

    5          expert's opinion.       The disadvantages include

    6          the likely occurrence of more intricate

    7          cross examination by the opposing attorney.

    8          Close scrutiny by the expert, inconvenience

    9          and unknown affect on the interviewer.             And

  10           the remote possibility of their use as a

  11           basis for liability," right?

  12                        But that wasn't the issue that

  13           anyone had, right?

  14                             MS. CANFIELD:     Objection to

  15                     form.

  16                 Q      Now, I'm going to this portion

  17           here.

  18                        "The task force finds the option

  19           of video recording to be an ethically

  20           acceptable medical practice."          Right?

  21                        Now, how is it that if APPL that

  22           governs psychiatry, the practice of

  23           psychiatry, and it's the task force, they

  24           find it to be ethically acceptable, but CHS

  25           doesn't?
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    1                              R. MACDONALD

    2                            MS. CANFIELD:     Objection to

    3                    form.     You can answer.

    4                A      I hope that one could recognize

    5          that there's a basic question of judgment

    6          about, even if something is accepted

    7          practice, to understand that when you

    8          operate within the context of a clinic,

    9          that's part of an organization, that you

  10           should bring that up with your supervisor if

  11           you're going to do something like that.

  12                        Because though you can find a

  13           petition statement that says it's fine,

  14           there might be a range of opinions about

  15           that.     And in any case, it would normal and

  16           appropriate to make sure that you're doing

  17           it consistently with the policies of the

  18           place where you work.

  19                 Q      Now, I have a question, Dr.

  20           MacDonald.        Have any of the other directors

  21           actually approached anyone, that you know

  22           of, about recording?

  23                 A      No.    We would be happy to have a

  24           discussion.       Maybe recording is the right

  25           thing to be doing.        Maybe we should be doing
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    2          it for all of our evaluations.           But the

    3          point is, it should not be done at the

    4          discretion of individuals without a general

    5          awareness of what we're doing in the

    6          clinics.

    7                Q      I just have a question.

    8                       Did anyone afford Dr. Kaye -- did

    9          anyone afford Dr. Kaye the luxury of having

  10           a discussion about whether or not this was

  11           the way to go before writing her up?

  12                 A      That's exactly what would be

  13           prompted by her bringing it to the attention

  14           of her supervisor, which it is judgment

  15           issue to do that without doing such.

  16                 Q      But she wasn't given that

  17           opportunity.      Now you're saying, oh, we

  18           could have discussed it had she not done it

  19           first, but because she did it first, because

  20           after all these years on occasion, without

  21           any reprisal, she may have recorded, but on

  22           this particular occasion it was determined

  23           that it was problematic, right?

  24                           MS. CANFIELD:       Objection.

  25                     Misconstrues the facts.        You can
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    1                              R. MACDONALD

    2                    answer if you're able.

    3                Q      Do you recall how it came to be

    4          that management learned that Dr. Kaye

    5          actually recorded the Jose Gonzalez exam in

    6          the first place?

    7                A      I don't recall.      I think it was

    8          related to testimony, some testimony that

    9          she gave.

  10                 Q      Okay.    Was it the contra version

  11           hearing of Mr. Gonzalez, do you recall?

  12                 A      I don't know specifically.

  13                 Q      Do you know what a contra version

  14           hearing is?

  15                 A      Yes.

  16                 Q      Okay.    What is it?

  17                 A      It's an opportunity to

  18           cross-examine the evaluators, if there's

  19           dispute about the conclusions that they come

  20           to.

  21                 Q      In that instance, wouldn't a

  22           recorded exam be helpful to CHS because it

  23           at least shows the methodology that was used

  24           by the examiner, more so than the

  25           recollection of the examiner?
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    1                              R. MACDONALD

    2                            MS. CANFIELD:     Objection to

    3                    form.     You can answer.

    4                A      Again, it's about the question of

    5          judgment and operating with respect for

    6          other people in your work place.

    7                Q      But the question --

    8                A      Not about the narrow question of

    9          whether recording is the right thing to do

  10           in these evaluations.        Which maybe it is.

  11                 Q      I'm asking you a question.         The

  12           best evidence, and this just using common

  13           sense, because you're trying to appeal

  14           common sense on your end, I'm expecting the

  15           same type of, I guess, latitude on mine,

  16           right?

  17                        You're saying to me, I'm asking

  18           you, Dr. Kaye is at contra version hearing,

  19           where one of her rulings or one of her

  20           evaluations is subject to being questioned,

  21           right.     And at the core of the contra

  22           version hearing is the integrity of the

  23           process and the validity of the exam; am I

  24           right?

  25                 A      Yes.
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                                                                 Page 284
    1                              R. MACDONALD

    2                Q      And instead of Dr. Kaye getting on

    3          the stand and just saying, this is what I'm

    4          doing and these are my notes, instead she

    5          has a recording of the exam basically

    6          documenting, capturing specifically in

    7          realtime what happened, right?           With a

    8          recording; isn't that what happened?

    9                A      Yes.

  10                 Q      So you have a recording versus

  11           Dr. Kaye talking about, well, I took these

  12           notes, I reached these determinations, and

  13           you have that versus a recording.           And

  14           you're telling me that Dr. Kaye's recording

  15           is problematic; am I right?

  16                 A      Well, it sounds to me like you're

  17           arguing that every evaluation Dr. Kaye does

  18           should be recorded.

  19                 Q      I didn't say that at all.

  20                 A      How do you know which one is going

  21           to be controverted?

  22                 Q      Well, in this instance Dr. Kaye

  23           made a determination that this was a high

  24           profile case, this was an EMT killer case,

  25           and that the guy was thought disorder.
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    1                              R. MACDONALD

    2                       Do you recall that?

    3                            MS. CANFIELD:     Objection to

    4                    form.    You can answer.

    5                A      No.

    6                Q      Did you read any of the

    7          transcripts associated with Mr. Gonzalez's

    8          detention or the contra version hearing?

    9                A      No.

  10                 Q      So you know nothing about

  11           Mr. Gonzalez at all?

  12                 A      No.

  13                 Q      You don't recall there being an

  14           EMT killer in New York City at that time?

  15                             MS. CANFIELD:     Objection to

  16                     form.    You can answer.

  17                 A      I am aware of such a thing from

  18           the news media.

  19                 Q      Right.    And this is the same

  20           person.     He's one in the same.

  21                        So if it's in the news media,

  22           would it be fair to say that this was a high

  23           profile case?

  24                             MS. CANFIELD:     Objection to

  25                     form.    You can answer.
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    1                             R. MACDONALD

    2                A      Again, I don't -- sure.        Some

    3          people would call it a high profile case.

    4                Q      Right.    And if it's a high profile

    5          case, wouldn't it stand to reason that

    6          Dr. Kaye or someone in her position would

    7          want to be more careful in actually how she

    8          went about evaluating this individual?

    9                A      I think you would want to take the

  10           same amount of care for every evaluation

  11           that you do.       And if there's a value to

  12           recording evaluations, that's something that

  13           should be discussed, and there should be an

  14           infrastructure to support that in the

  15           clinics.

  16                 Q      Do you know for a fact that

  17           there's no value in recording examinations,

  18           Dr. MacDonald?

  19                 A      No.   But I know for a fact that if

  20           there is a value, then we should talk

  21           through it as partners who work together to

  22           do this work in those clinics.

  23                 Q      Now, the implications for

  24           discipline for a doctor are huge; am I

  25           right?
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    1                              R. MACDONALD

    2                            MS. CANFIELD:     Objection to

    3                    form.     You can answer.

    4                A      It depends on the nature of the

    5          discipline.

    6                Q      In the instance Dr. Kaye was

    7          disciplined for recording this examination,

    8          right?

    9                            MS. CANFIELD:     Objection to

  10                     form.     You can answer.

  11                 Q      You said yes, right?

  12                 A      That's my understanding, yes.

  13                 Q      And as a doctor, this is not

  14           something that you would want in your

  15           personnel file; am I right?

  16                 A      Correct.

  17                 Q      Now, why wouldn't you want that in

  18           your personnel file, Dr. MacDonald?

  19                 A      Well, there are certain types of

  20           disciplinary proceedings that have to be

  21           reported to the Office of the Professions.

  22                 Q      Right.     I think we talked about

  23           that earlier.

  24                 A      Yes.

  25                 Q      And this would impact your ability
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                                                                 Page 288
    1                              R. MACDONALD

    2          to practice medicine; am I right?

    3                A      Well, I would say it's not clear

    4          to me that the discipline that we're talking

    5          about here would constitute one that needs

    6          to be reported to the Office of the

    7          Professions.

    8                Q      How do you make a determination of

    9          what needs to be reported and what doesn't

  10           need to be reported?

  11                 A      Again, in consultation with HR

  12           professionals.

  13                 Q      But what about Dr. Kaye, she

  14           doesn't have the luxury of HR questions at

  15           her disposal, right?        And she's trying to

  16           apply for medical licenses and god knows

  17           what else, right?

  18                        How does she make a determination

  19           as to what should be reported and what

  20           shouldn't?

  21                             MS. CANFIELD:     Objection to

  22                     form.    You can answer.

  23                 A      I don't think it's -- well, I

  24           don't know the answer to that question.             She

  25           could talk to her union representative, she
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    1                              R. MACDONALD

    2          could talk to an attorney.          She could read

    3          the language of the question, which I don't

    4          think requires discipline like this to be

    5          reported.     There are many ways she could get

    6          that information.

    7                Q      Now, Dr. Kaye is being disciplined

    8          for something where there was no policy that

    9          she was in breach of in the first place;

  10           would you agree with me?

  11                             MS. CANFIELD:     Objection to

  12                     form.     You can answer.

  13                 A      Yes.     There was no policy

  14           prohibiting that at the time.

  15                 Q      And she was disciplined,

  16           regardless?

  17                             MS. CANFIELD:     Objection to

  18                     form.     You can answer.

  19                 A      I think I explained the rational

  20           for that, but, yes.

  21                 Q      So now, I'm going show you what's

  22           going to be marked as Plaintiff's Exhibit

  23           18.

  24                               (Whereupon, 730CPL Statute was

  25                               marked as Plaintiff's Exhibit 18
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                                                                 Page 290
    1                             R. MACDONALD

    2                             for identification as of this

    3                             date.)

    4                           MS. HAGAN:     Now, Plaintiff's

    5                   Exhibit 18 isn't Bate stamped, but

    6                   it was produced today, Ms. Canfield.

    7                   And this is the 730CPL statute?

    8                           THE WITNESS:     May I request

    9                   that we take a short break when we

  10                    have a chance?

  11                            MS. HAGAN:     Let's get through

  12                    this and then --

  13                            MS. CANFIELD:      Is this the 730

  14                    exam?

  15                            MS. HAGAN:     This is 730 CPL,

  16                    the CPLR 730 statute.

  17                            MS. CANFIELD:      In the criminal

  18                    law handbook?

  19                            MS. HAGAN:     Yes.

  20                            MS. CANFIELD:      Okay.   Thank

  21                    you.    If it would be possible to

  22                    take a quick break after questions

  23                    on this document, that would be

  24                    great.

  25                            MS. HAGAN:     Sure.
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    1                              R. MACDONALD

    2                Q      Now, this is Plaintiff's Exhibit

    3          18.   And it's a 730.20 fitness to proceed

    4          generally.     You see that, right?

    5                       Underlined here -- well, do you

    6          want me to read the whole paragraph or could

    7          we focus on the portions that are

    8          underlined?

    9                A      We can focus on the underlined

  10           portions.

  11                 Q      So just to have context.         "Upon

  12           receipt of an examination order, director

  13           must designate two qualified psychiatric

  14           examiners, of whom he may be one, to examine

  15           the defendant to determine if he is an

  16           incapacitated person."        That's general,

  17           right?    You understand that, right?

  18                 A      Yes.

  19                 Q      "In conducting their examination,

  20           the psychiatric examiners may employ any

  21           method which is accepted by the medical

  22           profession for the examination of persons

  23           alleged to be mentally ill or mentally

  24           defective."

  25                        You see that, right?
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    2                A      Yes.

    3                Q      Now, how does Dr. Kaye's behavior

    4          or recording of the exam deviate from this

    5          particular aspect of the CPL order?

    6                            MS. CANFIELD:     Objection to

    7                    form.     You can answer.

    8                A      I don't think the discipline was

    9          intended to imply that she had violated this

  10           provision of the law.        Again, it was really

  11           about judgment.       Just because something is

  12           legal or even accepted, to do it ad hoc in

  13           certain cases without telling your

  14           supervisor or anyone else showed a lack of

  15           judgment.

  16                             MS. HAGAN:    Why don't we take

  17                     a break.

  18                             MS. CANFIELD:     Ten minutes?

  19                             MS. HAGAN:    Okay.    Sure.

  20                               (Whereupon, a recess was taken

  21                               from 4:13 p.m. to 4:24 p.m.)

  22                 Q      At any point -- I want to ask, did

  23           it come to your attention that Dr. Kaye was

  24           being accused of stealing Dr. Jain's

  25           handwritten notes?
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    2                A      No.   I don't think I heard about

    3          that.

    4                Q      So you never heard about any

    5          dispute between the two of you about his

    6          handwritten notes at any point?

    7                A      Not that I recall, no.

    8                Q      Do you know what Dr. Jain's

    9          obligations would be as far as keeping his

  10           handwritten notes when he conducted exams

  11           would be?

  12                 A      No.   I'm not familiar.

  13                 Q      At any point did Dr. Kaye complain

  14           about Dr. Mundy being designated her

  15           supervisor and he should not have been?

  16                 A      I don't think I remember that

  17           either.

  18                 Q      Dr. Mundy was never Dr. Kaye's

  19           supervisor; is that right?

  20                 A      Correct.

  21                 Q      And you don't recall there being

  22           issues with him being listed as her

  23           supervisor in PeopleSoft?

  24                 A      No.   I don't think I knew about

  25           that specifically.       Sometimes there were
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    2          errors in PeopleSoft that needed to be

    3          fixed.

    4                Q      Did there ever come a time where

    5          Dr. Kaye complained about Dr. Mundy being

    6          CC'd on emails containing her private

    7          medical information?

    8                A      I don't think I was aware of that

    9          either.

  10                 Q      I'm going to show you what would

  11           be marked as Plaintiff's Exhibit 17.

  12                           MS. CANFIELD:       I think

  13                     it's 19, if you're introducing

  14                     another exhibit.

  15            (A discussion was held off the record.)

  16                              (Whereupon, Email (NYC_962-963)

  17                              was marked as Plaintiff's

  18                              Exhibit 19 for identification as

  19                              of this date.)

  20                 Q      Now, Exhibit 19 bears the Bate

  21           Stamp series NYC962 through 963.           And this

  22           was with the October production.

  23                           MS. CANFIELD:       Production.

  24                     Thank you.

  25                           MS. HAGAN:      That's the best
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    2                    way I can describe it.       Sorry.

    3                            MS. CANFIELD:     I know what you

    4                    mean.

    5                            MS. HAGAN:    Doing my best

    6                    here.

    7                            MS. CANFIELD:     That's all I

    8                    ask.

    9                Q      So here you have -- I'm going to

  10           start at the bottom so that you get an

  11           opportunity to review it, Dr. MacDonald.

  12                 A      Yeah.

  13                 Q      So this is an email from Dr. Mundy

  14           and it seems like it's HR system admin and

  15           is Dr. Kaye and Denise Dudley.

  16                        Do you recall who Denise Dudley

  17           is?

  18                 A      No.

  19                 Q      This HR system administration, is

  20           that like you and a bunch of other people?

  21           Who is that?

  22                 A      It's not me.      It's an email

  23           address box used by human resources.

  24                 Q      So then Dr. Mundy -- I guess it

  25           really starts with this HR admin place,
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    2          right.    It starts there.       It's to Dr. Kaye

    3          and Dr. Mundy and Denise Dudley.           And it

    4          says, subject is expiring license

    5          certification expiring four weeks.

    6                       You see that, right?

    7                A      Yes.

    8                Q      And it says, "Dear Melissa Kaye,

    9          our records indicate that your license

  10           and/or certification drug enforcement admin

  11           will expire on December 31st, 2018.            Out of

  12           date license information may result in

  13           termination of access and disqualify you

  14           from continued interaction with patients.

  15           Please submit your updated document to the

  16           appropriate party for recertification.

  17           Failure to comply, blah, blah."

  18                        You see this, right?

  19                 A      Yes.

  20                 Q      Now, I'm going to go up to

  21           Dr. Mundy responding to this email.            And

  22           he's saying, "Please remove me from future

  23           emails not addressed to clinicians reporting

  24           to me, and Dr. Kaye does not report to me,

  25           and I do not know her licensing status."
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    2          Right?

    3                 A       Yes.

    4                 Q       Now, Dr. Kaye responds to Dr.

    5          Ford, "Dr. Mundy continues to be incorrectly

    6          copied on emails related on my personnel

    7          matters at CHS."         Right?

    8                         Now, you are not on this email

    9          yet.       You see this, right?      But Dr. Jain is

  10           here, right?

  11                  A       Yes.

  12                  Q       "In September with CHS

  13           occupational health sent HIPPA protected

  14           information about me to Dr. Mundy in error.

  15           I was assured by Dr. Jain that this CHS HR

  16           error was corrected, but apparently it has

  17           not been resolved."

  18                          You see that, right?

  19                  A       Yes.

  20                  Q       "In addition, CHS incorrectly

  21           categorized me as a part-time employee of

  22           the Manhattan court clinic.          As a result,

  23           central office was misinformed by CHS in

  24           listing me as .67 a full-time employee.

  25           This caused me to receive a partial payment
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    2          of a full bonus due to me."          And remember

    3          we -- I asked about the retention bonus, do

    4          you remember that now?

    5                A      I remember you asked me about it.

    6                Q      Right.    Now, did you have any part

    7          in rectifying or addressing the issue with

    8          Dr. Kaye only receiving a portion of the

    9          retention bonus?

  10                 A      No.

  11                 Q      Did you have any part in

  12           addressing Dr. Kaye's salary disparity

  13           issues?

  14                 A      No.

  15                 Q      I know at one point you said on

  16           several occasions that the disparity issue

  17           was something that involved Bellevue, but

  18           Dr. Kaye continued to work for CHS after the

  19           Bellevue; am I right?

  20                 A      Yes.

  21                 Q      Were steps taken to ensure that

  22           Dr. Kaye's salary was comparable to the

  23           other directors at the other clinics?

  24                 A      My understanding is that the --

  25           again, as I mentioned, the issue that was
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    2          directly raised to Dr. Yang and was

    3          primarily handled by Dr. Ford, Mr. Wangel,

    4          Dr. Yang, my rough understanding is that the

    5          other directors who had conversation that

    6          was hired were managers.

    7                       In other words, they were not

    8          unionized positions.        And such a position

    9          was offered, but I don't -- I wasn't

  10           intimately involved in the resolution of

  11           that issue, as we discussed previously.

  12                 Q      Were there steps taken to ensure

  13           that Dr. Kaye was paid the equal amount --

  14           the same amount of money as the directors at

  15           the other court clinics?

  16                 A      I think her employment was

  17           different, in that she remained in the

  18           union.    So the pay may not have been equal

  19           because you can't really compare a unionized

  20           position to a managerial position.            That

  21           doesn't have union benefits or

  22           representation.

  23                 Q      Did Dr. Kaye perform the same

  24           functions as the other court clinic

  25           directors?
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    2                A      Again, I don't know what the

    3          particular limitations of being in one title

    4          versus the other would be.          But sometimes

    5          there are limitations about whether she

    6          could be involved in remediation for other

    7          staff and the like.

    8                       So I don't know if her role was

    9          different because she was -- had preferred

  10           to remain in that unionized title.

  11                 Q      Would the remediation be an issue

  12           not because of her union status, but because

  13           she would be an evaluator, and there would

  14           be a question of whether or not the

  15           evaluator was actually independent, rather

  16           than her being in the union?

  17                             MS. CANFIELD:     Objection to

  18                     form.    You can answer.     If that's

  19                     the question.

  20                 A      No.

  21                 Q      Is there a question of dual agency

  22           if your supervisor is actually a

  23           co-evaluator, to your understanding?

  24                 A      In an individual evaluation?

  25                 Q      The 730 examination, you testified
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    2          earlier that there are two examiners; am I

    3          right?

    4                A      Yes.

    5                Q      Is it your understanding that the

    6          examiners in their 730 capacity act

    7          independently of each other?

    8                A      Yes.

    9                Q      Would it be problematic under the

  10           concept of dual agency or dual loyalty or

  11           whatever nomenclature you assigned to this,

  12           would it be problematic that Dr. Kaye was

  13           acting in a supervisory capacity with the

  14           other evaluator?

  15                 A      Not necessarily.

  16                 Q      So why wouldn't it be an issue?

  17                 A      Because it would only be an issue

  18           if there was some implicit expectation about

  19           the results of the examination.           And the

  20           supervisor who's administering a court

  21           clinic understands that the group together,

  22           the team, is working to towards independent

  23           evaluation.

  24                 Q      So what are you basing this

  25           opinion on, Dr. MacDonald, that a
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    2          co-evaluator could conceptually supervise

    3          their co-evaluator?

    4                A      So I'm -- not with regard to the

    5          specific content of that case, but do they

    6          have to be absolutely at the same level in

    7          the organizational chart, no.

    8                Q      The question is, could Dr. Kaye

    9          conceivably be, let's say, for example,

  10           there was an issue that arose with

  11           Dr. Brayton and Dr. Kaye, during the course

  12           of Dr. Brayton's employment.

  13                        Were you aware of that?

  14                 A      It sounds vaguely familiar to me.

  15                 Q      At some point Dr. Kaye raised

  16           concerns about supervising Dr. Brayton

  17           because she and Dr. Brayton were doing 730

  18           examinations together.        Do you remember

  19           that?

  20                 A      I don't remember that specific

  21           concern being raised.

  22                 Q      It is your testimony today that

  23           Dr. Kaye could have supervised Dr. Brayton

  24           and not compromised the integrity of the 730

  25           examination process; is that right?
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    2                A      I don't know the specific

    3          situation there.       What I'm saying is that

    4          supervisors can participate as evaluators

    5          independently with evaluators that they

    6          supervise at times.        And that that is not

    7          inherently a conflict of interest.

    8                Q      The question I have for you is,

    9          what is the basis of your opinion?            Where

  10           did you get that?

  11                 A      It's my understanding from

  12           supervising at the clinic for many years.

  13                 Q      Did you read something that said

  14           that this is permissible, Dr. MacDonald?

  15                 A      No.

  16                 Q      Do you think that what you just

  17           said comports with the whole concept of dual

  18           agency that we have been talking about off

  19           and on today?

  20                 A      Yes.

  21                 Q      How does it comport with that?

  22                           MS. CANFIELD:       Objection.

  23                     Asked and answered.       You can answer

  24                     again.

  25                 A      It comports with it because there
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    2          is no understanding or ability to remove all

    3          competing interest from all evaluations or

    4          all clinical encounters.

    5                       That is not the standard that we

    6          aspire to.     The standard is that we

    7          understand them, that we manage them, that

    8          we minimize them, and that we have an

    9          awareness of what is and is not appropriate

  10           in dealing with those.

  11                 Q      Would it be your understanding

  12           that the examiners are independent?

  13                 A      Yes.     Their evaluations are

  14           independent.

  15                 Q      Would it also be your

  16           understanding that the evaluators avoid

  17           having any undue influence on each other in

  18           order to reach their independent

  19           evaluations?

  20                 A      With regard to a specific

  21           evaluation, yes.

  22                 Q      Right.     I'm going to leave it at

  23           that.

  24                        Dr. Kaye goes on and she says that

  25           she's concerned about her personal data
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    2          continues to be mishandled.

    3                       Now, at any point did you look

    4          into Dr. Kaye's allegations about fishing

    5          emails, that she was referencing?

    6                A      No.

    7                            MS. CANFIELD:     Objection to

    8                    form.     You can answer.

    9                Q      And are you aware of what fishing

  10           emails are?

  11                 A      Yes.

  12                 Q      What are they?

  13                 A      It's emails attempting to get

  14           people's personal information through a

  15           scam.

  16                 Q      Would you say that a fishing email

  17           that was circulated within the confines of

  18           HHC would be a serious issue?

  19                             MS. CANFIELD:     Objection to

  20                     form.     You can answer.

  21                 A      Yeah.    I mean, fishing emails are

  22           concerns to organizations and I know there

  23           are policies related to IT where those

  24           emails are supposed to be recorded and

  25           identified for IT purposes.
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    2                Q      Dr. Kaye did report the email.          Is

    3          IT amongst any of these email recipients

    4          here, from what you've seen so far?

    5                            MS. CANFIELD:     Objection to

    6                    form.    Go ahead.    You can answer.

    7                A      I'm not sure I understand the

    8          question.     Are you suggesting that this is

    9          being proposed to be a fishing email?

  10                 Q      Well, she says that -- okay.

  11           Let's keep going.

  12                        Dr. Yang responds, and you're on

  13           this particular email, right, and she says,

  14           "What's going on.       It needs to be fixed.

  15           Let me know if you need me."          Right.

  16                        This is regarding the expiring

  17           license certification, right?

  18                 A      Yeah.

  19                 Q      And then Jessica Laboy says to you

  20           and Dr. Yang and Dr. Ford, that PeopleSoft

  21           has her supervisor as Daniel Mundy.            Looking

  22           into why her supervisor was changed from Dr.

  23           Jain.

  24                        Now, did you have any further

  25           discussion with Ms. Laboy regarding why her
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    2          supervisor was changed?

    3                A      Not that I recall.

    4                Q      Who would have had the ability to

    5          change Dr. Kaye's supervisor in PeopleSoft?

    6                A      I don't know.

    7                Q      Do you have access to PeopleSoft,

    8          Dr. MacDonald?

    9                A      I can log in --

  10                             MS. CANFIELD:     Objection to

  11                     form.     Go ahead.

  12                 A      I can log in to PeopleSoft.         I

  13           don't know how to assign people's

  14           supervisor.

  15                 Q      Who knows how to assign people's

  16           supervisor?

  17                 A      I don't know.      Probably HR.

  18                 Q      So someone in Ms. Laboy's camp

  19           would have been able to change Dr. Kaye's

  20           supervisor; is that right?

  21                 A      Yes.

  22                 Q      Would it have been Ms. Laboy

  23           herself?

  24                 A      Again, I don't know.

  25                 Q      I'm going to show what's going to
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    2          be marked as Plaintiff's Exhibit 20.

    3          Plaintiff's Exhibit 20 bears the Bate Stamp

    4          series NYC1285 to 1286.

    5                              (Whereupon, Email

    6                              (NYC_1285-1286) was marked as

    7                              Plaintiff's Exhibit 20 for

    8                              identification as of this date.)

    9                          MS. CANFIELD:       Is this in that

  10                     October production?

  11                           MS. HAGAN:      Yes.

  12                 Q      I'm going to scroll down to the

  13           bottom.     The first email is from Ms. Mendez

  14           to Dr. Kaye.        It CCs Dr. Mundy, Jain, Donna

  15           Fong, Colleen Barrow and CHS Payroll.

  16                        Do you see that?

  17                 A      Yes.

  18                 Q      And she says, "Melissa, attached

  19           please find an approval regarding your

  20           request for intermittent leave of absence to

  21           care for your ill family member for any time

  22           sheets submitted without proper code, please

  23           complete the attached employee time sheet

  24           changes data entry forms submit directly to

  25           payroll.     Thank you."
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    2                       You see that, right?

    3                A      Yes.

    4                Q      So then Mundy is on this email

    5          again.    This is February, right?

    6                A      Um-hmm.    Yes.

    7                Q      Again, Dr. Kaye then responds to

    8          Mr. Wangel, Dr. Ford, Dr. Jain, Ms. Mendez,

    9          Mary Fritz,     Dr. Yang and Patrick Campese,

  10           right, and Dr. Mundy.

  11                        And she says that, Mr. Wangel,

  12           first, let me thank HHC for completing the

  13           processing of my FMLA today.          This is

  14           especially difficult time for me and my

  15           family.    However, I am also writing to

  16           express my ongoing concern about the

  17           repeated HIPPA and privacy violations that

  18           have transpired and have continued after

  19           the FMLA notification process.           On at least

  20           two prior occasions, Dr. Daniel Mundy was

  21           copied on emails that contained my personnel

  22           and medical information.         I initially

  23           contacted my supervisor Dr. Jain in

  24           September 2018, who indicated that he had

  25           resolved the matter.        However, when it
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    2          happened again in December 2018, I contacted

    3          you and other HHC management about this

    4          violation and you indicated that it had been

    5          resolved in PeopleSoft."         Right?

    6                       And she goes about how there have

    7          been repeated violations of HIPPA and her

    8          privacy rights and she feels compelled to

    9          report this matter to HHC corporate

  10           compliance.     Right?

  11                 A      Yes.

  12                 Q      Now, at any point, are you aware

  13           of corporate compliance looking into this

  14           continued breach of her personnel

  15           information?

  16                 A      No.    I'm not aware of that.

  17                 Q      Did corporate compliance ever

  18           reach out to you regarding this particular

  19           issue?

  20                 A      No.

  21                 Q      So then Dr. Yang responds to

  22           Mr. Wangel and Ms. Laboy, Dr. Ford and

  23           yourself, right.       And she says, "Is this

  24           Yvette or Kevin."       Right.

  25                        Now, who is Yvette?
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    2                A      Yvette is the head of H&H HR.

    3                Q      And Kevin is Mr. Morazo, who we

    4          talked about earlier, right?

    5                A      I don't know for sure.

    6                Q      Well, then Dr. Yang asks

    7          Ms. Laboy, you're CC'd at this point again,

    8          "Can you or Jonathan send me email you last

    9          sent asking this to be fixed," right?

  10                 A      Yes.

  11                 Q      Now, at this point, did you engage

  12           or get involved with trying to rectify the

  13           situation?

  14                 A      No.    Again, this is clearly an HR

  15           issue, and the to line is Jessica Laboy.

  16           I'm included here for awareness.

  17                 Q      Okay.    Ms. Laboy claims this

  18           fixed, right, again?

  19                 A      Yes.

  20                 Q      "John should have emails notifying

  21           Maria to remove Mundy."

  22                        Did you ask to see these emails

  23           yourself, like Ms. yang did?

  24                 A      No.

  25                 Q      Why not?
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    2                A      Because Ms. Yang is looking into

    3          it.   These are my colleagues in HR who are

    4          attesting that they performed this basic HR

    5          function.     She's their supervisor.         She's

    6          checking into it.       It should have been done.

    7                Q      So you're saying that it should

    8          have been done.       You didn't take any further

    9          steps to look into whether or not it

  10           happened, right?

  11                 A      Yes.

  12                 Q      Now, were you ever aware of a

  13           project that was being conducted by HR

  14           involving, I guess, various employee's

  15           personnel files?

  16                 A      No.

  17                 Q      So was it inaccurate for

  18           Ms. Swenson to tell Dr. Kaye that there was

  19           a project?

  20                             MS. CANFIELD:     Objection to

  21                     form.     You can answer.

  22                 A      I don't know what project you're

  23           referring to.

  24                 Q      Well, I mentioned to you earlier

  25           that Dr. Kaye complained of fishing emails,
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    2          right?

    3                A      Yes.

    4                Q      And I mentioned to you that she

    5          complained about them, and there were

    6          questions about what steps had been taken to

    7          actually address the issue.

    8                       I'm going to direct you -- and

    9          this wasn't produced, this is from one of

  10           the earlier depositions, Ms. Canfield.             It

  11           bears the Bate Stamp series NYC2629, 2630.

  12           And I'm going to share the screen.

  13                               (Whereupon, Email

  14                               (NYC_2629-2630) was marked as

  15                               Plaintiff's Exhibit 21 for

  16                               identification as of this date.)

  17                           MS. CANFIELD:       Do you know

  18                     which deposition this was produced?

  19                           MS. HAGAN:      This should be at

  20                     Mr. Wangel's deposition.

  21                 Q      I'm going to start at the bottom.

  22           This is from Teleakie Parker.          Do you know

  23           who Teleakie Parker is?

  24                 A      The name is familiar to me, but I

  25           don't know the exact role.
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    2                Q      Teleakie Parker is assistant

    3          coordinating manager of operations.            You're

    4          familiar with that, right?

    5                A      I am -- that doesn't really -- I'm

    6          familiar with that title within operations,

    7          but I don't know exactly what that person's

    8          role was.

    9                Q      So there's an email, March 7,

  10           2019, and it says audit, Melissa Kaye.

  11                        Were you aware that there was an

  12           audit taking place at HHC regarding various

  13           files at that time?

  14                 A      No.

  15                 Q      "Hi.     While conducting an audit it

  16           came across the following documents are

  17           missing.     Please review the list below.

  18           The required documents you must completely

  19           submit."     Right?

  20                        Now, as a doctor yourself,

  21           Dr. MacDonald, would you have -- would these

  22           documents have -- would you have produced

  23           these documents yourself or keep them up to

  24           date?

  25                 A      Yes.
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    2                Q      And she says, "Please provide me

    3          with the following for credentialing, Social

    4          Security and date of birth."          Right.

    5                       Now, would you find this to be odd

    6          considering that Dr. Kaye and you had been

    7          working at CHS, HHC for a numbers of years,

    8          at least the request of her Social Security

    9          number and date of birth?

  10                 A      Yeah.    I could see how that would

  11           be perceived as odd.

  12                 Q      So Dr. Kaye express concerned,

  13           right?

  14                 A      Yeah.

  15                 Q      So I'm going to go up here.

  16           Dr. Kaye to Ms. Parker, she CCs Dr. Jain,

  17           Dr. Ford and a number of other people.             She

  18           explains to Ms. Parker that she's a

  19           credentialed position in H&H, and she's been

  20           as much since 1999.        And she basically

  21           says -- well, I'll let you continue to read

  22           it.

  23                        Important this first paragraph

  24           that says, "We were to told that the

  25           credentialing status of Bellevue court
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    2          clinic employees would roll over to CHS.             I

    3          was never informed that I would be required

    4          to recredential at CHS."         Right.

    5                       "Prior to your email, the only

    6          credential and issue brought to my attention

    7          was in December 2018.        That was an email

    8          from HR admin regarding the pending

    9          expiration of my DEA license.          I provided an

  10           updated DEA certificate prior to its

  11           expiration -- Bellevue medical's staff

  12           office and Dr. Jain, supervisor, CHS, for a

  13           copy of those emails.        Per below, I am now

  14           being informed by CHS that much of my

  15           credentialing employment information is

  16           missing, including basic demographic

  17           information such as my date of birth and

  18           Social Security number.         This seems

  19           implausible and is a serious matter that

  20           needs clarification."        And then she explains

  21           further.

  22                        When was this brought to your

  23           attention, or do you remember?

  24                 A      I don't recall.

  25                 Q      At any point did you take any
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    2          steps to address Dr. Kaye's concerns about

    3          the fishing emails?

    4                            MS. CANFIELD:     Objection to

    5                    form.    You can answer.

    6                A      I don't remember this being raised

    7          to me directly.

    8                Q      Let's see if we can figure out one

    9          of these if we can find one of these emails.

  10           I'm sure you are on it.

  11                        Now, I'm going to show you HR

  12           payroll audit report.        And for purposes of

  13           this deposition, it's under the Wangel

  14           deposition.       And bears the Bate Stamp series

  15           NYC2159, 2160 and 2161.

  16                               (Whereupon, Email

  17                               (NYC_2160-2161) was marked as

  18                               Plaintiff's Exhibit 22 for

  19                               identification as of this date.)

  20                 Q      At any point were you aware of an

  21           HR audit report?

  22                 A      No.

  23                 Q      And this will be Exhibit 22.

  24                        Have you seen anything like this

  25           since you've been employed at CHS?
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    2                A      No.

    3                Q      Would you know of any reason why

    4          this would actually take place, that an HR

    5          audit report would be ordered in the first

    6          place?

    7                          MS. CANFIELD:       I'm going to

    8                    object to the characterization that

    9                    this is an audit report.        You can

  10                     respond.

  11                 Q      Well, according to the title of

  12           the document, it says, HR payroll audit

  13           report.     Do you see that, Dr. MacDonald?

  14                 A      I see those words up top, yes.

  15                 Q      Right.    Have you seen anything

  16           like this during the course of your

  17           employment at H&H?

  18                 A      No.

  19                 Q      At any point did anybody explain

  20           to you that this has taken place?

  21                 A      No.

  22                 Q      Here you have an email from CHS

  23           personal actions, right.         Are you in this

  24           administrative group?

  25                 A      No.   Not that I am aware of.
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    2                Q      "Attached you will find the

    3          supporting documents for the HR payroll

    4          audit report, October 30."

    5                       Since you've been at HHC, have you

    6          ever asked for an HR payroll audit report

    7          any other employee?

    8                A      For no employee, including

    9          Dr. Kaye.

  10                 Q      Do you know why this would take

  11           place?

  12                 A      No.

  13                           MS. CANFIELD:       Can you tell me

  14                     what the date was of the email that

  15                     Dr. Kaye sent to Mr. Wangel that's

  16                     Exhibit P21.

  17                           MS. HAGAN:      Are you talking

  18                     about 21?

  19                           MS. CANFIELD:       Yeah.   What is

  20                     the date on that email.

  21                           MS. HAGAN:      I think that would

  22                     be March 8, 2019.      We're going

  23                     forward now to July 3, 2019.

  24                           MS. CANFIELD:       Yeah.   I'm

  25                     trying to get -- the audit report
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    2                    was dated December 10, 2018.         So

    3                    three months earlier.

    4                          MS. HAGAN:      Well,

    5                    March 7, 2019 she emails -- I mean,

    6                    Ms. Parker emails Dr. Kaye asking

    7                    for all these documents.

    8                          MS. CANFIELD:       Okay.   Yeah.

    9                    Thank you.

  10                 Q      Now, are you on the spam admin

  11           group, Dr. MacDonald?

  12                 A      No.

  13                           MS. CANFIELD:       Is this another

  14                     exhibit, Ms. Hagan?

  15                           MS. HAGAN:      I'm just asking

  16                     some questions.     Because I just

  17                     wanted to make sure that it makes

  18                     sense to go through this particular

  19                     email.   But he's not.

  20                 Q      It's your testimony today that you

  21           weren't really aware of what happened with

  22           the audit with Dr. Kaye?

  23                 A      Correct.

  24                 Q      And at no point did Dr. Ford talk

  25           to you about the email audit?
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    2                A      Correct.

    3                Q      So I have some questions regarding

    4          the staffing at the Bronx court clinic.

    5                       Is it your understanding that

    6          evaluations could be done without the

    7          presence of two evaluators?

    8                            MS. CANFIELD:     Objection to

    9                    form.    Asked and answered.      You can

  10                     answer again.

  11                 A      No.

  12                 Q      You said no, right?

  13                 A      Correct.

  14                 Q      Now, at some point Dr. Kaye asked

  15           if she could perform -- as a reasonable

  16           accommodation, she could perform the exam

  17           remotely.     Do you recall us talking about

  18           that earlier?

  19                 A      I remember that was part of the

  20           request, yes.

  21                 Q      Now, that request to do so was

  22           denied.     Do you recall why?

  23                             MS. CANFIELD:     Objection to

  24                     form.    You can answer.

  25                 A      No.
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    2                Q      Dr. Kaye requested to do some of

    3          the exams from -- to write direct exams at

    4          home.     Do you recall why she was denied the

    5          right to do that?

    6                A      No.

    7                Q      Now, at this time the 730 exams

    8          are being administered remotely; am I right?

    9                A      Yes.    For the most part.

  10                 Q      And examiners are actually -- not

  11           only are they administering exams remotely,

  12           but they are also writing the reports at

  13           home remotely; am I right?

  14                 A      At times, yes.

  15                 Q      Why is it permissible now versus

  16           when Dr. Kaye was actually employed at the

  17           court clinics?

  18                 A      Probably the same reason we're

  19           having this deposition on Zoom versus doing

  20           it in person.

  21                 Q      If it's inevitable now, right, and

  22           it is doable now, why couldn't it have been

  23           done before, when Dr. Kaye asked for it?

  24                 A      I don't know.

  25                 Q      At any point did Dr. Kaye get
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    2          docked for taking her board examinations?

    3                            MS. CANFIELD:     Objection to

    4                    form.    You can answer.

    5                A      Can you repeat the question.

    6                Q      Was there a time when Dr. Kaye was

    7          docked pay when she took her board

    8          examinations?

    9                A      I vaguely remember that that

  10           occurred because she coded for a board

  11           examination that was not a requirement for

  12           her work in the clinic.         If I recall

  13           correctly.

  14                 Q      Were any of the other doctors

  15           docked pay for taking board certification

  16           examinations?

  17                             MS. CANFIELD:     Objection to

  18                     form.    Characterizing as docked.

  19                     You can answer.

  20                 A      I'm not aware of anyone else

  21           taking a board certification exam that was

  22           unrelated to their work.

  23                 Q      Is that your opinion, that it was

  24           unrelated to her work?

  25                 A      That was my understanding of why
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    2          it wasn't compensated.

    3                Q      Do you know how that situation was

    4          resolved?

    5                A      No.

    6                Q      Did you intervene?

    7                A      No.

    8                Q      So I'm going to show you some

    9          documents.     At least one document.         And this

  10           will be Plaintiff's Exhibit 23.           And it

  11           bears the Bate Stamp series NYC960 to 961.

  12                           MS. CANFIELD:       This is in that

  13                     October production?

  14                           MS. HAGAN:      Yes.

  15                              (Whereupon, Email (NYC_960-961)

  16                              was marked as Plaintiff's

  17                              Exhibit 23 for identification as

  18                              of this date.)

  19                 Q      I'm going to scroll down to the

  20           bottom.     And it's from -- the first email is

  21           from you, Dr. MacDonald.         And it says, "I

  22           supported the education leave for these.

  23           It's once every ten years and it's in CHS'

  24           best interest."

  25                        Do you see that?
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    2                A      Yes.

    3                Q      And then Mr. Wangel says, "Just so

    4          we're on the same page, H&H charges to

    5          education on the house, no balance charge

    6          and PAGNY charges to CME balance."

    7                       You see that, right?

    8                A      Yes.

    9                Q      And then you verify that.         And you

  10           said, "Please see below.         Talk before

  11           responding to Dr. Kaye.         Let me know."      And

  12           you're going back and forth, right?

  13                 A      Yes.

  14                 Q      So you address this issue.

  15                        No, Dr. Kaye sat for examination

  16           for child and adolescence psychiatry.            Do

  17           you remember that?

  18                 A      Yes.    That was my understanding

  19           subsequent.

  20                 Q      Now, how is it that that wasn't

  21           related to her current job?

  22                 A      Well, the evaluation is done in a

  23           clinic of adults.

  24                 Q      Would it be fair to say that a lot

  25           of the inmates had problems as children as
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    2          well?

    3                            MS. CANFIELD:     Objection to

    4                    form.

    5                A      Yes.

    6                Q      You said yes, right?

    7                A      Yes.

    8                Q      Wouldn't having that background be

    9          helpful to the court clinics because that

  10           would provide her with an additional level

  11           of insight?

  12                 A      Possibly.

  13                 Q      Now, I had some questions

  14           regarding the work stoppage at the court

  15           clinic.

  16                        Did there come a time where the

  17           Bronx court clinic was not seeing 730

  18           examinations, the 730 exams?

  19                             MS. CANFIELD:     Objection as to

  20                     the form of the question.        You can

  21                     answer.

  22                 A      I think we discussed this.         I

  23           don't remember the exact time frames.

  24           Certainly after COVID there was a period of

  25           time when none of the clinics were seeing
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    2          exams.    I think you're referring to a

    3          different period of time.

    4                Q      Was there a time when Mr. Bloom

    5          complained to you about the backlog of the

    6          exams at the Bronx court clinic?

    7                A      Yes.    That sounds familiar.

    8                Q      And what do you remember about

    9          that?

  10                 A      I remember talking with Dr. Jain

  11           about strategies to try to keep examinations

  12           going as best we could.

  13                 Q      Was there a discrepancy as to

  14           whether or not defendants were being

  15           produced versus whether or not exams were

  16           being conducted all together?

  17                 A      I'm not sure I understand the

  18           question.

  19                 Q      Well, it was Mr. Bloom's

  20           contention that there was a work stoppage,

  21           right?

  22                        On the other hand, you had

  23           Dr. Jain and maybe Ms. Persaud saying that

  24           the defendants weren't being produced.             Do

  25           you recall that there was kind of like
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    2          conflicting accounts of what was transpiring

    3          at the Bronx court clinic?

    4                            MS. CANFIELD:     Objection to

    5                    form.     You can answer.

    6                A      No.

    7                Q      Do you recall having received a

    8          complaint from Mr. Bloom regarding the

    9          impact that the stoppage was having on

  10           criminal defendants awaiting trial?

  11                 A      I recall some communication from

  12           Mr. Bloom.        I don't remember the specifics

  13           of what his concern was.

  14                 Q      What steps were taken to address

  15           Mr. Bloom's concerns about the work

  16           stoppage?

  17                             MS. CANFIELD:     Objection to

  18                     form.     You can answer.

  19                 A      I can't remember if there was some

  20           formal response to Mr. Bloom at that time.

  21           But, obviously, the intent of CHS has been

  22           to do the evaluations timely from the

  23           beginning.        That was the intent, as I said,

  24           of taking over the clinics.          And so our

  25           intentions and goals would have been aligned
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    2          with this, if that was his assertion.

    3                Q      Do you know who Peter Jones is?

    4                A      No.

    5                Q      Had you engaged any of the staff

    6          at Legal Aid regarding the backlog of exams?

    7                A      I have not, no.

    8                Q      I'm going to show you what's going

    9          to be marked as Plaintiff's Exhibit, this

  10           will be 23, if I recall correctly?

  11                           MS. CANFIELD:         It's going to

  12                     be 24.

  13                           MS. HAGAN:      24.

  14                              (Whereupon, Email (Kaye's 6th

  15                              Prod_557-559) was marked as

  16                              Plaintiff's Exhibit 24 for

  17                              identification as of this date.)

  18                 Q      This is from Mr. Bloom's

  19           deposition.     And it bears the Bate Stamp

  20           series K6 Production 557 through 559.            WS

  21           12/09/2019 and.       I'm going to share the

  22           screen with you.

  23                        I want to draw your attention, I

  24           guess, I don't know if you need to see the

  25           entire thing, but I want to draw your
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    2          attention to the list of defendants down

    3          here.     Right.

    4                       Now, this is an email from

    5          Mr. Bloom to, I guess Tina Lawongo

    6          (phonetic) and Peter Jones.          Do you recall

    7          that?

    8                       Do you know who they are?         That's

    9          the beginning one.

  10                 A      I know who Tina Lawongo is.         I'm

  11           not familiar with Peter Jones.

  12                 Q      Who's Tina Lawongo?

  13                 A      She's an attorney at the Legal Aid

  14           Society.

  15                 Q      And in what capacity does she act,

  16           do you know?

  17                 A      I don't know.

  18                 Q      So at any point did it come to

  19           your attention that at least 40 cases were

  20           waiting to be seen in December of 2019 at

  21           the Bronx court clinic?

  22                 A      I was aware of some delays.         I

  23           don't know that that number -- I mean,

  24           there's a lot of complexity as to how their

  25           cases are scheduled and produced.           So I'm
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    2          not sure that I would attest to that number.

    3          But, as I mentioned, we were working on

    4          struggles with staffing at the clinic at

    5          that time.

    6                Q      Well, Dr. Kaye was still there.

    7          Why wasn't she allowed to see any 730 exams?

    8                            MS. CANFIELD:     Objection to

    9                    form.    You can answer.

  10                 A      I don't know that to be the case.

  11                 Q      Well, Dr. Kaye contends that she

  12           was rubber roomed, in fact, during the

  13           period of October -- really, October 2019

  14           until she believes she was constructed and

  15           discharged.

  16                             MS. CANFIELD:     Objection to

  17                     form, but you can answer.

  18                 A      What's the question?

  19                 Q      Why was Dr. Kaye prohibited from

  20           seeing defendants from October 2019 to

  21           January 2020?

  22                             MS. CANFIELD:     Objection to

  23                     form.

  24                 A      I'm not aware that she was.

  25                 Q      So you're contending that you were
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    2          not aware that Dr. Kaye was not allowed to

    3          see criminal defendants at that point?

    4                A      Correct.

    5                Q      You were not aware about the 40

    6          defendants that had not been seen; is that

    7          your testimony today, too?

    8                            MS. CANFIELD:     Objection to

    9                    form.    You can answer.

  10                 A      I was aware about concerns about

  11           processing at the Bronx clinic.           I'm just

  12           not attesting to that 40 was the correct

  13           number.

  14                 Q      What was the number that you

  15           believed it to be?

  16                 A      I believe there were some delays.

  17           It's a complex process to identify,

  18           quote/unquote, backlog and put a number on

  19           it.

  20                 Q      I'm going to show you what's going

  21           to be marked as Plaintiff's Exhibit 25.

  22                             MS. HAGAN:    And this produced

  23                     in October, Ms. Canfield.        And it

  24                     bears the Bate Stamp series 1718

  25                     through 1719.
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    2                             (Whereupon, Email

    3                             (NYC_1718-1719) was marked as

    4                             Plaintiff's Exhibit 25 for

    5                             identification as of this date.)

    6                Q      I'm going to scroll down to the

    7          bottom.    Right.

    8                       This is from Dr. Jain to you and

    9          Dr. Ford, and it's dated October 9, 2019.

  10           Right.    And the subject is the Bronx court

  11           clinic.    Right.

  12                        And Dr. Jain says, "Hi, everyone.

  13           Thank you again for discussing this

  14           yesterday.     This is the summary of my

  15           interaction with Legal Aid attorney Lorraine

  16           MvEvilley and Jeffrey Bloom in the Bronx.

  17           This is rather lengthy, but thought it best

  18           to send it to you because of the potential

  19           impact on our processing staff."           Right.

  20                        At this point there's an incident

  21           with Dr. Jain, Dr. Brayton and

  22           Ms. McEvilley.

  23                        Do you remember this?

  24                 A      Vaguely.

  25                 Q      What do you remember?
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    2                A      It's coming back to me as I read

    3          this email.

    4                          MS. CANFIELD:       Do you want to

    5                    take the time to read the entire

    6                    email?

    7                          THE WITNESS:      Yes, please.

    8                Q      Now, in this email Dr. Jain

    9          alleges that there's a hostile environment

  10           at the Bronx court clinic; is that right?

  11                 A      Yes.

  12                 Q      Now, do you know who a Ben is, by

  13           any chance?

  14                 A      I'm sorry?

  15                 Q      Do you know -- he says, "After

  16           this and after briefly speaking with Ben, I

  17           decided to still sit in on the two

  18           examinations."

  19                        Who is Ben?     Is he talking about

  20           Brayton or Ben?       Who is Ben?

  21                 A      I think Benjamin Farver (phonetic)

  22           who was at that time Dr. Jain's chief of

  23           staff.

  24                 Q      Now, what do you recall about this

  25           incident, outside of just the fact that
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    2          there were problem that Legal Aid expressed

    3          about having Dr. Jain sit on the

    4          examinations with Dr. Kaye and Dr. Brayton?

    5                A      I mean, it's somewhat anglomaniac

    6          (phonetic) of the challenges we were having

    7          in the Bronx.

    8                Q      Did you ever discuss this issue

    9          with Dr. Kaye and/or Dr. Brayton?

  10                 A      No.

  11                 Q      Now, at any point -- I'm going to

  12           ask you a question.        As a physician and as

  13           an administrator for all these years,

  14           especially dealing with doctors, right, has

  15           there ever been a time where you determined

  16           that it's better for a doctor to be given

  17           the option of resignation in lieu of

  18           termination versus being terminated?

  19                 A      Yes.    At times.

  20                 Q      Have you ever made the statement

  21           that oftentimes a physician is best to be

  22           given the opportunity to resign rather than

  23           some of the implications that come along

  24           with formal termination?

  25                 A      I may have said something to that
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    2          effect.

    3                Q      In making a statement to that

    4          effect, for a physician, what are the

    5          implications of being terminated versus

    6          resigning?

    7                A      Well, being terminated for

    8          problems related to your work as a physician

    9          is reportable to the Office of the

  10           Professions.

  11                 Q      So if you're terminated, you have

  12           to report that to the Board, right?            The

  13           Office of Professional Medical Conduct or

  14           something like that; is that what it's

  15           called?

  16                 A      Yes.

  17                 Q      What are the implications for your

  18           career if you report something like that?

  19                 A      I don't know exactly, but I think

  20           it could be problematic for your future

  21           employment.

  22                 Q      Now, Dr. Kaye contends that she

  23           felt compelled to resign, especially in

  24           January after the work stoppage for two

  25           months.    She felt that she was being set up
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    2          to be terminated.       Would you agree or

    3          disagree?

    4                            MS. CANFIELD:     Objection to

    5                    form.    You can answer.

    6                A      I would disagree that she was

    7          being set up to be terminated.           I don't

    8          disagree that things were going poorly.             And

    9          that there had been -- you know, as we've

  10           discussed all day today, there was a serious

  11           lack of trust, collaboration, team work,

  12           going on with our efforts to improve the

  13           work in the Bronx clinics.          It was --

  14                 Q      Would Dr. Kaye have been

  15           terminated had she not resigned?

  16                 A      Not for anything that was pending

  17           at the time.

  18                 Q      So are you saying that steps

  19           weren't being taken to manage Dr. Kaye out

  20           after she complained about various aspects

  21           of the transition that we discussed earlier

  22           today?

  23                             MS. CANFIELD:     Objection to

  24                     form.    You can answer.

  25                 A      You asked about me about that
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    2          phrase used by Dr. Ford.         I mean, I think

    3          that implicit in that is to give people the

    4          opportunity to be remediated or to be

    5          managed out if the challenges with their

    6          work performance can't be fixed.

    7                Q      Were you aware of any opportunity

    8          that Dr. Kaye was given to be remediated?

    9                A      I'm aware that Dr. Jain and

  10           Dr. Ford both spent time with Dr. Kaye

  11           working on some of the challenges that we've

  12           discussed here.

  13                 Q      Was Dr. Kaye put on a performance

  14           improvement plan?

  15                 A      Not to my knowledge, no.

  16                 Q      Was Dr. Kaye given a formal

  17           remediation program?

  18                 A      No.

  19                 Q      So had Dr. Kaye continued to work,

  20           it's your position that she would not have

  21           been terminated?

  22                 A      I can't know that she would have

  23           been terminated.

  24                 Q      But it didn't look good for

  25           Dr. Kaye if she continued to work there;
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    2          would that be accurate?

    3                            MS. CANFIELD:     Objection to

    4                    form.

    5                A      I don't know that I would say

    6          that.     I mean, it was not going well.         I

    7          think we could all agree.

    8                Q      How could you say it wasn't going

    9          well.     I mean, she was doing the evaluations

  10           when she had the opportunity to do them.

  11                        Why wasn't she allowed to continue

  12           to work?

  13                             MS. CANFIELD:     Objection to

  14                     form.    You can answer.

  15                 A      I mean, I just have a different

  16           reading of it than that.          She was resistant

  17           to so many different elements all the time

  18           of what we were trying to do, and she

  19           contributed to an environment that's

  20           portrayed in that email, where our staff,

  21           our supervisors feel persecuted for even

  22           wanting to sit in on an evaluation in a

  23           clinic where really our goal and intention

  24           for even coming in there after all these

  25           years of practicing exactly the way that it
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    2          always practiced, was to try to make it

    3          better.

    4                       It was not even an environment

    5          where anyone wanted to be where we could

    6          retain somebody good to be there with her.

    7          So it wasn't going well.

    8                Q      I'm going to ask you, Doctor, did

    9          you ever have -- I mean, how is Dr. Kaye

  10           exactly resistant?        What examples do you

  11           have?

  12                           MS. CANFIELD:       Can you repeat

  13                     the question.     I didn't hear it.

  14                 Q      What example do you have of

  15           Dr. Kaye being resistant?

  16                 A      So, I mean, the litany of

  17           complaints that she lodged, which are easily

  18           rebuttal, again, in my opinion.

  19                        The misunderstanding of our

  20           intentions.     The implication that we are

  21           trying to through malfeasance and

  22           unethically influence the results of the

  23           evaluations.      When, in fact, we are a group

  24           of people who took over this clinic because

  25           we believe the work and we want to make it
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    2          better, and we want to make it more

    3          efficient.

    4                       Now, are we perfect?        No.   And did

    5          HR do some things wrong, did they have the

    6          wrong supervisor on there for a period of

    7          time that they shouldn't have.           Sure.   But

    8          each one of those things is interpreted as a

    9          personal attack, they're interpreted as

  10           about here, they're interpreted as

  11           retaliation.

  12                        The change in the title is a great

  13           example.     It is completely meaningless to

  14           one's work.     The distinction between medical

  15           record, a director, it was not meant as a

  16           slight or a demotion.        And yet everything is

  17           perceived in that way.

  18                        The ability to accommodate

  19           feedback, even within the course of this

  20           deposition, it's like, if you haven't been

  21           doing it for 20 years, then nobody can have

  22           a differing opinion.

  23                        All of these things made it

  24           challenging to do the basic goal of what we

  25           had set out to do; which is to streamline
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    2          the process, to make it better, to address

    3          the efficiencies.       To recruit and retain

    4          staff to do good work.        That's what we were

    5          trying to do.      And it was all challenged by

    6          her resistance to that very project.            Which

    7          she didn't believe that we were motivated by

    8          good intentions, and she resisted at every

    9          step.     And it made it not a good place to

  10           work.

  11                 Q      Now, you're saying that she

  12           resisted you at every -- that she resisted

  13           you every time.       And that her complaints

  14           made it not a good place to work, but

  15           Dr. Kaye wasn't the only person that raised

  16           concerns about the changes that were being

  17           made.

  18                        And we went over this earlier.          I

  19           mentioned earlier that Dr. Winkler had

  20           raised the concern, right.          But he wasn't

  21           treated the same way as Dr. Kaye.           I raised

  22           questions about Dr. Collin raising concern.

  23                        Now, what happen to Dr. Collin.

  24           Does he still work at the actual court

  25           clinic?    Does he still work in Bellevue,
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    2          let's begin with?

    3                 A       Yes.     Dr. Collin never worked for

    4          CHS.       He still works for Bellevue, as I

    5          understand.

    6                 Q       But he was no longer in charge of

    7          any court clinic once Dr. Yang came on; am I

    8          right?

    9                             MS. CANFIELD:     Objection to

  10                      form.      You can answer.

  11                  A       Yes.     As I mentioned, the project

  12           was to consolidate the clinics under CHS.

  13           Dr. Collin never worked for CHS.

  14                  Q       Did Dr. Collin apply for Dr.

  15           Jain's position?

  16                  A       I don't know.

  17                  Q       Was he considered to be the,

  18           quote/unquote, Uber director?

  19                  A       I don't know.    He was not one of

  20           the people I interviewed for that position.

  21                  Q       So there were other candidates

  22           that were interviewed besides Dr. Jain,

  23           right?

  24                  A       Yes.

  25                  Q       And Dr. Collin was not one of the
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    2          people interviewed, right?

    3                A      Correct.

    4                Q      And do you know why that was?

    5                A      No.

    6                            MS. CANFIELD:     Objection to

    7                    form.     You can answer.

    8                Q      Would you have considered him a

    9          good candidate to replace instead of

  10           Dr. Jain?

  11                 A      I don't know enough about his

  12           background.       And I would have had to

  13           interview him.

  14                 Q      Now, you were pretty animated as

  15           you talked about the types of allegations

  16           that Dr. Kaye had with her board of

  17           correction complaint, amongst others.

  18                        Did it anger you that Dr. Kaye

  19           accused you and the other CHS management of

  20           malfeasance?

  21                             MS. CANFIELD:     Objection to

  22                     form.     Mischaracterizing the

  23                     witness's testimony, but you can

  24                     answer.

  25                 A      No.    I don't harbor any personal
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    2          anger.    I think it's unfortunate that it

    3          worked out that way.        Because she clearly

    4          misperceived our intentions.          And to me

    5          that's -- that's unfortunate and sad.            I

    6          don't feel angry towards her.          Because I do

    7          believe that she thinks that she was being

    8          persecuted by us.       It's just simply that

    9          that's not the realty of the situation.

  10                 Q      Why couldn't her shift be restored

  11           back from 9:00 to 5:30?

  12                 A      I don't know the answer to that.

  13           I wasn't involved in that discussion.            And,

  14           ultimately, again, it was an HR issue about

  15           standardization.

  16                 Q      Dr. Kaye alleges that she wasn't

  17           taken seriously because she was a woman,

  18           rather than the other males that complained.

  19           Do you agree or disagree?

  20                 A      I disagree.     My direct supervisor

  21           at CHS is a woman, and Dr. Ford who was

  22           charged with running this initiative for CHS

  23           is a woman.     So I don't know how CHS -- you

  24           know, I can't speak to Bellevue for many

  25           years or anything else.
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    2                       But I know at CHS our leadership

    3          has the principles of equity at the

    4          forefront, and certainly gender equity is a

    5          huge part of that.

    6                Q      Now, you said that there were no

    7          efforts by CHS management to interfere with

    8          the administration of the 730 exams, right?

    9                A      Correct.

  10                 Q      And at no point did City Hall or

  11           CHS ever have any interference or made any

  12           inquiries about any specific exams, right?

  13                 A      No interference.       I don't know if

  14           there were inquiries that might have come

  15           from City Hall.       I can't control whether

  16           that happened, but I'm not aware of any.

  17                 Q      Were you aware of Dr. Yang asking

  18           about specific defendants, by any chance?

  19                 A      No.

  20                 Q      I want to direct your attention to

  21           an exhibit.     And I'm going to make sure I

  22           pull up the right one.

  23                        Before I get into it, what was

  24           your familiarity with MOCJ?          What do you

  25           know about them?
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    2                            MS. CANFIELD:     Objection to

    3                    form.    You can answer.

    4                A      They are a mayoral agency, I

    5          guess, or office that looks at issues

    6          relevant to criminal justice as part of City

    7          Hall.

    8                Q      You said that they look at issues.

    9          Now, was -- how often did you engage MOCJ?

  10                 A      Very rarely.

  11                 Q      Who engaged MOCJ from your office?

  12                 A      Probably Patsy's chief of staff or

  13           data analysis people would be engaging MOCJ,

  14           and sometimes Patsy would talk to their

  15           leadership.

  16                 Q      Who was the chief of staff at that

  17           time?

  18                 A      Ben Farver.

  19                 Q      Was John Volpe ever her chief of

  20           staff?

  21                 A      No.

  22                 Q      Who's John Volpe?

  23                 A      John Volpe never worked for CHS.

  24                 Q      He worked for Department of

  25           Health, right?
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    2                A      I believe so, yes.

    3                Q      Did he work with you?

    4                A      I've met John in different

    5          capacities over time.

    6                Q      Now, did you report to Ms. Yang

    7          when you were at the Department of Mental

    8          Health and Hygiene?

    9                A      No.

  10                 Q      Did you know her at that time?

  11                 A      I knew of her.      I don't think we

  12           had many interactions.

  13                 Q      I'm going to show you what's

  14           marked as Plaintiff's Exhibit 26.           Okay.

  15           Plaintiff's Exhibit 26 bears the Bate Stamp

  16           series K6 Production 3 and 4.          And it's

  17           actually produced at -- this would have been

  18           Mr. Bloom's deposition.         I'm going to share

  19           the screen with you now.         And I'm going to

  20           draw your attention to the beginning of the

  21           email -- well, the email from the beginning.

  22                              (Whereupon, Email (Kaye's 6th

  23                              Prod_3-4) was marked as

  24                              Plaintiff's Exhibit 26 for

  25                              identification as of this date.)
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    2                       Now, this is an email from

    3          Mr. Bloom to Connie Montoya and Claudia --

    4          Peter Jones and Claudia Montoya, right.             And

    5          I just want to draw your -- well, do you

    6          want to read it first before -- you're not

    7          on it, but do you want to read it first

    8          before we get into a discussion about it?

    9                A      Sure.

  10                 Q      For purposes of the record, the

  11           email involves Miguel Figueroa and Marsik

  12           had a 730 exam and he refused to board the

  13           bus to Rikers an exam was scheduled for

  14           December 28, 2015.       The court date was

  15           January 19th, right.        And Mr. Bloom goes on

  16           to describe Mr. Figueroa's stature, he's 285

  17           pounds, he's 6-foot three and had been

  18           violently attacking officers.

  19                        Had you heard anything about

  20           Mr. Figueroa during the course of your

  21           employment?

  22                 A      I'm generally aware of the name.

  23                 Q      What do you --

  24                           MS. CANFIELD:       Dr. MacDonald,

  25                     did you finish reading the email?
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    2                          THE WITNESS:      No.    Sorry.

    3                          MS. CANFIELD:       Why don't you

    4                    finish reading the email.

    5                Q      Now, for purposes of clarity and

    6          the record, Mr. Bloom says, "Melissa has

    7          been receiving calls and emails from John

    8          Volpe and Trish Marsik of the Mayor's

    9          office, and Patsy Yang and Angela Solimo of

  10           Dot DOC.

  11                        Was it your understanding that

  12           Ms. Yang was working at DOC at that time?

  13                 A      No.

  14                 Q      "She told me that she received an

  15           email from John today, in which he

  16           encouraged Melissa to ask Judge Veijas for a

  17           force order to get Mr. Figueroa to the

  18           clinic."

  19                        Do you recall that?

  20                 A      No.

  21                 Q      At this point were you involved in

  22           this case or involved with Mr. Figueroa on

  23           any level?

  24                 A      No.

  25                 Q      So I'm going to ask you some more
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    2          questions again, going back to the Board of

    3          Correction complaint.

    4                        Now, Dr. Kaye raises some issues

    5          about malfeasance and the interference with

    6          the examination.         And one of the examples

    7          that she has cited was the Miguel Figueroa

    8          case.

    9                        Would you say that that was an

  10           instance of influence, undue influence?

  11                              MS. CANFIELD:    Objection.     You

  12                      can answer.

  13                  A      Not based on the evidence that's

  14           just been presented to me.          And also those

  15           people are part of an entity external to

  16           CHS.

  17                  Q      So you're saying that CHS, in

  18           2015, was not at the Department of Health?

  19                              MS. CANFIELD:    Objection to

  20                      form.    You can answer.

  21                  A      I'm sorry.     What was the date of

  22           that exchange?

  23                  Q      I can tell you.      December -- let's

  24           get back to this.        This particular email was

  25           December 16, 2015.
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    2                A      And the allegations -- so that was

    3          before CHS took over the forensic evaluation

    4          clinics, correct?

    5                Q      Well, Ms. Yang is asking about

    6          these particular exams regardless of whether

    7          or not they took over, quote/unquote.            Ms.

    8          Yang is asking about this specific defendant

    9          and getting a forced order at that time.

  10                 A      Was that clear from the email that

  11           you showed me?

  12                 Q      I'm sure.

  13                 A      Or was that a question from MOCJ?

  14                 Q      No.   We can review it.

  15                 A      I mean, the information in the

  16           email in question as it described her as an

  17           employee of the Department of Correction.

  18                 Q      Well, you said that she was at the

  19           mayor's office at that time.

  20                 A      My point is, this doesn't

  21           establish that she was trying to influence

  22           the outcome of an evaluation.

  23                 Q      Well, they wanted -- Melissa

  24           believes that the mayor's office anticipates

  25           a finding of unfitness.         Right?
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    2                A      But what is that based on?

    3                Q      Well, "She told me that she

    4          received an email from John today in which

    5          she encouraged Melissa to ask Judge Viejas

    6          for a forced order to get Mr. Figueroa to

    7          the clinic.

    8                       How often would you say that

    9          someone would ask for a forced order for a

  10           defendant?

  11                 A      You're showing me the email that

  12           is -- one person's impression from that time

  13           of what Dr. Kaye told them, based on her

  14           conversations with four different people.

  15                 Q      Um-hmm.

  16                 A      And you're asking me -- you're

  17           presenting this as evidence that Patricia

  18           Yang was influencing the outcome of

  19           evaluations.      Is that correct?

  20                 Q      Let's keep going.       We're going to

  21           have another exhibit.        We're going to have

  22           Exhibit 27.     K6 Production 73 through 78.

  23           Right.

  24                              (Whereupon, Email (Kaye's 6th

  25                              Prod_73-78) was marked as
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    2                              Plaintiff's Exhibit 27 for

    3                              identification as of this date.)

    4                          MS. CANFIELD:       Is this also

    5                    part of the Bloom deposition?

    6                          MS. HAGAN:      Yes.

    7                          MS. CANFIELD:       Do you know

    8                    what the exhibit number was for

    9                    Bloom?

  10                           MS. HAGAN:      I can't tell you

  11                     that off the top of my head.

  12                 Q      Now, the first email here is from

  13           Angela Solimo, and it's to Dr. Kaye, and the

  14           subject is MF for Miguel Figueroa.            And she

  15           asks, "Dr. Kaye, are you expecting Miguel

  16           Figueroa, AKA Figueroa, whatever, in the

  17           Bronx court clinic tomorrow for 730 exam

  18           evaluation.     If so, special transportation

  19           will need to be made.        Please let me know

  20           when you can."

  21                        Do you know who Angela Solimo is?

  22                 A      Yes.

  23                 Q      Who is she?

  24                 A      Angela Solimo works for CHS.

  25                 Q      And you were working for CHS in
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    2          2015; am I right?

    3                A      Correct.

    4                Q      And even though they weren't

    5          managing the court clinics, she's asking Dr.

    6          Kaye about Mr. Figueroa; am I right?

    7                A      Yes.

    8                Q      So now Dr. Kaye is responding to

    9          Ms. Solimo, "Hi, Angela.         Yes.    We called

  10           him in for tomorrow and have made DOC aware.

  11           Thank you."     Right?

  12                 A      Yes.

  13                 Q      Then Ms. Solimo again reaches out

  14           to Dr. Kaye.        "Thank you for the message

  15           this morning.       This was communicated to

  16           mental health leadership and a unit chef in

  17           his facility."

  18                        Who's mental health leadership?

  19                 A      I don't know who she would have

  20           been referring to at that time.

  21                 Q      Then she says, "The biggest

  22           concern is his stability over rushing to

  23           complete the 730 to my knowledge.           So if he

  24           refuses, no need to agitate him.           I left a

  25           message with your office as well.           Can best
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    2          be reached," and she leaves her number,

    3          right?

    4                A      Yes.

    5                Q      Then Dr. Kaye responds to not only

    6          Ms. Solimo, but to John Volpe.           Where is

    7          John Volpe working at this point?

    8                A      I don't know.

    9                Q      He's working over at the

  10           Department of Mental Health and Hygiene; am

  11           I right?

  12                 A      Maybe.     That's where I knew him to

  13           work --

  14                 Q      Executive deputy commissioner

  15           office, Division of Mental Health, Mental

  16           Hygiene, New York City Department of Health

  17           and Mental Hygiene, right?

  18                 A      There you go.

  19                 Q      Yes.     And who's executive deputy

  20           commissioner at that time?

  21                 A      Probably --

  22                 Q      Would that have been Ms. Yang?

  23                 A      No.

  24                 Q      It wasn't?

  25                 A      It was not Ms. Yang.        It was Gary
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    2          Belkin.

    3                Q      Gary Belkin.     You're saying that

    4          he is reporting to Gary Belkin and asking

    5          all these questions, not Dr. Yang?

    6                A      Correct.

    7                Q      "What is the process of getting

    8          the judge to issue a force order?           What if

    9          we don't want to wait three times for

  10           refusal."     You see that?

  11                 A      Can you show me the email that he

  12           was responding to again.

  13                 Q      "Thanks for the update.        I was

  14           just getting ready to let you know that

  15           defendant Miguel Figueroa refused production

  16           today.    I understand that he is typically

  17           uncooperative, so it may require a force

  18           order from the judge to get him to produce

  19           in the future.      However, most judges are

  20           reluctant to issue force orders.           This is

  21           from Dr. Kaye.      And typically require that

  22           the defendant refuses three times before

  23           they will even consider it.          We have

  24           schedule him for December 28th.           His return

  25           to court date is January 19, 2016.             Please
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    2          let me know if there are plans to try to get

    3          a force order."       Right?

    4                A      Yes.

    5                Q      And then John Volpe says, "But

    6          what if we don't want to wait three times."

    7          Right?

    8                A      Yes.

    9                Q      So then Ms. Solimo, "To my

  10           knowledge, that order can only come from the

  11           court as it requires a judge's signature.

  12           It's not something we typically get involved

  13           with from the jail side."         Right?

  14                 A      Yes.

  15                 Q      Okay.    "But who specifically

  16           requests the force order, what party?

  17           Please excuse any typos."         Right?

  18                 A      Yes.

  19                 Q      And then Dr. Collin says, "Hi,

  20           John, going back a few emails, can you

  21           clarify the statement to the pronoun we,

  22           quote/unquote.       What is the process of

  23           getting the judge to issue a force order?

  24           What if we don't want to wait three times

  25           refusal."     Right?
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    2                       "And the judge orders the

    3          evaluation and directs its completion,

    4          including authorization for DOC to use

    5          reasonable force to produce defendant for

    6          his examination, as the judge deems

    7          appropriate.      Whoever the we, quote/unquote,

    8          is should reach out to the defendant's

    9          attorney.     I would imagine who can then

  10           petition the court if he thinks a force

  11           order to completion of the 730 is in the

  12           best interest of his client."          Right?

  13                        And then Mr. Volpe responds, "The

  14           we is City Hall.       They are tracking the

  15           case."

  16                        Now, you said earlier Dr. Yang was

  17           working out of the City Hall; am I right?

  18                 A      At some point, yes.       I don't know

  19           when she would have started at City Hall.

  20           But I would not describe all opinions

  21           ascribed to City Hall to Dr. Yang.

  22                 Q      Now, I'm going to ask you some

  23           questions.     You disagree with any number of

  24           aspects of Dr. Kaye's complaint to the Board

  25           of Corrections.       What else would you say
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    2          that you dispute of Dr. Kaye's complaint to

    3          the Board of Corrections?

    4                           MS. CANFIELD:      I don't think

    5                   he read the whole complaint at least

    6                   today at the deposition.

    7                           MS. HAGAN:     Why don't we do

    8                   this.    We don't we take a break,

    9                   right.    Why don't we give

  10                    Dr. MacDonald the opportunity during

  11                    that break to read the --

  12                            MS. CANFIELD:      But I hope it's

  13                    just five minutes because at this

  14                    point --

  15                            MS. HAGAN:     It's five minutes.

  16                            MS. CANFIELD:      We're going to

  17                    be finished at 6:10, based on the

  18                    hour and the two five-minute breaks.

  19                    That's fine.      But before we do go,

  20                    there are a number of exhibits that

  21                    I do not have that I would like you

  22                    to email me, if you could, Ms.

  23                    Hagan.

  24                            MS. HAGAN:     If you can email

  25                    the ones you don't have or the ones
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    2                   that you're referencing, then I can

    3                   do that.

    4                          MS. CANFIELD:       I can say them

    5                   on the record now, if you want to

    6                   write it down because --

    7                          MS. HAGAN:      I'm not going --

    8                   just email me and then you can make

    9                   sure it's accurate and then we won't

  10                    have this problem for Monday.

  11                           Because it's not going to be

  12                    the same as me doing it.         If you

  13                    email, it will just be a more

  14                    efficient process.

  15                           MS. CANFIELD:       Either that or

  16                    you email them to the court

  17                    reporter, and when the transcript's

  18                    produced, which we are requesting a

  19                    copy so Dr. MacDonald can review for

  20                    accuracy.     I'm not going to buy the

  21                    transcript.     If you can just provide

  22                    it for the witness to certify.

  23                           MS. HAGAN:      Well, up until now

  24                    you have been asking for expedited

  25                    transcripts so --
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    2                           MS. CANFIELD:      I have not.

    3                   And we have been instructed not to

    4                   do that.     I'm going to ask for a

    5                   certified copy so Dr. MacDonald can

    6                   review it.

    7                           MS. HAGAN:     I'm going to have

    8                   to think about that one.         Because

    9                   that would incur more costs for

  10                    Dr. Kaye.     But what I can do is --

  11                            MS. CANFIELD:      I don't think

  12                    so.     All you have to do is give me a

  13                    copy.     You should have a couple of

  14                    copies that you've got.

  15                            MS. HAGAN:     I can send you an

  16                    electronic version of it.

  17                            MS. CANFIELD:      As long it's

  18                    certified by the court reporter.

  19                    That's fine.

  20                            MS. HAGAN:     Why don't we take

  21                    the break.     And then -- you have the

  22                    Board of Correction complaint or do

  23                    I need to sent it now?

  24                            MS. CANFIELD:      You need to

  25                    send that one, I don't have it.
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    2                           MS. HAGAN:     I can send it to

    3                    you.   And you guys can review it

    4                    during the break.

    5                           MS. CANFIELD:      Yeah.   Send it

    6                    to me and I'll forward it to

    7                    Dr. MacDonald.

    8                           MS. HAGAN:     Okay.    Fair

    9                    enough.

  10                               (Whereupon, a recess was taken

  11                               from 5:41 p.m. to 5:49 p.m.)

  12                 Q      Now, I'm going to ask you -- I

  13           think you've had an opportunity to review

  14           the Board of Correction complaint now,

  15           right, Dr. MacDonald?

  16                 A      Yeah.    It's quite a long document.

  17           So, I mean, we can go through it point by

  18           point, if you'd like.

  19                 Q      I don't know if that's necessary.

  20           I think that you -- it will probably be more

  21           constructive for you to explain your

  22           disagreement with the document.

  23                            MS. CANFIELD:      Just note that

  24                     he may not get everything if you

  25                     don't question him, but his general
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    2                    impressions with the five minutes

    3                    that he had to read it.

    4                          MS. HAGAN:      Yeah.    Sure.

    5                    Let's do that.

    6                A      So the section on dual agency

    7          prohibitions we discussed.          That I agree

    8          with her assertions about the requirements,

    9          but she presents no evidence that we have

  10           wantonly violated dual agency prohibition,

  11           causing direct harm to defendants.            Simply

  12           not the case, that we do respect those

  13           principles.

  14                 Q      What about the destruction of work

  15           product?

  16                 A      Well, she -- I thought you were

  17           going to have me go through it.

  18                 Q      No, no, I can ask you some

  19           questions because that might make it easier

  20           and make it more specific.

  21                 A      Well, there were several other

  22           things I'd like to comment on before we get

  23           to that.

  24                           MS. CANFIELD:       Why don't you

  25                     allow him to comment and then you
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    2                    can question.

    3                          MS. HAGAN:      Sure.

    4                A      Okay.    So we talked about the

    5          recording of forensic examinations.            I

    6          explained my assessment of that situation.

    7          Whereas here there is a statement that CHS

    8          abhors transparency at CPL 730 examinations

    9          and has prohibited recording to conceal the

  10           poor quality and misconduct in exams.

  11                        Obviously, that's not the case.

  12           We, as I said, would be open to recording

  13           all exams, if we had a consensus among staff

  14           that that's the best practice.           My personal

  15           take is that if it's the best practice for a

  16           case, it should be the best practice for all

  17           cases.

  18                        But certainly we just need to have

  19           a clarity on how that happens and a

  20           consensus among all the people who work

  21           together to do this work.         Not that we abhor

  22           transparency.      And that kind of manipulation

  23           of our intentions, when we have a reasonable

  24           disagreement, is exactly what I'm discussing

  25           that was the primary challenge of managing
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    2          Dr. Kaye.

    3                Q      Would you agree --

    4                A      May I finish?      That, in fact, when

    5          there's a reasonable disagreement -- and

    6          just an assertion, that the average person

    7          would use their judgment to discuss

    8          something like the occasional ad hoc

    9          recording of an evaluation with their

  10           supervisors and their colleagues, that then

  11           becomes perceived as an organizational

  12           desire to restrict or to act unethically --

  13                 Q      But wasn't that the case --

  14                 A      There's simply no evidence of that

  15           and there --

  16                 Q      Wasn't there discipline in the

  17           wake of this disagreement?

  18                 A      Again, the issue was the judgment

  19           about doing that without discussion.            Not

  20           that CHS has a problem with recording, per

  21           se.   That's the issue.       And, yes, we ended

  22           up issuing a policy to be clear about that,

  23           because we can't have different examiners

  24           having different approaches.          But to make

  25           the leap that that is all in the interest of
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    2          us abhorring transparency is --

    3                Q      I have a question.

    4                A      There is no evidence of that.

    5                Q      Is there any standard practice in

    6          place now as to how to administer the 730

    7          examinations?

    8                A      May I continue to go through --

    9                Q      No.   I'm asking you a question

  10           before we move on.       Because we're on this

  11           topic.

  12                        Is there any standard document in

  13           place or standard protocol in place as to

  14           how 730 examinations should be administered

  15           across the clinics?

  16                 A      So there is a supervisory

  17           structure that has also been resisted at

  18           every turn.     There is intentions that we

  19           never even reached to really think deeply

  20           about how do we systemically evaluate

  21           quality in the evaluations --

  22                 Q      But Dr. Kaye is long gone.         Dr.

  23           Kaye is long gone now.

  24                 A      May I finish answering the

  25           question?
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    2                Q      But I'm asking you -- I'm trying

    3          to make sure that my question is precise and

    4          clear.    I'm not sure it was.

    5                       I'm asking you today, today, is

    6          there a standard protocol or standard

    7          operating procedure in place to administer

    8          730 examinations across all four clinics?

    9                       Dr. Kaye has not worked at the

  10           court clinics since January 2020.           We are

  11           now in November of 2021.         No one is

  12           resisting you any more.

  13                        Is there a standard protocol and

  14           procedure in place now?

  15                 A      There's a whole suite of policies

  16           that govern the evaluations in the clinics.

  17                 Q      Okay.    Today, if I get evaluated

  18           at the Queens court clinic, right, I'm a

  19           defendant, I stab my exboyfriend here in

  20           Queens today.      Next year I stab him in the

  21           Bronx, right.      From today, is there a way

  22           that I'm going to get the same type of

  23           process from the Bronx and the Queens

  24           clinic?

  25                 A      You may have different examiners,
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    2          but the process, yes, should be the same.

    3                Q      So they're going to all adhere to

    4          the dusky standard; am I right?

    5                          MS. CANFIELD:       Objection.     You

    6                    can answer.

    7                A      I'm not going to speak to the

    8          specifics of how they are going to do their

    9          evaluations.

  10                 Q      What are their reports going to

  11           look like, Dr. MacDonald?

  12                           MS. CANFIELD:       Objection to

  13                     the question.     You can answer if

  14                     you're able.

  15                 A      They are going to look like

  16           forensic evaluation reports.

  17                 Q      What do forensic evaluation

  18           reports look like to you, Dr. MacDonald?

  19                 A      They are a multipage document that

  20           has a set of findings and a set of

  21           determinations.

  22                 Q      Now, to your understanding, has

  23           there been any, I guess, format or any kind

  24           of other structure that's been imposed upon

  25           all four clinics in order to get this
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    2          standardized methodology in place?

    3                            MS. CANFIELD:     Objection to

    4                    form.    You can answer if you're

    5                    able.

    6                A      So there is some inherent

    7          standardization in the eyesight process that

    8          attempts to standardize how we document

    9          different things.       There are interests of

  10           autonomy on the part of evaluators that also

  11           need to considered.

  12                        So we are not there to

  13           standardize -- it is not a cookie cutter

  14           endeavor that can be completely standardized

  15           across the board.       And that never has been

  16           my intention to imply that that's what we

  17           wanted out of it.       But we want to

  18           thoughtfully, carefully, with the staff and

  19           with the experts, figure out, how do we do

  20           these things as consistently as possible, as

  21           objectively as possible.          And as efficiently

  22           as possible across all the clinics.            That's

  23           the goal of the --

  24                 Q      Eyesight doesn't necessarily

  25           impact the actual content of the report.
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    2          Doesn't eyesight just capture whether or not

    3          the report was actually done and is a

    4          repository for saving reports themselves?

    5                A      Of course CHS does not contend

    6          that we are going to advice the examiners on

    7          the content of the report.          So, no, of

    8          course the program that we use to document

    9          the reports would not dictate the structure

  10           of the report.

  11                        So it may provide general topic so

  12           that we can standardize as much as possible.

  13           And part of the goal that we, frankly, are

  14           still struggling to reach after COVID and

  15           the struggles that we've spent the day

  16           discussing in this deposition, is a

  17           collaborative process to understand, what

  18           can we agree on fundamental elements of the

  19           reports that should be in every report, and

  20           how would they look.

  21                        Of course, they would remain to

  22           the discretion of the individual examiners.

  23                 Q      But Dr. Kaye hasn't been there for

  24           over a year.      And what's stopping you from

  25           getting this consensus as to what should be
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    2          in the report, the structure of the report.

    3          She's not there any more.         Why don't you

    4          have this consensus now?

    5                            MS. CANFIELD:     Objection to

    6                    form.

    7                A      It's a continual quality

    8          improvement process.        So is it completely

    9          done, no, it will never be done.           And, as

  10           you know, the last two years have been

  11           fraught for many reasons for all elements of

  12           our society.       And the FPECC clinics have not

  13           been spared from that.

  14                        So it's a lot of work to try to

  15           get people in place, recruitment retention,

  16           have the right people and support them.

  17           That's the basic goal of what we've been

  18           here.

  19                        May I continue going through this

  20           document that you asked me to review?

  21                 Q      I know that we're short on time.

  22           So I'm going to try to -- since you got a

  23           chance to read it, I'm going to try to ask

  24           you some questions.        And if you need to read

  25           a section, then I'll let you read it.            Is
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    2          that fair?

    3                A      (No verbal response.)

    4                Q      Because here's a discussion about

    5          the destruction of work product.           I had

    6          asked you earlier about Dr. Kaye's

    7          allegation that -- well, there's back and

    8          forth.

    9                       Dr. Jain accused Dr. Kaye of

  10           stealing his notes.        And Dr. Kaye accused

  11           Dr. Jain of destroying his notes.           Now this

  12           Board of Correction complaint alludes to

  13           that, under destruction of work product.

  14                        Did you get a chance to read this

  15           paragraph?

  16                 A      I did.

  17                 Q      Do you agree or disagree with

  18           that?

  19                 A      I have no evidence of this.         This

  20           is one element of this document that

  21           didn't -- has never come to my attention.

  22           And I do -- I don't know the answer to this

  23           relatively simple question.          Which could be

  24           worked out.     I guarantee that Dr. Jain,

  25           Dr. Ford, would be open to discussing what
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    2          is the best practice and standardizing that

    3          practice across the clinics.

    4                       So I don't think that what's

    5          portrayed here is true, but I don't have

    6          specifics on what the current policy for

    7          this is.

    8                Q      Now, then you have the next one,

    9          the 730 team court liaisons, right?            What is

  10           your familiarity with the 730 team?

  11                 A      So the 730 team is really designed

  12           to provide continuity as people move back

  13           and forth between restoration of fitness,

  14           which happens in OMH state run facilities

  15           where they have treatment over objection, to

  16           returning to jail, where people often

  17           historically would decompensate.           They lose

  18           the treatment over objection and the jail

  19           environment can be chaotic, and it's very

  20           different from the inpatient setting.

  21                        And so these teams were designed

  22           to follow those patients through the system

  23           so that they don't get lost, so they don't

  24           fall through the cracks.         So the key

  25           elements of their care can be continued as
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    2          they move through different settings.

    3                Q      Now, she alleges that, "The 730

    4          team and court liaisons comprise primarily

    5          social workers and mental health counselors

    6          who routinely make inquiries about

    7          defendant's legal case and discuss the

    8          defendant's details of their legal

    9          situation.     Often giving unauthorized legal

  10           advise.    They are also known to interject

  11           gratuitous opinions of competency, something

  12           from which they are neither qualified or

  13           tasked to do."

  14                        Now, do you agree or disagree with

  15           that?

  16                 A      I disagree with that.        I disagree

  17           with that.     The program was designed by

  18           Dr. Ford to address specific needs for our

  19           patient population as they cycle between

  20           these care settings.        It is not the

  21           intention of the program, nor is it the

  22           training of the staff of the program to do

  23           these things that she alleges.

  24                 Q      Now, did the staff -- do you know

  25           for a fact that the staff did not engage in
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    2          what Dr. Kaye alleged here in this

    3          paragraph?

    4                A      I have never heard of that, no.

    5          And I don't -- so since we're probably not

    6          going to have time to go through these,

    7          these allegations do not meet standards of

    8          evidence.

    9                Q      What standards of evidence are you

  10           basing it on?

  11                 A      Okay.    Let's go to --

  12                 Q      By any chance, before you go --

  13                 A      Let's go to quid pro quo hiring.

  14                 Q      I have a question.       Did you

  15           investigate any of these allegations once

  16           you saw this complaint?

  17                 A      Yes.    I discussed them all with

  18           the leadership of the FPECC clinics.

  19                 Q      Did you go and speak to any of the

  20           730 team or delve an investigatory report in

  21           response to these allegations?

  22                 A      No.    There's no substance to this

  23           allegation.     I have regular meetings with

  24           the people who actually run these teams.

  25           And I know what the intentions of these
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    2          teams are, I know what the goals of these

    3          teams are.     And this is essentially rumor

    4          and hearsay.       And is put in a document as if

    5          she had material facts about this.            But

    6          there is no material fact behind it.

    7                Q      Did the Department of

    8          Investigation ever approach you about

    9          Dr. Kaye's complaint?

  10                 A      No.

  11                 Q      Did the Board of Correction ever

  12           approach you about Dr. Kaye's complaint?

  13                 A      I don't recall.

  14                 Q      Did the IG office ever approach

  15           you about Dr. Kaye's complaint?

  16                 A      I've spoken to at least one person

  17           in the District Attorney's Office.

  18                 Q      Which District Attorney's Office?

  19                 A      I don't recall.

  20                 Q      What was the discussion about?

  21                 A      The discussion was a brief one,

  22           where the district attorney was concerned

  23           about the things that were raised.            But

  24           dubious about the way they were presented,

  25           and wanted my reassurance that this was
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    2          related to a personnel issue, and that there

    3          was a person who was disgruntled with CHS,

    4          who had made these various allegations that

    5          are easily rebutted.

    6                       And that is what I told them and

    7          that continues to be my assessment, even

    8          though clearly we're not going to get a

    9          chance to go through the details.

  10                 Q      So now, I'm going to ask you some

  11           questions about Nicholas Feliciano

  12           (phonetic).

  13                        Do you know anything about that

  14           case?

  15                 A      Yes.

  16                 Q      Okay.    What do you know about

  17           Mr. Feliciano?

  18                           THE WITNESS:      So I would just

  19                     ask my counsel what I'm allowed to

  20                     disclose, if it involves protected

  21                     health information.

  22                           MS. CANFIELD:       I would say

  23                     that you cannot disclose that

  24                     information.

  25                           MS. HAGAN:      Well, it's not
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    2                    necessarily disclose, I mean it's

    3                    public record.     The Board of

    4                    Correction complaint is out there.

    5                    I have it here right now.        We can

    6                    discuss it from the document, if

    7                    you'd like.

    8                          MS. CANFIELD:       Why don't you

    9                    just show what's in the document.

  10                     Why don't you show the witness the

  11                     document.

  12                 Q      At any point did you respond to

  13           findings from the Board of Correction about

  14           Mr. Feliciano?

  15                 A      Yes.

  16                 Q      When did you make this response?

  17                 A      Recently.

  18                 Q      How recent?

  19                 A      I don't recall.      In the last few

  20           months.

  21                 Q      Okay.    The report was issued on

  22           October 18, 2021.       And today is November 12.

  23           So would it be fair to say that you issued

  24           your response between today and October 18?

  25                 A      Yes.     Presumably.
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    2                Q      And do you recall that

    3          Mr. Feliciano basically attempted to hang

    4          himself, to kill himself in his cell?

    5                          MS. CANFIELD:       Is this of

    6                    public information?       I don't know

    7                    how this has to do with Dr. Kaye.

    8                    It's not in her complaint.        Is

    9                    this --

  10                           MS. HAGAN:      It does have to do

  11                     with some of the allegations she

  12                     raised, right.

  13                           MS. CANFIELD:       Does she raise

  14                     the allegations in the DOC

  15                     complaint?

  16                 Q      Now, here it highlights -- I guess

  17           there's a question of here right now, the

  18           Feliciano report highlights the problems

  19           with the MacDonald --

  20                           MS. CANFIELD:       Wait, wait.

  21                     Hold on.    You haven't answered my

  22                     question.     I don't understand where

  23                     you're going here.

  24                           MS. HAGAN:      I'm telling you

  25                     what it is.     I said it highlights
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    2                   the problems with Dr. MacDonald and

    3                   Dr. Ford's reckless disregard for

    4                   doing thorough medical record

    5                   reviews, the standard practice of

    6                   requirement in all areas of

    7                   medicine.     That's what the report

    8                   does bring up some of the findings.

    9                   And I wanted to go and talk about

  10                    some of the findings here.

  11                           MS. CANFIELD:       Okay.   But my

  12                    questions is, is the report

  13                    generated as a result of the

  14                    complaint made by Dr. Kaye?

  15                           MS. HAGAN:      We don't know.      We

  16                    don't know.     And that's why we have

  17                    questions about what the report

  18                    deals with --

  19                           MS. CANFIELD:       Can you pull

  20                    up -- can you share the report as an

  21                    exhibit because I do not have it.

  22                           MS. HAGAN:      Well, we can go

  23                    back to the Board of Corrections

  24                    report.

  25                           MS. CANFIELD:       Well, if you're
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    2                   going to use this in your case in

    3                   chief, you have to exchange it with

    4                   me, regardless of it's public

    5                   knowledge.     I don't have it.

    6                          MS. HAGAN:      I can give it to

    7                   you.   I can produce it.         It's not a

    8                   problem.

    9                          MS. CANFIELD:       Can you do that

  10                    now, please.

  11                           MS. HAGAN:      Well, I haven't

  12                    even entered it because we're not

  13                    talking about it right now.          I'll do

  14                    it after.

  15                           MS. CANFIELD:       No.   But it's

  16                    discoverable.      If you're planning to

  17                    use it in your case in chief,

  18                    regardless --

  19                           MS. HAGAN:      I don't know yet.

  20                    I would like to continue with the

  21                    Board of Corrections complaint.

  22                           MS. CANFIELD:       You still have

  23                    to produce it.

  24                           MS. HAGAN:      At some point,

  25                    perhaps.
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    2                          MS. CANFIELD:       Well, discovery

    3                    is closed on the 19th.       So you need

    4                    to produce it.

    5                          MS. HAGAN:      I understand.

    6                Q      Dr. MacDonald, right, you said you

    7          had some further issues with the Board of

    8          Correction complaint.        Let's go through

    9          that.

  10                 A      Sure.    So misuse of CPL 730

  11           intent, CHS leadership expressed intent to

  12           take over 730 exams to get people off the

  13           island.    This political agenda to use the

  14           CPL 730 exam is a means to empty Rikers

  15           Island has perverted the examination process

  16           and compromised validity of results and the

  17           integrity of legal proceedings.

  18                        This is, again, a misunderstanding

  19           of the basic fact that when these

  20           evaluations are done efficiently, that

  21           people spend less time in pretrial

  22           detention, which is bad for them.           Stating

  23           that fact and having an organizational

  24           commitment to doing the evaluations

  25           efficiently does not pervert the content of
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    2          the evaluations.       It does not.

    3                       And it does reflect an

    4          organization that cares about the content

    5          and efficiency of the work.          And that's why

    6          we took over these clinics.          It has been

    7          challenging for us as individuals and as

    8          managers, but we believe in the work.            And

    9          that's why undertook this endeavor, and

  10           that's why we're still pushing to make it as

  11           good as it can be.

  12                        So to say that that inherently is

  13           a conflict of interest reflects the

  14           resistance to the entire endeavor.            And the

  15           conflation of a legitimate organizational

  16           desire to do things as efficiently as

  17           possible while preserving quality as

  18           malfeasance.

  19                 Q      Dr. MacDonald, was there ever a

  20           time where there was a discrepancy between

  21           the numbers that the Bronx court clinic

  22           claimed to have been generating and what

  23           eyesight captured the clinic?

  24                 A      I don't know specifically.         I'm

  25           sure that there was.        Because these are
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    2          complex systems.       And even to get a system

    3          that tracks carefully the number of

    4          evaluations outstanding is challenging.

    5                       When we came to some of the

    6          clinics, we had to get working phone lines

    7          into the clinics.       So are a lot of things

    8          that might not go perfectly, even under a

    9          CHS administration, but that doesn't change

  10           the fact that our intent is to make the

  11           process work better.

  12                 Q      So you're saying that these were

  13           hiccups in the system rather than an

  14           intentional effort to deceive; is that

  15           right?

  16                 A      Absolutely.     One hundred percent.

  17           And anyone who knows large systems such as

  18           these, knows that there will be hiccups.

  19           Knows that there will be errors in the HR

  20           system.    And, yes, those errors, I wish they

  21           were fixed quicker, too.         But when they're

  22           consistent perceived as attacks or

  23           malfeasance, then it's very hard to work in

  24           a collaborative way with a person who thinks

  25           that you are doing something wrong and
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    2          targeting them, when you're not.

    3                Q      So what about the Queens pilot

    4          project, at some point Dr. Kaye alleges that

    5          there is a misrepresentation around the

    6          calculation of the turnaround time.             That

    7          the numbers that were being told to City

    8          Hall into any various number of

    9          stakeholders, that they excluded cases on

  10           hold, and it showed that there was dramatic

  11           improvement, but they had excluded things

  12           that would typically extend the turnaround

  13           time for the Queens pilot project, but not

  14           other clinics.

  15                        Would you agree or disagree with

  16           that?

  17                 A      I would say that that project was

  18           initiated and conceived before CHS took over

  19           the clinics.      Our efforts were actually

  20           orthogonal to that project.          I think that

  21           there's always areas for critique of how the

  22           data is measured and how the evaluation is

  23           done.     That's the complexity of quality

  24           improvement efforts in general.           And

  25           Dr. Kaye might have a different opinion
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    2          than someone else.

    3                       It doesn't mean that Dr. Kaye is

    4          correct or that it is malfeasance to measure

    5          it the way it was measured.          I think that

    6          that project was done in good faith.

    7          Although, as I pointed out, it was really

    8          done under the guidance MOCJ when that

    9          clinic was not part of CHS.

  10                 Q      Now, Dr. Kaye says in bold print,

  11           "I have been prevented from doing my job

  12           because CHS has refused to staff the Bronx

  13           court clinic, rendering the service

  14           non-operational.       This has caused scheduling

  15           problems and a backlog of cases.           And strong

  16           disapproval from important stakeholders."

  17                        Now, what's your position on that?

  18                 A      I think that's absolutely an

  19           oversimplification.        And that our goal has

  20           been to staff, recruit and retain.            And I

  21           think that today the Bronx clinic is doing

  22           pretty well.

  23                 Q      So what does the Bronx clinic look

  24           like today?     Who's the director of the Bronx

  25           clinic right now?
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    2                A      Dr. Weiss.

    3                Q      And Dr. Weiss is a male, right?

    4                A      Yes.

    5                Q      And Dr. Weiss doesn't have any

    6          child care issues; am I right?

    7                A      I have no idea.

    8                Q      And does Dr. Weiss have a

    9          co-evaluator?

  10                 A      I don't have the staffing of the

  11           Bronx clinic at my fingertips.           But I know

  12           that their cases have been handled

  13           efficiently in the last few weeks, based on

  14           the data that I've seen most recently.

  15                 Q      So you're not sure if there is

  16           another full-time evaluator at the Bronx

  17           court clinic today?

  18                 A      There is.

  19                 Q      There is one?

  20                 A      I don't know whether it's

  21           full-time or part-time.         I know that there

  22           is staffing in the Bronx to adequately keep

  23           up with the evaluations that are coming in.

  24                 Q      Now, Dr. Kaye alleges that that

  25           wasn't the case when she was there.
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    2                       Would you agree or disagree with

    3          that?

    4                A      I acknowledge that we struggled

    5          with staffing retention, recruitment in that

    6          the clinic.     And that there was a period of

    7          time where we were understaffed and that

    8          impacted the evaluations being done.

    9                Q      Are you attributing the staffing

  10           and recruitment issues to Dr. Kaye solely?

  11                 A      No.   I think they are very complex

  12           issues that we take a holistic approach to.

  13           So I would not ascribe them solely to Dr.

  14           Kaye.     Nor would ascribe them solely to the

  15           managers in charge of hiring and filling

  16           those positions.

  17                 Q      Now, did the Bronx court clinic

  18           operations improve after Legal Aid Society

  19           complained about backlog at the clinic?

  20                 A      Again, I explained that our

  21           intentions at CHS would be aligned with

  22           theirs.    We have been trying our best to do

  23           the evaluations efficiently and effectively.

  24                        Again, that's the project at hand.

  25           So the complaint probably was received at a
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    2          low point and things improved after that,

    3          yes.

    4                 Q     How would you describe CHS's

    5          relationship with Legal Aid Society?

    6                 A     I've always had a respectful

    7          relationship with Legal Aid Society.              I

    8          think we see them as our partners and the

    9          important work that we're doing.           It's

  10           cordial.

  11                  Q     Now, the efforts to make the exams

  12           more efficient, how did that impact the

  13           integrity of the exams?

  14                  A     It didn't.     It really focused on

  15           scheduling, on process, on things like

  16           telephones in the clinics, as I mentioned.

  17           On clear channels of communication.            It even

  18           focused on things that didn't work out the

  19           way we might have hoped.         Like the redaction

  20           question.     If we could have streamlined that

  21           process more, we would have.

  22                        So we were looking at any elements

  23           of reducing administrative burdens to the

  24           evaluations being done.         Another thing would

  25           be productivity of individual examiners and
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    2          scheduling as many cases as possible to be

    3          done during the week.

    4                Q      Does Dr. Owen still work at the

    5          Queens court clinic?

    6                A      No.

    7                Q      What happened to Dr. Owen?

    8                A      Dr. Owen has recently resigned.

    9                Q      Did she resign in lieu of

  10           termination?

  11                 A      She was not being faced with

  12           termination at that time.

  13                 Q      The question is, was termination

  14           contemplated as it came to Dr. Owen?

  15                 A      There was an issue that was raised

  16           that had not yet been fully investigated.

  17                 Q      What was the issue?

  18                 A      There was an issue related to the

  19           independence of her evaluations, where some

  20           of the language seemed to be similar to that

  21           uses in a co-examiner's evaluation.

  22                 Q      The independence, what do you

  23           mean?     Are you saying that she plagiarized?

  24                 A      It's not clear exactly what

  25           happened.     She had an explanation for it,
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    2          which wasn't fully investigated before she

    3          left.

    4                Q      So someone raised concerns about

    5          the report.     Who raised concerns about

    6          Dr. Owen's report?

    7                A      I think it was her co -- I don't

    8          want to misspeak.       I don't remember exactly.

    9                Q      Who was her co-examiner?

  10                 A      I don't recall.

  11                 Q      Does the co-examiner still work

  12           there?

  13                 A      Yes.

  14                 Q      So Dr. Owen no longer works there.

  15           Has she been replaced?

  16                 A      I don't believe so, no.

  17                 Q      So the Queens center does not have

  18           a director; am I right?

  19                 A      Currently, it does not.

  20                 Q      Now, I just have a few more

  21           questions then I'm finished.

  22                        How does the 730 -- what is the

  23           funding source for the 730 mobile team?

  24                 A      City tax levy.

  25                 Q      A hundred percent city tax levy?
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    2                A      Unless I am mistaken, yes.

    3                Q      Has there ever been a time that

    4          the 730 team concealed medical

    5          documentation?

    6                A      Not that I'm aware of, no.

    7                Q      Does CHS bill Medicaid for the 730

    8          team's activity?

    9                A      No.

  10                            MS. HAGAN:     I think that's it

  11                     for me, unless I have questions upon

  12                     redirect.

  13                            Does counsel have any

  14                     additional questions?

  15                            MS. CANFIELD:      I just wanted

  16                     to invite the witness to, if there

  17                     is anything regarding the Board of

  18                     Corrections complaint that he did

  19                     not testify to, that was inaccurate

  20                     in her complaint, he's free to do so

  21                     now.

  22                            THE WITNESS:     Yeah.    So we

  23                     talked about the section on misuse

  24                     of CPL intent, which was false.

  25                     There's a section on quid pro quo
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    2                   hiring that alleges that FPECC

    3                   evaluators engaged in quid pro quo

    4                   agreement to cut corners and do a

    5                   less thorough job in order to get

    6                   people off the island.        This is not

    7                   true.

    8                           Again, the independence and

    9                   integrity of the evaluations are

  10                    core to our mission.        And we are

  11                    simply trying to increase efficiency

  12                    by removing administrative areas

  13                    wherever we can.       As you --

  14                            MS. CANFIELD:      No, no, no.

  15                    It's my turn.      No, no, it's my turn.

  16                    No, no, no.

  17                            MS. HAGAN:     But you haven't

  18                    asked any questions.

  19                            MS. CANFIELD:      No.   I know.

  20                            MS. HAGAN:     I'll let him

  21                    finish and I'll ask my questions.

  22                            MS. CANFIELD:      That's fine.

  23                    Thank you.

  24                            MS. HAGAN:     Keep going.

  25                            THE WITNESS:     She alleges that
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    2                   this specifically, this quid pro quo

    3                   agreement that she alleges exists,

    4                   which does not exist, and presents

    5                   no evidence of, has caused furious

    6                   unfit findings.      And she uses an

    7                   example of, a hearsay example of an

    8                   anti social sex offender, there's no

    9                   evidence presented here that this

  10                    exists.    I guarantee that it does

  11                    not exist.     And then she's making a

  12                    causal inference about the findings

  13                    of the clinic based on this

  14                    allegation.

  15                           Statutory violations, this is

  16                    a mischaracterization of the ability

  17                    to render reports with incomplete

  18                    information, as long as the

  19                    incompleteness of the information is

  20                    clearly identified and delineated,

  21                    and the limitations of the reports

  22                    are available to the judge.

  23                           So there was a consistent

  24                    conflict over that concept, where

  25                    CHS asserts that this can be done,
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    2                   and this part of accepted practice.

    3                   And Dr. Kaye was not receptive to

    4                   that.

    5                           MS. CANFIELD:      What about

    6                   inadequate forensic evaluators?

    7                           THE WITNESS:     Inadequate

    8                   forensic evaluators.        I would argue

    9                   a mischaracterization of the

  10                    oversight and supervision that we

  11                    were trying to bring to bear on

  12                    these clinics.      Something that the

  13                    clinics had struggled with for

  14                    years.

  15                            And often times involvement of

  16                    managerial staff or supervisory

  17                    staff to try to help with

  18                    development is, again, perceived as

  19                    some kind of outside intervention

  20                    that is, at its core, trying to

  21                    influence the results of

  22                    examinations.

  23                            CHS has no intention of

  24                    influencing the results of the

  25                    examinations.      So when we have more
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    2                   junior staff members working with

    3                   supervisors, that's perceived as

    4                   undue influence.       And it's not.

    5                   It's just trying to help people

    6                   adjust.    It's a key part, as I

    7                   mentioned, of retention and

    8                   recruitment.      And it was really a

    9                   struggle in the Bronx.

  10                           MS. CANFIELD:       Anything else?

  11                           THE WITNESS:      Forensic

  12                    psychiatry practice deviations.

  13                    Again, the sheer emphasis on doing

  14                    the work efficiently and effectively

  15                    does not mean that we were asking

  16                    anyone to cut corners.        We were

  17                    simply acknowledging that there are

  18                    implications and reason that the

  19                    evaluations should both be done well

  20                    and be done efficiently.

  21                           This second part about

  22                    endorsing foregoing face-to-face

  23                    evaluations is another

  24                    misinterpretation of the same

  25                    reasonable difference of opinion
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    2                   that I talked about.        Where the

    3                   limitations can be described in a

    4                   report, as long as they are clearly

    5                   delineated what the limitations are.

    6                   Including when face-to-face

    7                   evaluations can't be done.         And the

    8                   court can make appropriate

    9                   determinations about how they use

  10                    that information.

  11                           The order to conversate,

  12                    again, is taking something that is

  13                    meant to improve the process and

  14                    ascribing to it.       This malignant

  15                    intent.    So literally the order

  16                    conversate is to make it as easy as

  17                    possible when the examiners feel

  18                    that it's useful or when there are

  19                    barriers to coming to a conclusion,

  20                    that the treatment team who know the

  21                    patients can provide information to

  22                    the examiners.

  23                           That is not the examiner

  24                    substituting -- that is not the

  25                    treating clinician substituting
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    2                   their interpretation for the

    3                   examiner.     That is simply another

    4                   way to provide more collateral

    5                   information.      Just as the redaction

    6                   became such a narrowly concrete

    7                   problem, this is in the other

    8                   direction, trying to get examiners

    9                   sources of information that they may

  10                    not readily have had access to

  11                    before.     And, again, it's looked at

  12                    as malfeasance instead of trying to

  13                    improve the process.

  14                           Destruction of work product,

  15                    we talked about.       I don't have much

  16                    to say about that.       Access to the

  17                    impatient unit, there are certainly

  18                    cares where this is beneficial and

  19                    it is not a violation of dual roles,

  20                    nor is it inherently prohibited

  21                    through HIPPA.      The 730 team, we

  22                    talked about.

  23                           The HIPPA and legal privilege

  24                    violations, I mean, I really don't

  25                    have much to say about this
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    2                   particular section.        I do know that

    3                   the exact documentation and forms is

    4                   a constant area of struggle and

    5                   people don't always agree about

    6                   exactly how the form should be

    7                   filled out, about exactly which

    8                   forms are necessary for different

    9                   things.

  10                           Again, Dr. Kaye takes

  11                    exception to some of the legal

  12                    conclusions that H&H's legal

  13                    department has made.        And so, again,

  14                    not malfeasance, in my opinion, but

  15                    maybe areas where things weren't

  16                    done perfectly, areas for

  17                    improvement and we're always happy

  18                    to look into those and to try to

  19                    continue to get better.

  20                           And nowhere would assert that

  21                    CHS has done a perfect job.          Only

  22                    that our intentions were to improve

  23                    this process and we will continue to

  24                    work towards that.

  25                           She doesn't like our medical
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    2                   documentation.      Always an area for

    3                   improvement in any healthcare

    4                   delivery system.

    5                           Funding misallocation.        She's

    6                   asserting that Bellevue has been

    7                   unable to run at full capacity due

    8                   to insufficient funding, and somehow

    9                   that CHS is implicated in taking

  10                    funding away from Bellevue.          This is

  11                    just not correct in any sense of how

  12                    these entities are funded.         It's

  13                    really just wrong.

  14                            CHS does not try to avoid

  15                    hospital runs to save money.          And

  16                    there is no mechanism by which CHS

  17                    saves money by avoiding hospital

  18                    runs.    It's just not correct.

  19                            Manipulation of statistics.

  20                    Again, I assert that that project,

  21                    which was not even initiated by CHS,

  22                    which was started before the

  23                    transition, was done in good faith,

  24                    as far as I know.       There could be

  25                    reasonable discussion about what are
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    2                   the best metrics to define and how

    3                   should they be measured.         That's

    4                   part of the process of quality

    5                   improvement.

    6                          But, again, this document

    7                   turns those legitimate discussions

    8                   into an assumption that one side is

    9                   trying to commit fraud, basically.

  10                    There's no evidence for it, and it

  11                    makes it very hard to work

  12                    collaboratively.

  13                           Retaliation.      Again, I don't

  14                    believe that anyone was retaliating

  15                    again Dr. Kaye.      And that even the

  16                    most minor changes and errors in

  17                    management were perceived as

  18                    personal assaults.       And, again, I

  19                    don't harbor any ill will.         I just

  20                    feel sad that everything was

  21                    perceived in this way, because it's

  22                    really not our intention.

  23                           And we talked about the

  24                    challenges with staffing in the

  25                    Bronx, which we acknowledge, but
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    2                     they are complex.       And I would

    3                     advert that they are better today

    4                     than they were then.

    5                             MS. CANFIELD:     Thank you.     If

    6                     you're finished.     Dr. MacDonald, if

    7                     you're finished, I'm finished.

    8    BY MS. HAGAN:

    9                 Q      I have some followup questions,

  10           Dr. MacDonald.

  11                  A      Sure.

  12                  Q      Now, you characterized the minor

  13           issues that Dr. Kaye had in the wake of her

  14           complaint is minor.        Dr. Kaye, the shift

  15           change impacted her ability to provide child

  16           care for her children, that wasn't minor to

  17           her.

  18                         Why do you believe that the change

  19           in her shift was minor?

  20                              MS. CANFIELD:     Objection to

  21                      form.    You can answer.

  22                  A      I don't believe I specifically

  23           stated that that was minor.          I have been --

  24           managed many staff over many years who are

  25           distressed by the shifts that they have to
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    2          work or that are available to them.            It can

    3          often be impactful to people's lives.            So I

    4          don't mean to discount it.

    5                Q      Well, Dr. Kaye worked this shift

    6          for 19 years prior to -- or 18 years prior

    7          to you and Ms. Yang and Dr. Ford coming on

    8          board.

    9                       With the shift change, did it

  10           affect or did it improve the output of the

  11           reports in the Bronx once she had to go the

  12           new shift that you guys put in place?

  13                             MS. CANFIELD:     Objection to

  14                     form.    You can answer.

  15                 A      I'm not going to draw a direct

  16           link between those two things.           But, you

  17           know, when the employer transitions, when

  18           the parent organization transitions, when

  19           the effort is around standardization and

  20           streamlining of work flows, of course there

  21           are going to be things that managers assert

  22           that staff don't like.        And it's not to

  23           discount that those things are important.

  24           And we would never do that.

  25                 Q      Dr. MacDonald, but you can't
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    2          testify today that the other center

    3          directors had the exact same hours as

    4          Dr. Kaye, can you?

    5                A      Again, I think that was because

    6          they were in different positions which were

    7          not union positions.        It tends to be union

    8          positions that have these -- and, again, I

    9          was not involved in that particular element.

  10           But it tends to be union restrictions that

  11           have these standardized restrictions on work

  12           hours.

  13                 Q      Dr. Kaye was in this union

  14           position for 20 years.        And all of a sudden,

  15           when you all came on to be her managers, now

  16           why you feel the need to impose these union

  17           restrictions on Dr. Kaye and no one else; is

  18           that right?

  19                             MS. CANFIELD:     Objection to

  20                     form.    You can answer.

  21                 A      Yeah.    I mean, the frame work that

  22           I've laid out is that the clinics were

  23           managed in a haphazard fashion by multiple

  24           different entities over many years.            And,

  25           yes, when CHS came in to standardize things,
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    2          there were things that people didn't like.

    3                Q      Did the collective bargaining

    4          agreement dictate specific hours or did it

    5          dictate how many hours?

    6                A      Again, I was not involved in the

    7          details of that as our HR leadership was,

    8          and I don't know the specifics.

    9                Q      Then Dr. Kaye also complained

  10           about her pay being docked for several weeks

  11           in a row, and also that basically it was

  12           docked, not just several weeks in a row, but

  13           that she was unfairly penalized when she was

  14           entitled to retention bonus.

  15                        Do you recall that?

  16                             MS. CANFIELD:     Objection.     You

  17                     can answer.

  18                 A      Again, I think we've talked

  19           through that.       I was not as involved as

  20           others in that.

  21                 Q      Well, Dr. Kaye got $13,600 versus

  22           the $20,000 she was entitled to.           Is that

  23           minor to you?

  24                             MS. CANFIELD:     Objection to

  25                     form.    She actually was paid the
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    2                    full amount so you can answer.

    3                            MS. HAGAN:    Initially she

    4                    wasn't.

    5                            MS. CANFIELD:     Again, the

    6                    State's -- you can answer.

    7                A      I'm not minimizing Dr. Kaye's

    8          individual concerns.        I'm just saying that

    9          they were consistently slotted into a frame

  10           of perception where she was being

  11           individually persecuted by an organization

  12           whose intentions were malfeasance.            And that

  13           was not the realty of the situation by any

  14           stretch of the imagination.

  15                 Q      And then what about the staffing

  16           issues, that wasn't personal either, right,

  17           Dr. MacDonald?        It was complicated.      That's

  18           what you said.

  19                 A      The staffing issues, the issues of

  20           recruitment and retention for these

  21           position, yes.

  22                 Q      Yes.     That was complicated.      And

  23           then --

  24                             MS. CANFIELD:     Objection to

  25                     form.     You can answer.
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    2                Q      Now, you said that her allegations

    3          regarding the funding are the malfeasance

    4          regarding the funding.        I'm just going to

    5          ask you something.

    6                       How is CHS funded?

    7                            MS. CANFIELD:     Objection to

    8                    form.    You can answer.

    9                A      Through city tax levy.

  10                 Q      All city tax levy?

  11                 A      Not entirely, but the bulk of CHS

  12           is funded that way.

  13                 Q      What's the remainder of the

  14           funding?

  15                 A      There's some grants and other

  16           moneys that I don't totally understand.

  17                 Q      The Gotham Corporation, what's

  18           that?

  19                 A      That's a unit of Health and

  20           Hospitals unrelated to CHS.

  21                 Q      So The Gotham Corporation doesn't

  22           fund CHS?

  23                 A      The Gotham Corporation?

  24                 Q      Um-hmm.

  25                 A      I've never heard of The Gotham
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    2          Corporation.

    3                Q      Does CHS receive any funding from

    4          Strive?

    5                A      From Strive?

    6                Q      Thrive.

    7                A      Thrive.    So Thrive was, to my

    8          understanding, a mayoral program that

    9          earmarked certain city tax levy funding to

  10           be under the purview of that program, and

  11           some of the funding for a small number of

  12           CHS programs were under that umbrella.             But

  13           it's a small percentage of CHS's total work.

  14                 Q      What's the percentage?

  15                 A      I don't know the percentage.

  16                 Q      And the court clinics, what's the

  17           funding source of the court clinics?

  18                 A      City tax levy.

  19                 Q      All of it?

  20                 A      Unless there's a small grant here

  21           and there that I'm not aware of, or some

  22           money that flows through the state, I

  23           believe so.

  24                 Q      And what was the court clinics

  25           budget?
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    2                A      I don't know the total budget for

    3          the court clinics.

    4                Q      What is CHS's total budget?

    5                A      I don't know the exact number.

    6          It's somewhere in excess of 200 million

    7          annually.

    8                Q      Now, you also talked about the

    9          staffing issues.        Dr. Kaye said that she was

  10           either understaffed or provided with an Ep

  11           (phonetic) staff.

  12                        Dr. Brayton went up to the court

  13           clinic eventually in December of 2018.             Is

  14           it your testimony that Dr. Brayton was

  15           qualified to do the work of the court

  16           clinic?

  17                 A      Yes.

  18                             MS. CANFIELD:     Objection to

  19                     form.     You can answer.

  20                 Q      You said yes, right?

  21                 A      Yes.

  22                 Q      How do you make that determination

  23           that she was qualified?

  24                 A      Based on the assessments of my

  25           supervisors.
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    2                Q      At any point was Dr. Brayton

    3          remediated?

    4                A      I don't know that she was

    5          remediated.

    6                Q      At any point was Dr. Brayton's

    7          training period extended?

    8                A      I don't know the details of

    9          whether her training period was extended.             I

  10           mean, obviously new staff have additional

  11           interaction with supervisors, to try to get

  12           them comfortable in their roles, to give

  13           them the support that they need.

  14                 Q      Dr. Kaye raised questions about

  15           instances where evaluators are being

  16           expected to do examinations on the record

  17           without seeing the defendants.           Do you

  18           recall any discussions to that effect?

  19                 A      Yes.    As I discussed, I think

  20           that's a mischaracterization of discussion

  21           whereby evaluations, reports can be written

  22           that demonstrate and elaborate the

  23           limitations of sources of information that

  24           were available to the examiner, that can

  25           still be useful to the courts.
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    2                Q      Now, at some point you just said

    3          that Dr. Brayton -- that your superiors

    4          evaluated Dr. Brayton and made an assessment

    5          that she was qualified.         Who exactly made

    6          that assessment?

    7                A      I said my supervisors.        So they

    8          would primarily be -- I mean, supervisors

    9          who worked for me, primarily Dr. Jain.

  10                 Q      And you took Dr. Jain's word that

  11           Dr. Brayton was qualified over Dr. Kaye, who

  12           may have had issues with her work, right?

  13                 A      Yes.

  14                 Q      Why is that?

  15                 A      Because Dr. Jain was the

  16           supervisor of the clinics, and I had worked

  17           with him and known his background, his

  18           training, and understood his judgment about

  19           the work that was being done in those

  20           clinics.     I did not have the same faith in

  21           Dr. Kaye's judgment about her assessments of

  22           her colleague or the general assessments

  23           about what was the going on in the clinic,

  24           for the reasons we've discussed.

  25                 Q      Now, I have a question about the
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    2          complaints.       Did you hear any complaints

    3          regarding Dr. Brayton's work from anyone

    4          outside of CHS?

    5                A      No.

    6                Q      So you never knew that Legal Aid

    7          or some of the judges expressed concern

    8          about Dr. Brayton's work?

    9                A      I know that Mr. Bloom in the Bronx

  10           often shared many of the same concerns that

  11           Dr. Kaye was raising.        I was not aware of

  12           others who had raised concerns.

  13                             MS. HAGAN:    Okay.    That's it

  14                     for me.

  15                             Do you have any other

  16                     questions, Ms. Canfield?

  17                             MS. CANFIELD:     I do not.

  18                             MS. HAGAN:    Thank you for your

  19                     time, Dr. MacDonald.

  20                             MS. CANFIELD:     Thank you very

  21                     much.     I apologize for the time.

  22                             THE WITNESS:    Thank you.     Take

  23                     care.

  24                             MS. CANFIELD:     And if we can

  25                     have a copy of those exhibits.
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    2                          MS. HAGAN:      I saw the email

    3                   that you sent.

    4                          MS. CANFIELD:       Okay.   And if I

    5                   can have a copy of the deposition

    6                   transcripts for the witness to

    7                   review, and to complete an errata

    8                   sheet on it.

    9                          MS. HAGAN:      I will give it to

  10                    you once I get them.        Is that fair?

  11                           MS. CANFIELD:       I need it for

  12                    summary judgment, but, yes.

  13                           MS. HAGAN:      Well, as soon as I

  14                    get them, you'll get them.

  15                           MS. CANFIELD:       Thank you.

  16                           MS. HAGAN:      Thank you.

  17                              (Whereupon, this examination was

  18                              concluded at 6:40 p.m.)

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    5    _______________________________

    6    ROSS MACDONALD

    7

    8

    9    Subscribed and sworn to
         before me on this ____ day
  10     of ___________, __________.

  11

  12     _______________________________
         Notary Public
  13

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    2                       C E R T I F I C A T E

    3

    4          I, KIARA MILLER,

    5          A Shorthand Reporter and Notary Public of the

    6          State of New York, do hereby certify:

    7

    8          That the witness whose examination is

    9          hereinbefore set forth, was duly sworn or

  10           affirmed by me, and the foregoing transcript is

  11           a true record of the testimony given by such

  12           witness.

  13

  14           I further certify that I am not related to any

  15           of the parties to this action by blood or

  16           marriage, and that I am in no way interested in

  17           the outcome of this matter.

  18

  19

  20                               _________________________

  21                                      KIARA MILLER

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